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 1                              A One Paragraph Ruling After 18 Months of Trials and Tribulations
2
                  340.                 Huynh filed his Notice of Amended of Appeal with the United States
 3
     Court of Appeals for the Ninth Circuit in Mid Feb 2020 to appeal District Judge Vince
4
     Chhabria's entry of final judgment in Walmart's favor.
5
          Cose 3:18•CV·Ol631-VC Oocum�nt 183 Filed 02/18120 Pagel ol 2
 6                                                                                                          Case 3:18-cv,0163l•VC Document 183 Fled 02118120 Page 2 of 2

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 8         Tri Minh l!u)'llh
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      3    Em11I: trimhuynh@outlook.com                                                                     in the 300W n,mrd me, submit; �n a111�n,kd Noti,c of Appeal tot� lJni:cd '!il\1 Cou� of Ap•
           Plaintiff Acting Pro Se
10    4                                                                                               3 P,.'.ll; for the Ni111h Circuil to apr,:al faun the linal judgwn1 ff\)111 in Ord r gr�n1ing iummJry
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12    7                                                                                               6 action on Fcbnury 13, 1010.
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16                           Pl1intifQs)1                                                            11                                                       Udk1uc1 WA 98006
     13                                                                                                                                                       TckphOn(: (40,) m-5516
                 vs.
                                                                                           12                                                                 Email: trimhuynh'.5:ou1look.111m
17   14                                              PLAINTIFF'S FIRST AMEND. £0
          WAL-MART STORES, INC., a. Dcl1111re NOTICF. OP APPEAL TO THE                                                                                        PlaintiffArlin� Pro c
     15   Coqoolioo; WAL-MART ASSOCIATES,                                                  13
                                                     UNITED STATES COURT OF AP·
18        INC., e Dela11·arc Corporatioo; WAL-                                     -   -'-  ----------�
     18   MART.COM, INC., a Dtl1ware�r1- PEALSFORTHENL'fl'HCJl\Cl�
          tion; al1d DOf.S I throvgh SO, inclus11•c,                             I had lo file my amended notice of appeal by
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                                                         COMPLAINT - DEMAND FOR JURY TRIAL
     Case 3:22-cv-00142-JSC Document 1-2 Filed 01/10/22 Page 2 of 99




 1               341.    However, after 18 months of filing hundreds of pages of briefings, a merit
 2
     panel60 comprised of Senior Circuit Judge N.R. SMITH, Senior Circuit Judge SILVER-
 3
     MAN, and Senior Circuit Judge FERNANDEZ issued a one paragraph memorandum af­
 4
     firming the district court orders (DC Dkt. 167, 169, and 182) and denied Huynh amended
 5
 6   notice of appeal.

 7                   Case: 20-152·11. 05/'11/2021. ID: 1210867'7. DktEntry: 39-1. Page 1 of 2

 8                                   Appeal fron1 the United States District 'ourt
                                        fbr the Nurthcn1 District of alifu1·nia
                                      Vince 'hlrnbria. 1:::>istrict Judge, Presiding
 9
                                                   Sub1niucd May 7, 2021.H
10
          Before:       I- RNANDEZ, S[LVERMAN. and N.R.                            MITH. -•ircuit Judges.
11
                    Caso: 20-1521 ·1. 0;:,/11/!.:!021. 10: 1210867,. 0!(1       ntry: 39-1.    age 2 of 2

12                    �r-hc distl'ict coul'I propcrly granted su1nn1a1·y judg1nc111 in fl1vor of"Wnl-·Ma1·t
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           the     '.uli lon-,ia \.Vhistlcblo\.vcr Protection Act. and \.v1·0.ngf·u.1 tennination undct·
14         C,1Ji-foeniu 1,nv. Wal-l'vlurt .run :,I 111et its burden or :>roducin� cvidcnca.: thal there
15         "v•-,:-- u lcgitin1utc, nonn.Jtuliato1·y reason fo1· Huynh':-: lcnninuti<..1n, or th.it it ,vou.td
           huvc tnken the :-:ruT1 • adverse nction in the absence <>f:tl1)' protected activity. .5ae
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           id. �•t 9<>6: f.-us_t.ti11s ,,. Kuisl:!r P •r111<u1('J1/<..' /11l ·1. I 5 I 'al. App. 4th I I 02. I I 09
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18         Co ..   644 F.3d �09. 8 l 6- I 7 ()th '.ir. 20 I    l).



19
     60
        Are all cases randomly assigned? Nearly all cases are randomly assigned. However, a case
20   heard by the Court on a prior appeal may be set before the same panel upon a later appeal, and
21   capital cases will be set before the same panel upon a later appeal. Ninth Cir. R. 22-2(c). SE­
     LECTION OF PANELS The Clerk sets the time and place of the calendars. The Clerk uses a
22   matrix composed of all active judges and those senior judges who have indicated their availa­
23   bility. The aim is to enable each active judge to sit with every other active and senior judge
     approximately the same number of times and to assign active judges an equal number of times
24   to each of the locations at which the Court holds hearings. At present, all panels are com­
25   posed of no fewer than two members of the Court, at least one of whom is an active
     judge. Every year, each active judge, except the Chief Judge, is expected to sit on 32 days of
26   oral argument calendars; one oral screening panel; one motions panel; and one Certificate of
27   Appealability panel. Senior judges are given a choice as to how many cases they want to hear.
     Source: The appellate Lawyer Representatives' Guide To Practice in the United States Court of Ap­
28   peals for the Ninth Circuit. Nov 2019 ed.
                                                       202
                               COMPLAINT - DEMAND FOR JURY TRIAL
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 1           The Merit Panel Erred in Applying the McDonnel Douglass Framework to
             Assess and Deny Huynh's SOX Claim.
 2
 3
             342.    In Mid-August, 2009, Circuit Judge, BYBEE, of the United States Court
 4
     of Appeals for the Ninth Circuit wrote in Van Asdale v. Intern. Game Techn 577 F.3d
 5
     989 (9th Cir. 2009): "This case presents our first opportunity to examine the substantive
 6
     requirements necessary to establish a claim under the whistleblower-protection provi­
 7
 8   sions of the Sarbanes-Oxley Act, 18 U.S.C. § 1514A".

 9
          "Section l 514A(b)(2) further specifies that§ 1514A claims are governed by the proce­
10        dures applicable to whistle-blower claims brought under 49 U.S.C.§ 42121(b). Sec­
          tion 42121(b)(2)(B), in tum, sets forth a burden-shifting procedure61 by which a plain­
11
          tiff is first required to make out a prima facie case of retaliatory discrimination; if the
12        plaintiff meets this burden, the employer assumes the burden of demonstrating by
          clear and convincing evidence that it would have taken the same adverse employ­
13
          ment action in the absence of the plaintiffs protected activity."
14
15           343.    Therefore, the Ninth Circuit established in late 2009 that the proper legal
16
     framework to evaluate a SOX claim within its jurisdiction is the framework used by other
17
     federal-whistleblower statutes brought under 49 U.S.C.§ 42121(b). Section
18
     42121(b)(2)(B).
19
20           344.    In a recent Ninth Circuit Court of Appeals' ruling in Lawson v. PPG (Case

21   No.19-55802), the merit panel in that case (comprised of Senior Circuit Judge N.R.
22
23
24
     61
        Burden-Shifting Analysis: Because we conclude that the Van Asdales have made out a
25
     prima facie showing of retaliatory termination in violation of§ 1514A, IGT cannot obtain
26   summary judgment unless it shows by clear and convincing evidence that it would have ter­
     minated the Van Asdales even absent any protected activity. 18 U.S.C. § 1514A(b)(2)(A); 49
27   U.S.C.§ 42121(b)(2)(B). On appeal, IGT does not argue that it can satisfy this requirement.
     We thus hold that the district court erred in granting IGT summary judgment on the Van As­
28   �ales' Sarbanes-Oxley claim.
                                                       203
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 1   SMITH 62 , Senior Circuit Judge Kermit V. Lipez, and Circuit Judge Rawlinson), dis-
2
     cussed three material differences between the legal framework used to evaluate claims
3
     under various Federal Whistleblower Statutes (including SOX) and the McD01mel Doug­
4
     las' framework often used to evaluate employment discrimination and retaliation under
 5
 6   title VII claims and California FEHA claims. The panel then went on to propose to the

7    California Supreme Court to adopt the burden-of-persuasion-shifting evidentiary standard

 8   (used in other Federal Whistle-blower statutes) as the unified legal framework to evaluate
 9
     California Labor Code 1102.5 to ensure that it aligns with Labor Code 1102.6.
10
            345.    First, under McDonnell Douglas, the burden of persuasion never truly
11
     shifts from the plaintiff. See Burdine, 450 U.S. at 253 ("The ultimate burden of persuad­
12
     ing the trier of fact that the defendant intentionally discriminated against the plaintiff re­
13
     mains at all times with the plaintiff."). The defendant's only burden (at step two of the
14   analysis) is that of production; it must merely "produce evidence that the plaintiff was
15   rejected, or someone else was preferred, for a legitimate, nondiscriminatory reason."
16   However, under the SOX framework, the burden of persuasion shifts from the plain­
     tiff to the defendant (at step 2 of the analysis) "to demonstrate by clear and convincing
17
     evidence that the alleged action would have63 occuned for legitimate, independent rea­
18
     sons even if the employee had not engaged in protected activities. The plaintiff's only
19
     burden (at step two of the analysis) is that of production; it must merely "produce evi­
20   dence that the defendants failed to prove by clear and convincing standard (i.e., produc­
21   ing just enough evidence to pull down the probability that the Defendant's factual asser­
22   tions were true slightly below 70%.

23
24

25
26   62
       Senior Circuit Judge N.R. SMITH sat on both the Lawson case and Huynh's case.
     63
27     The "Would Have" standard is a higher burden of proof than the "Could Have" Standard
     used in most employment discrimination and retaliation claims. See Huynh's Reply Brief for
28   details - COA Dkt. 33 at 15-16.
                                                   204
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1           346.      A second difference between the two standards is under SOX the Defend­
2    ants must to prove "clear and convincing evidence"64 is much heavier than the burden

3    of production required under McDonnell Douglas. The clear and convincing evidence

4    standard "requires 'an abiding conviction that the truth of the factual contentions' at issue
     is ' highly probable."' Mondaca-Vega v. Lynch, 808 F.3d 413, 422 (9th Cir. 2015) (en
 5
     bane) (alteration adopted) (quoting Colorado v. New Mexico, 467 U.S. 310, 316 (1984)).
 6
     This is a far cry from the burden of production required by McDonnell Douglas,
 7   where the defendant "need only produce admissible evidence which would allow the trier
 8   of fact rationally to conclude that the employment decision had not been motivated by
 9   discriminatory animus." Burdine, 450 U.S. at 257.

10
            347.      Finally, and aside from the plain differences between these frameworks,
11   subjecting defendants in cases involving SOX retaliation claims to the lower McDonnell
12   Douglas standard does some damage to workers' rights. As we have observed in an­
13   other context, "standards of proof serve a symbolic function." Mondaca-Vega, 808 F.3d

14   at 422.,_ Thus, subjecting a SOX retaliation claim Defendant to McDonnell Douglas's
     lesser evidentiary standard would subvert congress's intent in drafting the SOX statute.
15
     See Araujo v. N.J. Transit Rail Operations, Inc., 708 F.3d 152, 157-58 (3d Cir. 2013)
16
     (contrasting the two standards and finding that the clear and convincing evidence stand­
17   ard "is much more protective of plaintiff-employees than the McDonnell Douglas frame­
18   work").
19
               348.   In summary, the Ninth Circuit's Merit Panel in TRI MINH HUYNH,
20
     Plaintiff-Appellant, v. WAL-MART ASSOCIATES, INC. (Case: No. 20-15211) erred
21
22   when it applied the McDonnel Douglas framework to assess Huynh's SOX claim against

23   Walmart for two reasons.

24
25
     64
26      In Speegle v. Stone & Webster Construction, Inc. (ARB CASE NO. 13-074) the ARB also
     stated "In addition to the high burden of proof, the express language of the statute requires
27   that the "clear and convincing" evidence prove what the employer "would have done" not
     simply what it "could have done". COA Dkt. 33 at 17 (Huynh's opening brief filed with the
28   Ninth Circuit Comt of Appeals on Oct 8, 2020.
                                                       205
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 1          349.     First, Ninth Circuit's precedent set in late 2009 clearly established that the
 2   proper legal framework to evaluate a SOX claim is the burden-of-persuasion-shifting evi­
 3
     dentiary standard not the burden of persuasion standard (McDonnel Douglass).
 4
            350.     Second, since Senior Circuit Judge N.R. SMITH sat on both WALLEN
 5
 6   LAWSON, Plaintiff-Appellant, v. PPG ARCHITECTURAL FINISHES, INC., Defend­

 7   ant-Appellee (No. 19-55802) and TRl MINH HUYNH, Plaintiff-Appellant, v. WAL­
 8   MART ASSOCIATES, INC. (Case: No. 20- 1 52 1 1 ), Senior Circuit Judge N.R. Smith
 9
     lmew or should have known that McDonnel Douglas is not the proper legal framework to
10
     evaluate Huynh's SOX claim because in Lawson, Sr. Circuit Judge SMITH even pro­
11
     posed that the California Supreme Court adopt the burden-of-persuasion-shifting eviden­
12
13   tiary standard (Employee' s friendly) as the proper framework to evaluate California La­

14   bor Code 1 1 02.5 claim.

15
                     The RICO Defendants' Factual and Legal Misrepresentations
16
            35 1 .   Huynh wrote in his reply brief "In summary, Huynh was disappointed at
17
18   Walmart and their legal counsels for making misleading statements of facts and of laws

19   to suppress the very Motto of our judiciary "Equal Justice Under Law", inscribed on the
20   facade of the Supreme Court Building." COA Dkt. 33 at 4. In the reply brief, Huynh pro­
21
     vided specific analyses and supporting evidence which proved that the RICO Defendants
22
     made misleading statements of facts and of laws in their answering brief to conuptly in­
23
     fluence the merit panel to deny Huynh's appeal.
24

25
            352.     For example, despite the fact that District Judge Vince Chhabria granted
26
     Huynh's request to drop all five of deRube1iis' frivolous and nefarious ADHD FEHA
27
28
                                                       206
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1    claims in early July 20 19 (DC Dkt. 84), the Rescued Squad still cited FEHA discrimina­
 2   tion and retaliation case laws in their answering brief to obstruct the undue administration
 3
     of justice. To coverup the misrepresentations of the laws, the Rescue Squad purportedly
 4
     asserted in that the McDonnel Douglas framework is more employee's friendly than the
 5
     SOX legal framework.
 6
 7    "Some courts have suggested that "the [plaintiffs] SOX burden may be more difficult
      to meet" than that of the McDonnell Douglas test. Day v. Staples, Inc., 555 F.3d 42, 53
 8
      n.6 ( 1 st Cir. 2009). Nevertheless, because of the substantial overlap and because both
 9    standards are implicated here, Walmart cites cases from under both the SOX framework
      and the McDonnell Douglas framework." COA Dkt. 23 at 34.
10
       •     First of all, the Rescue Squad knew or should have known that it was misleading to
11
             assert that the McDonnel Douglas framework was more Plaintiffs friendly that the
12           SOX framework.
13            353.    Additionally, the GDC Squad also misleadingly cited employment retalia­
14
     tion and discrimination case laws and SOX case laws but taking them out of context to
15
     support Walmaii's answering brief.
16
17                               Misstating the Laws and the Facts 65
18
           "[D]ifferent justifications for an adverse employment action will not defeat summary
19         judgment if those reasons are 'not incompatible. "' Stegall v. Citadel Broad. Co., 350
           F.3d 106 1 , 1 077 (9th Cir. 2003). Only where an employer "offer[s] two distinct and
20         arguably inconsistent reasons for an employee's discharge" will a court probe further.
           Ritter v. Hughes Aircraft Co., 58 F.3d 454, 459 (9th Cir. 1 995). COA Dkt. 23 at 42.
21
                           A SOX's Complainant's Motive Is Irrelevant66
22
                      Cited Employment Discrimination and Retaliation Cases
23
24         Sumner v. U.S. Postal Serv., 899 F.2d 203, 209 (2d Cir. 1 990) (plaintiff must have

25
     65 A SOX Plaintiff doesn't have to prove pretext.
26   66 The GDC Squad and Walmaii misrepresented the laws to support bad motive defense i.e.,
27   Huynh was a fake whistleblower because he blew the whistle for personal gain. However as
     discussed above a Whistleblower's motive is irrelevant in assessing his reasonable belief in
28   !;,lowing the whistle.
                                                    207
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 1      acted under a "good faith, reasonable belief that a violation existed"). COA 0kt. 23
2    Cited SOX Case Laws but Misrepresenting their Context (See COA Dkt. 33 at 8-14)
 3      Beacom v. Oracle Am., Inc., No. 13-CV-985, 20 1 5 WL 2339558, at *2, *5 (D. Minn.
4       Mar. 1 1, 2015). Nor is there protected activity when an employee's course of conduct
        makes clear that the employee made a strategic decision to engage in whistleblowing
 5      only after realizing her job was in danger.

 6      Kantin v. Metro. Life Ins. Co., 696 F. App'x 527, 528 (2d Cir. 20 1 7) (affirming sum­
        mary judgment where "[t]he commission payment and pricing inegularities to which
 7      [the plaintiff] advert[ed] simply do not sound in fraud and are wholly unrelated to any
        of the provisions enumerated in§ 1514A")
 8
 9      Ewald v. Royal Norwegian Embassy, 2 F. Supp. 3d 1 1 01, 1 1 23 (D. Minn. 2014) (un­
        der Minnesota law, no protected activity where the report was "a vehicle, identified
10      after the fact, to support a belated whistle-blowing claim" (quotation marks omitted));
        Wolcott v. Champion Int'l Corp., 691 F. Supp. 1052, 1059 (W.D. Mich. 1987) ("The
11      [Michigan] Whistleblower Act was not intended to serve as a tool for extortion.").
12

13          354.    In summary, Huynh believes the merit panel relied on the RICO Defend­
14   ants' factual and legal misrepresentations and District Judge Vince Chhabria suppression
15
     of material fact in his ruling in Walmart's favor (DC Dkt. 167 and 1 68) to deny Huynh's
16
     appeal against Walmart for the following reasons.
17
18          355.    First, the panel took Walmart's factual assertions as the truth while ex­

19   cluding the material facts Huynh cited which were filed with the court below when the
20   merit panel wrote "Wal-Mart amply met its burden of producing evidence that there was
21
     a legitimate, nonretaliatory reason for Huynh's termination, or that it would have taken
22
     the same adverse action in the absence of any protected activity.
23

24      •     should the merit panel use the word "and" instead of "or" because the panel
              denied both Huynh's SOX claim and California Labor Code 1102.5 claim?
25
            356.    Second, the merit panel cited FEHA case law even though Huynh already
26
     dropped all of the FEHA ADHD claims in the court below. DC Dkt. 84. Although, the
27
28   panel cited a SOX case but it was used in the wrong context. Lastly, the panel didn't not
                                                     208
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1    cite any California Labor 1102.5 case law to dismiss Huynh's 1102.5 claim.
2
          Wal-Mart amply met its burden of producing evidence that there was a legitimate,
3         nometaliatmy reason for Huynh's termination, or that it would have taken the same
4         adverse action in the absence of any protected activity. See id. at 996; Loggins v. Kai­
          ser Pem1anente Int'l, 151 Cal. App. 4th 1102, 1109.
5
          • Loggins v. Kaiser Permanente Int'l is a retaliatory employment termination case
6           concerning violations of California Government Code section 12940, subdivision
 7          (h). It had no relevance to Huynh's Appeal as all the five shotgun pleaded ADHD
            FEHA claims were dismissed by the court below.
8
          •   Even though, Senior Circuit Judge, N. Randy Smith, cited Huynh v. Wal-Mart
 9            Assocs., Inc., No. 18-cv-01631-VC, 2020 WL 218522, at *1 (N.D. Cal. Jan, 14,
10            2020) in WALLEN LAWSON v. PPG ARCHITECTURAL FINISHES, INC
              (Case No. 19-55802) at 16, the panel didn't any California Labor Code 1102.5
11            and 1102.6 case laws related to Huynh's CWB claim.67
12
          Further, Huynh made no showing of pretext. See Tides v. The Boeing Co., 644 F.3d
13        809, 816-17 (9th Cir. 2011). Although, Tides v. The Boeing Co was a SOX case it
          was inapposite at two levels.
14
15        •   First, this case addressed the issue of whether disclosure made to the media68 is
              protected under SOX. It had nothing to do with the "Pretext".
16
              o This was the very same case that the RICO Defendants would have cited if
17              Huynh had answered Lahlein's leading questions to get District Judge Vince
18              Chhabria to throw Huynh out of court.

19   67
        PPG argues that Lawson's "reliance on section 1102.6 is overstated," because this new
20   standard only applies to "mixed-motive" claims. Cf. Huynh v. Wal-Mart Assocs., Inc., No.
     18-cv-01631-VC, 2020 WL 218522, at *1 (N.D. Cal. Jan, 14, 2020) (unpublished) (citing Ju­
21   dicial Council Of California Civil Jury Instruction 4604 in support of the assertion that section
     1102.6 is to be applied "only in 'mixed-motive' cases"); Zelaya v. RMI Int' !, Inc., No.
22   B251191, 2016 WL 1169405, at *12 (Cal. Ct. App. March 24, 2016) (unpublished) (indicat­
23   ing that the section 1 1 02.6 standard only applies if there is a "mixed motive" instruction).
     However, the plain language of the provision imposes no such limitation. Nor does the stat­
24   ute's context indicate such a limitation. Rather, section 1102.6 would appear to apply to any
     and every whistleblower claim brought under section 1102.5 .
25   68
        SILVERMAN, Circuit Judge: wrote his ruling in Mid-May 2011. "We hold today that by
26   its express terms, the whistleblower provision of the Sarbanes-Oxley Act, 18 U.S.C.§
     1514A(a)(l ), protects employees of publicly-traded companies who disclose certain types of
27   information only to the three categories of recipients * 811 specifically enumerated in the Act
     - federal regulatory and law enforcement agencies, Congress, and employee supervisors.
28   Leaks to the media are not protected
                                                        209
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 1        •   Second, as discussed above under SOX, the burden of persuasion shifted to
2             Walmart to prove by clear and convincing evidence that it would have terminated
              Huynh's employment even in the absence of Huynh' s protected conducts. There­
 3            fore, Huynh didn't have to prove pretext.6 9 See COA Dkt. 33 at X.
 4                                         Prong # 4: Catch and Kill
 5
              357.   The RICO Defendants made sure that after they got the get out of jail free card
 6
     from the SEC and the get out of civil penalty free card from District Judge Vince Chhabria all
 7
     of the documents that Huynh retained after leaving Walmart would be caught and killed. This
 8
 9   eviscerated any future civil and/or criminal liabilities for the RICO Defendants. To achieve

10   this, the RICO Defendants plaimed and executed prong #5 ("Catch and Kill") of the illegal

11   coverup scheme as early as Nov 16, 2017.
12            358.   In Mid-Nov 2017, deRubertis told Huynh that OSHA gave Huynh the right to
13
     sue Walmart in Federal Court. deRubertis then paid for Huynh's flight and lodging expenses
14
     to meet deRubertis in his office under the pretext that he needed Huynh to give him the case
15
     facts so he could draft and file Huynh's complaint in Federal Court by Mid-Dec 2017.
16
17            359.   During the meeting, in addition to making Huynh signed a blank non-HIPPA

18   compliance medical record authorization f01m and provided evidence that McMillan made

19   misleading statements to shareholders about the total # of Marketplace SKUs (Beal's Oct 2,
20
     2016 email), deRubertis also asked Huynh to make a copy of his 100+ Gigabit personal laptop
21
     hard drive on the spot as Huynh about to leave to catch his flight back to Seattle. Thus, Huynh
22
     was only able to copy about a quarter of the hard drive. deRubertis told Huynh to copy the
23
24   hard drive and FedEx it to him the very next day.

25
26   69
       Additionally, unlike McDonnell Douglas, the plaintiff has no burden to show pretext under
27   section 1102.6; once he has made his initial showing, the burden of persuasion stays with the
     defendant. Id See LAWSON v. PPG ARCHITECTURAL FINISHES, INC (Case No. 19-
28   ?5802) at 16. https://cdn.ca9.uscourts.gov/datastore/opinions/2020/12/07/19-55802.pdf
                                                     210
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 1
                       One USB Stick was copied at D deRubertis Office on 11/16 and One was FedEx to him on 11/17
 2
         From:                             triwyn@gniail.com                           June29,2018
 3       Sent:                             Friday, November 1 7, 201 7 1:26 PM
                                                                                       V/,1 fERSONAT, DELIVERYW/.IS.1
         To:                               'Sari Weiser'; 'David deRubertis'           Epiq
         Subject:                          just mailed out the memory slick            ATIN: forensics L;,b
 4                                                                                     350 South Fis�101 St, Suitt 750
         Attachments:                      Fed Ex receipt.pd/
                                                                                       l.os Angtlcs, CA 90071
5                                                                                             Rt:    Tri J{uyhn v. Wal-Mart, Jnr.. eta/.
         Sari/David,
 6
         I just dropped off the memory stick at Fed Ex. See attached receipt.                 Ell(loltd 111t 1wo thumb drirCl rr&anling the obove rcfcrrnctd moller.
7
 8
 9
                                I I� i!sGIII t.Vl !if
10                              81 1 I !:VU
                                HA 98007
11      Locut ion:              UVUl\K
        Dev ice ID:             •8TCOI
12      fr.p loyee:             2279963
        FetlEx Ex1i, ess P6ckage(sl - -(lropned Off
13       770773120010
14
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15
     07/3 1 / I S    Epiq cDbcowry Solutions Inv. 1 087509                                                                   $             24.228:5 1                  7000
16   09/08/ 1 8      Epiq rDiscovcry Solutions Inv. 90262 145                                                                $              2.466.85                   708.l
     I 0/08/1 8      Epiq cDiscovcry Solutions Inv. 9027 1 326 (SEPT 20 1 8 HOURS)                                           s              8, 1 1 2.4 1               7 147
17   1 0/3 1/ 1 8    Epiq cDiscovcry Solutions ( D1\T/\ HOSTING CI II\RGES FOR OCT & U S ER FEES )                           s              2,259. 15                    NA
     1 1/3 1/ 1 8    Epiq �Discovery Solutions (DATf\ HOSTING CHARGES FOR NOV & USER FEES J                                  s              2.259. /.5                   N/\
18   1 1/31/18       Epiq cDiscovcry Solutions Total 13illing from July to November 201 8                                    s             39,326.07                     NA
19
20                  360.     After deRubertis filed Huynh's lawsuit on Mar 15, 2018, deRubertis left
21   Huynh in the dark without keeping Huynh up to date on the case developments for months on
22
     end. See DC Dkt. 142-20 and 2 1 . Most of the time when Huynh emailed deRubertis for a sta­
23
     tus update he either not responding, responded with lies and evasiveness, or he asked his wife,
24
     Kari deRubertis, to respond on his behalf.
25
26
27
28
                                                                                 211
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 2   Sent:               Tu!lday,h1ay11,1018 IQ49AM                                                                            lent                lul>'lr/,Ml'{l>,tl1811i�AM
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 3   Cc:                 'ta1i deRubertil';'Tri Htrfl'\�'                                                                      Cc                  InH�T��ri�d!f\iblrt�J,V,(C<ll
     Subje<t             Help lueiie<l Ovt
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 6   HiOai:d,                                                                                                                   I'm w �":1)' !o r.�·ar )·ou'rml kdint 11& I F! it Tlr: proc?� in h�ml CoUJ! Ui�1llr mn1 offrrlli)'
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     It ha1 been 2 months since we filed the com�aint.
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     night !tossing and turning thinling about the luture).                                                                   LUJf/Rllr, \\? alt tn tnc rrt,,:i uf�:llini � lnilill Cai/ \!ti nrann� \IO!Ch i1ill rJ�·n: l;TI(iim, fl/II mid
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      To:                  Daiid d,Ruli.?n�Gaffn@d1Rubirtisl,w.com                                                       Subject              0-,rln!!tl<l'il!lp,olOio!
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      lei us talk 1ia phone to d1sC011 thi me status after your CM( meeting with the Judge nett Tuesday, Ju� l.
21

22                   361.              In Mid-May 20 1 8, Huynh and McKessy submitted new original analyses
23
     backed up by supporting documentary evidence to the SEC to prove that Walmait's execu­
24
     tives pressmed their employees to stuff Walmart Marketplace with low quality and/or value
25
     products to inflate the total number of SKUs on Walmart' s Marketplace even though these
26

27   SKUs generate very low sale volume. Additionally, Huynh discovered that the total number

28   of Marketplace SKUs Walmait's senior executives repmted to shareholders during Walmait's
                                                  212
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 1   Q2 FYI 7 earning calls were 4.1 Mil SKUs higher than the internally rep01ied number (Beal's
 2   7/30/16 email to McMillan). Subsequently, the SEC opened a fonnal investigative file named
 3
     "Walmart Ecommerce FW-04193".
 4                                                                                 from: Se;1n X. M<KN,-.y (m.t1lto:sm<te-.,y�phl!fip\.llndcohi:n.toniJ
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10                                                                                          J4, 2016,
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                                                                                    Sent: Wcdnosdoy, Septembers, 2018 5:16 PM
11                                                                                  To: 'O,wid dcRubcrth! <<iJvid@dcruberti$l;iw.c.om.>
                                                                                    C(: K�ti dcRubcnis. <k,1ri@cte:rnbcrt�law.c:om>; G.trcn Nadir <&i.lr«!0
                                                                                    Subject: Interesting events. but not cotncidcnt,1 l
                                                    ,,,,
12
                Hobyn L.:thleln • 1,.,�
                                                                                      Hi David,
                Something in co, 1110n
                Hi Tri - I hope this finds you well, Confidentially, I
13
                                                                                      Below arc some very iotcre,ting 0<currcn(es and I do not believe them
                wils just fired t(om Waln,art for r;,ising ethics
                cornnlaints too and nlso worked in ccotnrncrcc.
                                                                                     On July 20, 1018, Marc lore the 'Bi' · n Dollars' manlookedatmyprofile on Unke
14              I know you can't talk about your c;:ise, but can I
                nsk a few questions?                                                 meibovtme?)Viewe d H uynh's Profile on J u l 14

15              1. Did going to the press help or hurt you?
                2. Who .,1 Wol11,nr t legal clicl you go to? (I'm

16
                trying to figure that out with my illty)

                A!lythin�1 else you thii,k might be helpful as 1
17              nnvigutc this, I'd be very grate fol �u1<J I \01ill k ep
                in t he utmost conficlence. If you'd prefer to
                speak, my number is 91 l - 4'19-886,1.                                                    M a r c Lore                                               Anj a l i Thomas · 2nd
18                                                                                     President t·� C:f:O, \N:1lrn;:q t .com I                               R£�1'.H'!arc.h F-xt�cutiv0 ;i t tnfollion
                Thank you so much and I wish you tho best al                              Fotinder f, CEO, Jct.coin                                                     m:.-to;:1rch Services
                                                                                                                                                                    CD2 mutual connections
19   __ Ju_C]<,__ __ ____ ___ _____



20
                  362.             Then in early July 2018, the SEC asked Huynh to provide them names of addi-
21
     tional witness they could interviewed as a part of the Walmaii's investigation. A short time
22
23   later, the RICO Defendants asked a Walmart's employee to message Huynh via Linkedln to

24   trap Huynh into saying that deRubertis went to the press before filing Huynh' s complaint to

25   get Huynh's case throw out of Court and forced Huynh to return the documents he retained
26   from Walmart. Additionally, Marc Lore (a Billionaire and high-powered executive) viewed
27
28
                                                                           213
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 1    Huynh's profile on Linkedln for no apparent reasons. This proved that the RICO Defendants
 2    were rattled and worried by the SEC investigation. See COA Dkt. 5-4 at 65-74.
 3
                            363.                   Sh01ily after the above events, David and Kari deRube1iis sprung into action to
 4
      prepare the "Catch" part of prong #5 by asking Huynh to produce any and all documents (in­
 5
      cluded those that Sean McKessy provided to the SEC) which proved that Walmart committed
 6
 7    fraud against shareholders under the pretext that if Huynh didn't produce such documents.

 8    David and Kari deRubertis paid Epiq $40,000 to process Huynh's hard drive and these docu­

 9    ments in order to turn them over to Walmart as part of the GO 71 initial disclosures.
10   Er                                ,JJdt;.tt-�1 {,ir."J;?�ih�s' , (◊"\.)
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13   Hi Tri-('JC\ll chlning thil lD,lffiiog mJ)' ·wtirtinp!l,X "Of l(Uiri� L�'· up1hil 5<\'Uft                    aju111 p tb� 11-.1y Kari dcs.:rib,:s bck1w. Tltx.

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      David and Kari deRuberti wonied that the two SB drive Huy uh pr�4('4<9"\ll'>('ntuy/rttr�rll e>n lht n»\ltt                              EC' r1.-
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      gave to tbcm in �lid-Nov 2017 did11't included all of the fil? Huyuh                                                                  discol'ety disclo nre, So, Huynh
25    retained from Walmart which could implicated \\alman for                                                                              didn't hal'e to produced mrything to
                                                                                          i �-•" •' q,,x, q�,1lc>n ,bou1 111t ,�1 1,m "" \V h m1
        hareholder fraud. Thts was the reason they wanted Huynh to                                                                             a n in one shot.
26    reproduce material cridcncc again (including document Huynh                         kt M t ngto slwo-1 ofth 'MthW1'.nw1I O< Wrur wng111(ott-tilibit110 :1t,1c our utt-. 1hr
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      submined 10 the SEC) trnighl from Huyuh's laptop. David deRuberti. tt>tst do<umtnf� tO: W.ltfflJ.rt
27    co11finned the 2017 drive includes 100% of \\'almart' Data                          If tht ,.,,,_ lo !l\t �1tioo lbort ii no Ill«, I (10 lt"Ch fo, /Wt ttn,a,[1 �nd c-x, 11\it \\�I h(:p "'"
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                                                                      COMPLAINT - DEMAND FOR JURY TRIAL
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 1                     3 64.              Additionally, the RICO Defendants worried that Huynh may have excluded
 2   material evidence from the USB drive that Huynh FedEx to the deRubertis Law Firm in Mid-
 3
     Nov 20 17, so they forced Huynh to reproduce any evidence that could implicate Walmart for
 4
     shareholder directly from Huynh's laptop in native format.
 5
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14     Cc:                                  GJ11nN1dr                                                                   Subject                                   RE· U19en1 Please Read ;nd Repfy RE: Christmas in July
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15
                      t!'Mel�"!�]rH!Wf�'x�tffe�H'' ,, -�n ,Ul<I ii 11•"1 ! !Upf" J,;in'
                      Both David and Kari deRubertis lied and said
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        I iro!�,1/C                                                                                11

16                                                                                                                            From:                                    Tri Hvynh
                                                                                                                              Sent:                                   Thursday, September 6, 2018 7:S8 PM
     flom:                              Tri lh')�h
                                                                                                                              To:                                     DJ'fid M. deRubertis
17   Stnt
     To:
                                        frid1f, J-,.",•11, 2018 4·>7 fM
                                        Diiid �?�                                                                             Cc:                                     'Kari deRuber1i1'; Garen N�dir; 'Tri Huynh'
     Cc                                 Kin dtF.ubertit Glren N�11                                                            Subject:                                Conne<ting the dots • Rotten 10 the Cote
18   Subj«c                             Ct.6ttt\llill�;.')'                                                                   AUachmenl$:                             evenl-11an1cript 23rd aMual meeting ()(t 6 2016pdt fwd: MP update
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19   O.!'lid,                                                                                                                     initial disclosure (including Oocurient Submitted to the SEC
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      Se1n1r.d R1b«cad�.                                                                                                                      tht bo:tom of 01,c 3 cl the allached tranltript)
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 1          365.    On July 30, 2018, Huynh told deRubertis he was concerned about producing
 2   documents that Huynh submitted to the SEC in Mid-May 2018 which proved that McMillan
 3
     had made misleading statements to shareholders during Walmart's Q2 FY l 7 earnings call as
 4
     well as during Walmart' s 23rd Annual Meeting with the investment community. deRube1tis
 5
     ordered Huynh to produce this evidence to Walmart per GO 71 and told Huynh he was re­
 6
 7   quired to do so by laws.

 8          366.    In early Sept 2018, David deRube1tis drafted a very restrictive asset return

 9   agreement before the GO 71 production to effectuate the "KILL" part of prong #5. See DC
10
     Dkt. 95-3. As discussed above, deRube1tis planned and executed the "CATCH" pait of the
11
     scheme by forcing Huynh to provide a copy of his drive to deRube1tis in Nov 2017. Then
12
     starting in early July, 2018, deRube1tis spent $40,000 to process Huynh's entire hard drive
13
     (DC Dkt. 142-8 and 142-9) as well as any other native files that Huynh gathered in July 2018
14
15   and provided to Epiq directly from Huynh's laptop. deRubertis planned to return all of this

16   document by end of Sept 2018.
17          367.     To execute the "KILL" part of prong #5 , deRube1tis drafted a very restrictive
18
     asset return agreement (See DC Dkt. 142-16) which forced Huynh to classify all material evi­
19
     dence that Huynh already produced to deRubertis and the SEC as well as any other documents
20
     Huynh kept from Walmart as "Confidential" under the term of the protective order (DC Dkt.
21
22   38). Huynh objected to the David deRubertis ' proposal via emailed.

23          368.    Instead of responding to Huynh's email David deRubertis wanted to discuss in

24   the next day during Huynh in person meeting with him. As previous discussed deRubertis'
25   mode operandi have aways been that when deRubertis didn't want to leave any paper trails
26
     that could implicate him for obstruction of justice, he either call or talk in person. The fol­
27
     lowed day David deRubertis screamed at Huynh for objecting to the proposed agreement and
28
                                              216
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1    told Huynh that legal strategy was his not Huynh's. deRubertis also threatened to drop Huynh
2    as a client if Huynh continued to oppose deRube1tis' proposal.
3
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21                  369.        As previous discussed, deRubertis' MO when it came to leaking Huynh's SEC

22   submissions to the Rescue Squad and the Walmart Participants has always been to purport­
23   edly asked Sean McKessy leading questions unrelated to Huynh's civil case to get McKessy
24
     to provide the answer that deRubertis wanted so the RICO Defendants could use it later on to
25
     assert the "I am incompetent" not a "crook" defense. So, in Mid-September, deRubertis pur­
26
     portedly asked Sean McKessy to review and give feedback on deRubertis' restrictive asset re­
27
28   turn agreement. In his draft letter to the Rescue Squad, deRubertis also hinted that Huynh has
                                                                      217
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 1     been communicating with the SEC. This time around McKessy saw right through deRube1tis'
2      bad intent and chastised him for even inserting such languages in the letter in the first place.
3
     from: Davia oeRubertil <aaVid@oeruoerlis!aw.(OOl>                               from: �ean X. Mc�essy <1mde11y@pl1i1!ip1andcohen.com>
4                                                                                    Sent: Tuesda�,September 11, 2018 5:17 PM
     lent: lue1oay, ��lemoer 11, Wl81rn1 AM
5    To: )ean X. M(�e1� <1mcKe1w�pnili o1anoco�n.com>; lri H�nn                      To: Tri Huynh <trimhu�nh@outlooK.rom>
                                                                                     Cc: DaviddeRubertis <david@dernbertislaw.com>; Rebecca Chang <rchang@philliosandcohen.com>;
     <lrlmnwnn@outloo�.(Om>; Rebecca (nan� <rcr�n5@pnil1ipian�olien.com>
 6
                                                                                     Kari deRubertis <kariffedernbe1tislaw,com>
     Ct: KarioeRuberti1 <Kari@oerubertillaw.com>
7                                                                                    M]ect: Re: Huynh: INPUT Ntrnrn re: Walmart demand for return o! company materials
     lu�jed: Hu�nn: INPUI NHOtO re: Walmart oemano for relurn of com�an1 material1
 8                                                                                                     David deRubertis wanted to legitimately leak to Walmart that
     lmportan,e: Hi�n
                                                                                     Hi David - Huynh talked to the SEC so Wal mart could subpoena Huynh
 9    Hi Tri, Sean & Rcoecca - As I've oecn oiscus�ing willl Tri, in our                               for the information
10    inaivioual SOX retaliation ca�e, \Valmart is trying lo ocmano Ilia! Tri        I am OK\'/ general approa(h but m w IS not a qui tam. )0 I wouldn't refer to it as such. I'd �eep the
      return compan� malerial� lie retaineo posl-tennination. We've gone             argum:nt simple - lri retaine tho . docume�ts to protect his �wn rights against retaliation a'. well as
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      mo!ion will oe liled. I wanted lo gel your inruUapproval of sending a          I would not eYen refer�nce the idea that he mayor may not have submitted to �tC -just focus on facts
14
      lel!eralong l l1e following lines lo Walmart s counsel. I am nol
                                                             )
                                                                                     that he is entitled to retain ao(uments to protect him1e d shareholders.
15     married to approacl1ing it in Ilic way I'm su�gesling oelow, out
16     oclievc ll1is a1iproacl1 woula DC oc�I for Tri in our     �ox                    On Sep 11, 2018, at 3:38 PM, David deRubertil <david@derube1li1law.com> V, e:


17     ca�c. However, I wanlco to sec l10w you feel aooul it arnl wl1cll1er _ � iJ!a!!: D�1��l·�� g�..9��s1��i�1�IJ��2� �� ��_ 1ie_i[o��s_1�s
      rou lrnvc concerns in lenrn of Ilic SEC jlfOCCCding- firs! a� 10 !lie I done anonymously, CIC., but arc you aware of any authority that pcm · Tri in hi1
18                                                                                           L�,���X casc�o��t!c I�dis��s:�� �c 1i�JC(�t�thc S!C ifas�cd �i �cllr'IJ
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23                                                                                           case? Thanks!
24    worKs al oo!h ends. Can you give tl1is a reao over'/ A lot of ii is law From: Sean X. McKessy <smckessvi'nlphilliosandcohen.com>
25    rou I'm sure Know aoout out Ilic prorosal I maKe I've l1igl1li�l1!ed in Sent: Wednesday, September 12, 2018 1:16 PM
      re(! fonl llclow as well a� Ilic areas wl1crc I aiscu�s Tri aml 1l1c
                                                                                               To: David deRubertis <dav/d®derubertislaw.com>
                                                                                               Cc: Tri Huynh <trirnhuynh@loutlook.com>; Rebecca Chang <rchang@phillipsaodcohen.com>
       SEC. Anyway, a1i�rccialc your !l1ouil11s. l'lloc out of commission Subject: Re: Huynh: INPUT NEEDED re: Walmart demand for return of company materials
26
27
                                                                                       Thal sounds right I'm not aware of contrary law or guidance.
28
                                                                                              2 18
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 1          370.       Starting in mid Oct 2018, Huynh could no longer tolerate deRubertis' abuses,
 2   intimidations, threats, and unilateral decision making. So, Huynh fired the deRubertis Law
 3
     Finn. Even though deRubertis already paid Epiq Global $40,000 to process Huynh's personal
 4
     laptop hard drive and planned to hand all of the documents back to the Rescue Squad and the
 5
     Walmart Pmticipants on a silver platter as pa11 of GO 71, the scheme failed apart when Huynh
 6
 7   fired deRubertis as his attorney. As a latch ditch effort to save their plan, the RJCO Defend­

 8   ants concocted and executed the old "Damsel in Distress" scheme. This scheme consisted of

 9   two components.
10
             371.      First, the Rescue Squad attacked Huynh's constitution right to privacy by sub-
11
     poenaing Huynh's psychiatrist records and personnel files from all of Huynh' s previous em­
12
     ployers dating back to 1 996. This was done to intimidate and drive fear into Huynh's hemt
13
     (i.e., the leakage of Huynh's mental health condition as well as his personnel files to the pub­
14
15   lic would ruin Huynh's personal, profession reputations and social standing) to extort Huynh

16   to give up his personal laptop hard drive to Walmart (not through Epiq but through another
17   ESI provider) and agree to Walmart's restrictive asset return agreement.
18
             372.      Second, deRubertis would be the hero that would swoop in and save Huynh
19
     from the Evil Rescue Squad. So deRubertis wrote the following email.
20
      From: David deRubertis <david@derubertislaw.com>
21    Sent: Thursday, October 18, 2018 1:48 PM
      To: Tri Huynh <trimhuynh@outlook.com>
22    Cc: Kari deRubertis <kari@derubertislaw.com>; Maria Olmos <maria@derubertislaw.com>; Garen Nadir
      <garen@derubertislaw.com>
23    Subject: Huynh; status of things
      Importance: High
24
      Hi Tri - Herc is the ema i l stating current status of things and outstanding pressing items. Please
25    review it and let's figure out when we can talk. The most immediate thing is needing your
      approval or input of the two meet and confer letters regardi ng the subpoenas. The next most
      immediate thing is the proposal on standstill that they have made, whkh relates to the con.1pany
26
27    asset's issue.

28
                                                              219
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 1
      First, Walmart has now served subpoenas on the following:
2
         1. A1rny Networks: production date of November 8th
3        2 . Amazon: production date of November 1 5
                                                     th

         3. Mu Sigma: production date of November 8th
4        4. Dr. Bolte: production date of November 1st
         s. Motif, Inc.: production date of November S 111
5        6. In osys: production date of November 9th
               f

         7. Booz Allen Hami lton: production date of November 8th
 6
 7    Please let us know if you'd like us to send you copies of the subpoenas. They basically are
      asking for everything under the sun from the prior employers and all ADD/ADH D treatment
 8    records from Dr. Bolte. The description of what they are seeking is embedded in the draft meet
      and confer letters below.
 9
10
        deRubertis Will Save Huynh from the Big Bad Wolfe . . .
11
        A precondition of filing a motion to quash or limit the subpoenas, we must meet and con­
12      fer with Walmart's attorneys. My typical practice is that I like to meet and confer after I
        have been able to review the documents to detennine what is the best approach to meeting
13      and conferring. This is why I was trying to get your Amazon records. Anyway, realiz­
        ing that will not occur, we have nonetheless drafted meet and confer letters on these
14
        points.
15
        Here is the proposed meet and confer letters - basically, one for the prior employment
16      records and another for the medical records. It is important that we send these out im­
        mediately. Can you please either approve me doing so or let me know what you would
17      like changed if there are changes? It is important that we get this to Walmart's lawyers be­
        cause, if they don't agree to the standstill, we need to file the motions to quash before the
18      first production dates (technically, this is a joint letter to our Judge rather than a motion at
19      first). Anyway, here are the proposed draft letters. Please let me know as soon as possible
        if they are approved to send as is versus changes.
20      Letter re: prior employment records
21      Dear Ms. Brass:
22      Here, Defendants' subpoenas must be quashed because they require disclosure of materi­
        als - an employee's personnel records - that are protected by plaintiffs privacy rights
23      pursuant to the California and United States Constitutions and there is no basis factually
        here for overcoming the privacy objection. See Britt v. Superior Court, 20 Cal.3d 844,
24      855-56 ( 1 978); Griswold v. Connecticut, 381 U.S. 479, 484 (1965); Tylo v. Superior
25      Court (1997) 55 Cal. App. 4th 1 379; San Diego Trolley, Inc., v. Superior Court, 87 Cal.
        App.4th 1 083, 1097 (2001) (" It is clear . . . personnel records and employment history are
26      within the scope of the protection provided by the state and federal Constitutions"); Bick­
        ley v. Schneider Nat. Inc., Case No. 08-5806-JSW (JL), 2011 WL 1344195, at *2-3 (N.D.
27      Cal. April 8, 2011) (collecting cases, and recognizing an employee's right to privacy in
        personnel records and employment inforn1ation in quashing defendant's subpoenas of
28
                                              220
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 1      plaintiffs' employment records from fo1mer employers); Buchanan v. Homeservices
        Lending, LLC, No. 1 1 -cv-0922 L (MDD), 2011 WL 6778472, at *2 (S.D. Cal. Dec. 22,
 2      20 1 1) (quashing defendants' subpoena to plaintiffs current employer seeking employment
 3      records of plaintiff and finding that "the ultimate issue in this case is the work actually
        perfmmed for Defendants by Plaintiff').
4       Letter re: med recs
 5      Dear Ms. Brass:
 6      Mr. Huynh maintains a privacy interest, as well as a privilege, relating to his therapy
        and/or medical records. In Jaffee v. Redmond, 5 1 8 U.S. 1, 1 5 ( 1 996), the Supreme Court
 7      held that "confidential communications between a licensed psychotherapist and her pa­
        tients in the course of diagnosis or treatment are protected from compelled disclosure un­
 8      der Rule 501 of the Federal Rules of Evidence." The privilege protects communications
        with licensed psychiatrists, psychologists, and social workers. Id. It also protects against
 9
        compelled disclosure of notes made during the course of treatment. Id. at 18. "[R]ooted in
10      the imperative need for confidence and trust" between the patient and the psychotherapist,
        the privilege is designed to avoid deterring people from seeking treatment for fear that
11      they will suffer a disadvantage in later litigation. Id. at 1 1
12      The psychotherapist-patient and physician/patient privileges are not subject to a balancing
        test whereby a court may weigh the interests of justice. In re Sealed Case (Medical Rec­
13      ords) 38 1 F.3d 1205, 12 1 4 (D.C. Cir. 2004). Despite this strict protection afforded by the
        privilege, the psychotherapist-patient privilege and the physician/patient privilege may be
14      waived. The Ninth Circuit has recognized that "when a plaintiff puts his emotional condi­
        tion at issue during a trial, he waives privilege protecting his psychological records." Lah­
15
        richi v. Lumera Corp., 433 Fed. Appx. 519, 521 (9th Cir. 2011) (citing Maynard v. City of
16      San Jose, 37 F.3d 1 396, 1402 (9th Cir. 1 994). Although it is clear a plaintiff may waive
        the privilege, the Ninth Circuit has provided little guidance on what constitutes placing
17      one's emotional condition at issue. District courts have adopted different approaches to de­
        termine whether the patient has waived the privilege in the course of asserting certain
18      claims or damages. Carrig v. Kellogg USA Inc., 2013 WL 3927 1 5, at *2 (W.D. Wash.
        Jan. 30, 20 1 3) ( collecting cases and describing alternative approaches); see also, Fitzger­
19
        ald v. Cassil, 216 F.R.D. 632, 635 (N.D. Cal. 2003) (collecting cases) (no waiver of pri­
20      vacy when plaintiff did not allege "cause of action for intentional or negligent infliction of
        emotional distress" or "specific psychiatric injury or disorder or unusually severe emo­
21      tional distress extraordinary in light of the allegations"); Doe v. City of Chula Vista, 196
        F.R.D. 562, 564 (S.D. Cal.1999) (attorney waived psychotherapist patient privilege by
22      bringing emotional damages claim).
23

24      . . . However, Huynh Had to Give Something in Return

25      Fourth, we still need to resolve the return of company assets issue:
        Walmart has proposed instead the following:
26
        All of the materials Mr. Huynh has retained from his Walmart laptop will be treated as
27      confidential under the te1ms of the Protective Order that the Court entered on September
        1 4, 2018.
28
                                             22 1
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 1      The paiiies will jointly retain a third-party vendor specializing in forensic analysis to
        make a forensic image of the portable hard drive(s) onto which Mr. Huynh copied the
 2      contents of his Walmaii laptop. The parties agree to evenly split the costs of performing
 3      this examination, which will be completed no later than Friday, October 5, 2018. 70
        The forensic services fom will provide a copy of the forensic image to Walmart.
 4
        Mr. Huynh will return to Walmart by no later than October 31, 2018, any materials that
 5      the parties agree are not relevant to his claims.
 6      To the extent that the materials Mr. Huynh copied from his Walmart computer include
        materials to which Mr. Huynh did not have legitimate access during his employment
 7      and/or contain sensitive Walmart infonnation that is not relevant to Mr. Huynh's claims in
        this litigation, Walmart reserves all rights with respect to such information.
 8
 9          373.    Huynh had a phone conversation with deRubertis a few days later regarding
10
     deRubertis "Status of Things" email. Huynh said no to the Rescue Squad proposal and told
11
     deRubertis to get lost because deRubertis' email didn't pass the smell test. As discussed
12
     above, deRubertis attacked Huynh's ruthlessly and ferociously for not signing the release
13
14   form to allow the deRubertis Law Firm to obtain Huynh's Amazon personnel file (See DC

15   Dkt. 158-9) and deRubertis had been going after Huynh's psychiatrist and medical records as

16   early as Nov 2017. So, it was illogical for deRubertis to grow a conscience and offered to
17
     save Huynh from the Evil Rescue Squad. deRubertis emailed also served as proof that RICO
18
     Defendants intentionally shotgun pleaded the five nefarious ADHD FEHA Claims to effectu­
19
     ate prong #2, #3, and #6 of the illegal coverup scheme because deRubertis himself admitted in
20
     his status of things email that it was wrong for the Rescue Squad to come after Huynh's psy­
21
22   chiatrist records and personnel files. Additionally, the email also proved that the RICO De­

23   fendants planned and executed their "Catch and Kill" as early as Nov 2017.
24

25
26

27   7 0 Why this when deRubertis already spent $40,000 to have Epiq process 110 Gigabit of data
     from Huynh's hard drive? The answer was to coverup the fact that the RICO Defendants
28   y.rere acting in concert to effectuate their "Catch & Kill" Scheme.
                                                        222
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 1           374.   As a matter of fact, The RICO Defendants created a paper trail in the public
 2   court docket to effectuate their "Catch & Kill" scheme by purportedly asked Judge Chhabria
 3
     during the case management conference to issue a ruling that forced Huynh to tum over the
 4
     content of his personal laptop. This provided deRubertis with the coverage he need to legiti­
 5
     mately tum over Huynh's hard drive to Walmart on a silver platter.
 6
 7   Date Filed     #    Docket Text
     07/03/20 1 8   34 M i nute Entry for proceedings held before Judge Vince Ch habria: I nitial Case
 8                     Management Conference held on 7/3/20 1.8. Plaintiff is otdcred to respond i n
                       writing t o defendants b v 7/5/20 1 8 regardi ng their written request sent t o plaintiff
 9                     for ret u rn of property 4 weeks ago. Last day t o amend pleadings d ue by
                       1 / 1 8/20 1 9. Close of Fact Discovery due by 2/28/2 0 1 9. Last day to hear Motion
10                     Hearing set fo r 4/25/20 1 9 10:00 AM in San Francisco, Courtroom 04, 1 7t h Floor
                       befo re ,J udge Vince Chhabria. Final Pretrial Conference set for 1 0/28/20 1 9 0 1 :30
11                     PM in San Francisco, Cou rtroom 04, 1 7t h Floor. ,J u ry Trial set for 1 1 / 1 2/20 1.9
                       08:30 A M i n San Francisco, Courtroom 04, 1 7th Floor before J udge V ince
                       Ch habria. Total Time in Court: 7 n1inutcs. H earing not reported or recorded.
12                     Plaintiff Attorney: David deRubertis. Defendant Attorney: Rachel Brass. (T!tis is
                       a text-011(v e111Jy generated by tlte court. There is ,w documeut associated ll'itl, this
13                     e11fly.) (knm, COURT S'l A FF) (Date Filed : 7/3/20 1 8) (Entered: 07/03/20 1 8)

14
15                                  Prong #5: Coverup the Coverup Scheme

16                           Coverup the Obstruction of the OSHA Investigation
17           375.   David deRubertis and the other RICO Defendants never intended to go through
18
     the OSHA Whistleblower complaint process because they wanted to take Huynh's case to
19
     Federal Court in order to execute their "Nuts & Sluts" and Truth on the Market Offenses.
20
     However, the RICO Defendants pretended to have filed the complaint and the amended com­
21

22   plaint with OSHA in May and July 2017 for three purposes: First, to purportedly show that

23   deRubertis exhausted OSHA's administrative remedies requirements before taking Huynh's

24   case to Federal Court to cover up their obstruction of the OSHA proceeding. Second, the
25   RICO Defendants exploited these filing to legitimately handed over Huynh's SEC submis­
26
     sions to the Walmart Participants. Third, to create paper trails to protect the RICO Defend-
27
     ants from future criminal prosecution for obstructing an SEC investigation.         See X.
28
                                               223
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1           376.     Although Huynh currently doesn't possess direct evidence to prove that the
2    RICO Defendants obstrncted the OSHA proceeding in order to effectuate prong # 2 (i.e., to
 3
     obstrnct and influence the outcome of an SEC investigation), Huynh believes this inf01mation
 4
     is in the RICO Defendants' possession and is discoverable during discovery.
 5
            377.    However, even in the absence of this evidence, Huynh proved that the RICO
 6
 7   Defendants conspired to obstrnct the OSHA proceeding based on the following circumstantial

 8   evidence.

 9          378.    First, deRube1iis repeatedly refused to provide Huynh a copy of the OSHA
10
     complainant notification letter despite Huynh's multiple requests. This proved that deRuber­
11
     tis never filed Huynh's complaints with OSHA because if he had OSHA would have sent him
12
     the complainant notification letter because it was required by law for OSHA to do so.
13
            379.    Second, deRube1tis purportedly claimed that he filed a 125-amended complaint
14
15   with OSHA even though there was no such pleading requirement by OSHA. deRubertis' real

16   motive for pretending to file the amended complaint was to use it as a justification to lift the
17   content in Huynh's 4/19/17 SEC submission verbatim and inserted them into the bogus 125 -
18
     page amended complaint to launder the infonnation to legitimately share it with the Rescue
19
     Squad and the Walmart Participants. The RICO Defendants later legitimately used this infor­
20
     mation to submit factual misrepresentations to the SEC to neutralize Huynh's allegations
21
22   against Walmait in order to obstruct and influence the outcome of the SEC investigation.

23          380.    Third, deRubertis pretended to file the fake complaint and amended complaint

24   on 5/11 and 7/10/17 in order to create paper trails which enabled the RICO Defendants to as­
25   sert their chronologically impossible defense to coverup the facts that the they conspire to ob­
26
     structed the SEC investigation process as early as the beginning of May 2017. To effectuate
27
     their scheme, deRubertis purpo1tedly asked McKessy to review the OSHA complaint on
28
                                              224
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 1   5/11/17 because he wanted McKessy to serve as an alibi to the fact that prior to Walmait's Q 1
 2   FY18 earnings call on 5/18/17 the Walmart Participants only knew about Huynh's allegations
 3
     of Walma1t's misconducts at a superficial level based on deRubertis' 5/11/17 OSHA com­
 4
     plaint. Then even though, Walmait's senior executives knew about the specificity of Huynh's
 5
     allegation from deRube1tis' fake 125 pages amended complaint after 7/10/17 it didn't matter
 6
 7   because by then the RICO Defendants had already executed their Whitewashing Campaign.

 8   Thus, it would be chronologically impossible for the US government to prove that the RICO

 9   Defendants obstructed the SEC investigation/proceeding.
10
                           Wa lma rt's Chrono logical ly Impossible Affirmative Defense
11                                                                                                  deRubertis Filed OSHA
         deRubertis Filed OSHA                  Walmart's Whitewashing Activities                    Amended Complaint
12       Com plaint on May 1 1                                                                          on 7/10/17
                      1,----------------·---------------� •
        de Ruberti s I W ma
13   l eaked i n fo t o :
                            al   rt's
                           Ql FYl S
                                         Wal mart's Baird's   Deutsch
                                          Annual    Analyst Bank's Analyst
         Wa lmart
                        I earning call   Meeting Conference Conference
14
           Early          May 18                                    J une 13
                      :                      June 2    J une 7
           May
15
                                Thompson's                                  Walma rt's
16                             Inquiry Letter                              replied letter     SEC's response
                                                                                            letter to Walmart
                                                                            to the SEC
17         Early
                                  Ma',1 22                                     June 19          June 28
           May
18                                                                                                              I

19       We d id n't know about                                                                            So what if
          Huynh's allegations                                                                              we knew
20
21
               381.       Fourth, on Aug 29, 2019, the Rescue Squad filed the fake OSHA's dismissal
22
     letter from Mark Marchione to purp01tedly show that deRubertis exhausted administrative
23
24   remedies before taking Huynh's case to Federal Court. See DC Dkt. 119-20. Huynh recently

25   came to the conclusion that the RICO Defendants manufacture this letter to cover up their ob­

26   struction of the OSHA investigation process. This letter was bogus because its contents were
27   inconsistent with SOX's statutory language and also inconsistent when compared with the
28
                                                      225
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1    dismissal letter from the Jackie Hosang Lawson's case (Case 1:04-cv-11651-MLV).
2
                    Case J:lS·cY-01631-VC Document 119·20 hi� 08/291)9 Ptlge 2 ol2

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23
             •            In the Lawson's case the dismissal letter came from a "Regional Administrator" Not
24                        a "Regional Supervisory Investigator".
25
             •            Marchione listed the kick out period for SOX as 60 days instead of 180 days .
             •            Huynh's complaint was filed on 5/11/17 not on 5/17/17. Why?
26
             •            Marchione cc: the U.S. Depaiiment of Justice, Civil Fraud Division when there was
27                        no such requirement.
28           •            The letter address "Dear Mr. Huynh" when it should have been addressed to
                                                                                                                226
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1                            Huynh's Lawyer David deRube1tis.
2           •                Marchione didn't cc Eugene Scalia, Boutros, and Brass in the letter.

3
     PAY N E                                               FEARS
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                                                   COMPLAINT - DEMAND FOR JURY TRIAL
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 1      Payne & Fears LLP (Daniel F. Fears and Terri M. Shaw) Participated in the Con­
        duct of the WSF Coverup Enterprise.
 2
            3 82.   The Rescue Squad hired the Law Fi1m of Payne & Fears on the behalf of the
 3
 4   Walmart Participants to represent Walmart to interact with deRubertis and Mark Marchione

 5   regarding Huynh's OSHA complaints. As discussed throughout this complaint, the RICO De­
 6   fendants engaged in fabrication of Beal's 11/30/16 email and 11/30/16 Marketplace RIF then
 7
     submitted the fake documents to OSHA. They also conspired with Mark Marchione to ob­
 8
     struct OSHA from investigating Huynh's complaints. The chart above proved that Terri M.
 9
     Shaw and Daniel F. Fears engaged in extensive communications with Seth Beal, Valerie Ri­
10
11   cetti, and other Walmart's employees via mail and the wire to manufacture evidence (Beal's

12   11/30 email and RIF list) and submit false inf01mation to OSHA.

13
            383.    Furthermore, Huynh believes the Law Finn of Payne & has in its possession
14
     extensive co1mnunication (probably hundreds of instances of mail and wire usages) among
15
16   the RICO Defendants to effectuate prong #2 and #3 of the WSF Coverup Enterprise's illegal

17   coverup scheme. Thus, Huynh believe this information will be discoverable during discovery
18   which proved that the Law Firm of Payne & Fears LLP committed much more than two pred­
19
     icate acts in furtherance of the illegal coverup scheme.
20
21          384.    Fifth, Since David deRubertis refused to provide Huynh with a copy of OSHA

22   notification letter, the RICO Defendants manufactured the OSHA complainant notification
23
     letter after the fact to purportedly show that OSHA did in fact send a notification letter to
24
     deRubertis on Aug 7, 201771 to coverup the fact that the RICO Defendants conspired with
25
26

27   71 David deRubertis didn't provide this letter to Huynh in Aug 2017. Huynh only came to
     now of this after David deRubertis produce it to Walmart during the GO 71 document ex-
28   �hange.
                                                       228
                             COMPLAINT - DEMAND FOR JURY TRIAL
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1      Mark Marchione to obstruct OSHA from investigating Huynh' s OSHA complaint. Below are
2      discrepancies between Marchione' s fake notification letter and the notification template letter
 3
      provided to OSHA investigators to communicate with complainants.
 4
 5   U,S, Department ol labor             0.:c�l�"il SiMyind 11111\h Adl!linij�llion                                                         Complui111111t Norijir11tio11 letter
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 6                                        S3nfri�co,CA $11�)
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 7                                                                                                             IJatcj                   There are two mi\jor di                    crepancies. First, the
 8                                                                                                             �Ir. U, R . Complain template 1.etter included the name and contact
                                   From deRubcrtis client rclltrn files
                                                                                                               Sirw Addrr s         inform(llion of the nssigned fovcsligator
 9                                                                                                                               while dcRubcrlis' letter didn't. Second,
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10    Oxl�y Act ( OX), IS U.S.CA }])14A, which yo� fikd 011 Ma)' 17. 2017��Wal• �!art                          Ri': ABC Company; V l 1/1 7 the deRubertis' letter indjcaled that
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24             •             As per statutmy requirement Marchione should have sent the complainant notifica­
25                           tion letter by end of May 2017 at the very latest to deRubertis. However, Marchione
                             didn't send the letter until Aug 2017. It's worth to mention that Huynh didn't have
26                           access to this letter until after he fired deRubertis and forced him to return Huynh's
27                           client files.

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                                                                                                            229
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1        •            Marchione didn't assign an investigator to the case even though deRubertis purport­
2                     edly filed that the complaint with OSHA on May 11, 2017.

 3
         •            Marchione stated that Huynh's complaint was filed on 5/17/17 but deRubertis
                      claimed that his fim1 faxed, emailed, and UPS the complaint to OSHA on 5/11/17.
4                     Why the 6 days discrepancies?
 5       •            Marchione didn't attached the purported 125-page amended OSHA complaint David
                      deRubertis claimed he filed with OSHA on July 10, 2017.
 6
 7                385.              Sixth, although David deRubertis claimed he had filed Huynh' s OSHA com­
 8
     plaint on May 11, 2017 but Marchione and the Rescue Squad purpo1tedly claimed that
 9
     Huynh's complaint was filed May 17, 2017. What was May 1 7, 2017' significance?
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                                                                                                                                         case 3:l8·CV·0163l•VC [}()cun1em 119-20 Filed 08l29/19 Page 2 ol 2
11                                                                                                                       U.S. D�p,�n1rn1 of I Jhor              (kfu1�.1inn,1l 5.!ftl)' 111J l1111ih Adn1ini,ltr11ion
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16     lillWill a.'i:l l\\'UntiQ bws. lkJl IA�I. \ SO O IIA "di mi*� lllu)nh's] C\\fllr!Jim" in �,a�1                            Tri lluynh
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23                  All11: \\'bl<tkNnwC pllinl follJt llnil
24                                                                                                                          The timely and accurate entry of information in IMIS, as
25                                                                                                                          detailed in OSHA Directive IRT 01-00-016, is critically
                                                               P1i;,-s (lndudin�Tun1ml1tll P1g1): 1.1
                                                                                                                            important. A. Date Complaint Filed: the date a complaint
                                                                                                                                                   11

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                                                                                                                            is filed is the date o! the post-mark, facsimile transmittal,
27                                                                                                                          e-mail communication.
28
                                                                          230
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 1           386.    Huynh put deRube1tis on notice in late Sept 2017 that the SEC began to scruti­
 2   nize Walma1t on how they accounted for Walma1t Marketplace sales, customer returns, and
 3
     inventory mark down due to the allegations in Huynh's 4/19/17 SEC submission. Huynh
 4
     shared with deRubertis Tµompson's 5/22/17 letter to Biggs. To coverup the fact that the
 5
     RICO Defendants conspired with Thompson as well as engaging in the Whitewashing Cam­
 6
 7   paign, the RICO Defendants attempted to reset the boundary condition of their previous

 8   "Chronologically Impossible" 1.0 Defense by getting Marchione to fabricate the 8/7/17 notifi­

 9   cation letter where he listed the filed date for Huynh' s complaint as 5/17/17 instead of the ac­
10
     tual filed date of 5/11/17.
11
12       FY201 8 Q1 Ea rnings Release
13      Thu, May 18, 2017 J 6:00 AM US/Central

14
        The qua rterly earnings press release and pre-recorded phone call will be ava i l a b l e at
15      approximately 6:00 a.m. CT on th e date of relea se. The transcript of the c a l l w i l l b e available
        simultaneously with t h e pre - recorded ca ll.
16
17      To access the qua rterly earnings call:
        I n th e United States and Canada, dial 877-523-5612; a ccess code: 9256278 (W-A-L-M-A-R-T),
18
        fol lowed by the pound ( # ) sign. All other callers dial 1 -201-689-8483, access code: 9256278 (W­
19      A-L-M-A-R-T), fol lowed by the pound ( tt ) sign.

20
21          387.     The RICO Defendants purportedly listed 5/17/17 as the filed date for Huynh's

22   complaint instead of 5/11/17 in order to reset the initial boundary condition (since Huynh
23   lmew that Walmart's senior executives conspired with Thompson to whitewash evidence of
24
     Walmart's illegal conducts). By changing the complaint filed date from 5/11/17 to 5/17/17,
25
     the RICO Defendants would argue that even if someone at OSHA got a hand on Huynh's
26
     complaint and leaked the information to Walmart it didn't really matter because by then
27
28   Walmart's senior executives had already pre-record Walmart's Q l FY18 earnings call where
                                                    231
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 1   Walmart shifted its reported SKU metric from Marketplace to Walmart.com Additionally, the
2    RICO Defendants chose Aug 7, 20 1 7 as the purported date to send out the complainant notifi­
 3
     cation letter to purp01ied proved that by then Thompson' s communications with Biggs regard­
 4
     ing Walmart's Ecommerce accounting treatment had already been completed
 5

 6                                    Chronologically Impossible Defense 2.0
                                                                                                        OSHA sent out complainant
 7                                                                                                      letter to SEC on 8/7/17 and
     deRubertis Filed 1 Wi1l.nwt's Walmart's       '         Deutsch Bank's                             Walmart received it on 8/9/17.
 8   OSH.A Complaint I Ql FY18       A.nnua I
                                              Baird s Analyst Anays I t                                                I
       on May 11      : earning call Meeting Conference Conference                                                     I
 9                                                                                                                     I
10       May 1 1       : May 18      June 2        J u ne 7   J u ne 13

11
                                                                    Walmart's SEC's Walmart's
12                               Thompson's                        replied letter l etter to replied letter
                                Inquiry Letter                      to the SEC Walman to the SEC
13
                                                                                                                     I
14                                May 22                              June 19 June 28 July 25 .                Aug 7 I

15
16
         OSHA didn't receive the
17       complaint until 5/17/17.                                                                             So what if we knew
18
19                                                   Coverup at DFHE
20
21           388.      Fourth, to purportedly show that deRubertis exhausted DFEH's administrative

22   remedies requirements before shotgun pleaded the five ADHD FEHA claims in Federal

23   Court, the RICO Defendants fabricated the proof of service from DFHE and the deRubertis
24
     Law Firm to purportedly show that deRubertis and DFEH served Walmart Huynh's right to
25
     sue letter on Mar 9, 20 1 8. Upon further inspections of these documents, Huynh concluded
26
     that they were manufactured for the following reasons.
27
28           389.      First, it was hard to imagine that both the deRubertis Law Firm and DFEH
                                                  232
                                  COMPLAINT - DEMAND FOR JURY TRIAL
     Case 3:22-cv-00142-JSC Document 1-2 Filed 01/10/22 Page 33 of 99




 1   served Huynh's right to sue letter to Walmmi at the exact same time and date i.e., on March
 2   9, 2018 at 12: 05 PM. The probability that this would happen in real life is like wining the
 3
     "Powerball" lottery. Second, Huynh's right to sue letter clearly stated in bolded words "Pur­
 4
     suant to Government Code Section 12962, DFEH will not serve these documents on your
 5
     employer". Thus, it made no sense why would DFEH spend the time and resources to serve
 6
 7   Huynh's right to sue letter to Walmart? Third, the purported right to sue letter that DFEH

 8   serve to Walmart had Huynh's actual signature on it even though the original right to sue let­

 9   ter that Huynh received from DFEH didn't have Huynh's signature. However, deRubertis was
10
     the only who had Huynh' s right to sue letter that has Huynh' s signature because right after
11
     Huynh received the right to sue letter from DFEH, deRube1iis asked Huynh to physically sign
12
     the letter then emailed it to him. Thus, the only way that the Rescue Squad had the right to sue
13
     letter with Huynh's signature on it was deRubertis intentionally gave it to them. This fmiher
14
15   proved that deRubertis colluded with the Rescue Squad and the Walmmi Participants to shot­

16   gun plead five nefarious ADHD FEHA claim to effectuate prong #2, #3, and #6 of the WSF
17   Coverup Enterprise' illegal cover up scheme. Fomih, in Huynh's right to sue letter (under the
18
     notice to the respondent section), DFEH clearly stated that "No response to DFEH is re­
19
     quested or require". However, in the purported DFEH's proof of service letter it showed that
20
     DFEH requested Walmart to respond to Huynh's right to sue letter within 30 days. "Appear­
21
22   ance or Answer Due: within 30 days of receipt72. This further proved that the DFEH proof of

23   service letters were manufactured to cover up the facts that the RICO Defendants conspired to
24

25   72 This purported statement also contr�dicted with what is stated in the right to sue section of
26   the DFEH website at https://www.dfeh.ca.gov/obtainrighttosue/ which stated "You may file
     your own lawsuit for employment discrimination in court rather than using the DFEH investi­
27   gation process. This is advisable only if you have an attorney. Also note that if you receive a
     right-to-sue notice, your complaint will not be investigated by DFEH even if you later de­
28   c;ide not to file a lawsuit.
                                                      233
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 1   shotgun pleaded the five ADHD FEHA claims in Huynh' s 3/15/18 complaint.
 2
 3
               Walmart and the GDC Squad Fabricated the Process Service Confirmation and Attached It
 4             to Df EH Right to Sue Form with Huynh's Signature Which David deRubertis Gave to
 5             Them,
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 6    r, . CT Corroration                                                 Service of Process                         - ll!H'uld"Jllr l1!)�n ,\itqur
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1                                                                                     Cover Up at LWDA
2
                390.              Since David deRubertis never filed the 125-page amended complaint with
 3
     OSHA (deRubertis couldn't claim that he produced the content of Huynh's 4/19/17 SEC sub­
4
     mission to Walmart through a legitimate legal process), deRube1tis and the Rescue Squad
 5
 6   acted in conceit to file a PAGA claim with LWDA in early Jan 2018 then added the PAGA

 7   claim to Huynh's amended complaint (see DC Dkt. 8 at 68) to use the PAGA claim as another
 8   excuse to leak Huynh's 4/19/17 SEC submission to the RICO Defendants.
 9
           David deRubertis filed a PAGA Claim in order to Leak Huynh's SEC Submission to Wal mart
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25      Case 4:18-cv-01631,0MR Document 8 Filed 04/02118 Page 1 ol 70                                             case 3:l8·CV·0 1631•VC Document 67 Filed 04/0 1119 Page 1 of 4
26      Caie No.: 4:1 -cv-016JI-D\IR                 9.        Remedies   under the Labor Code                       STIPULATJO� TO DIS,\ IISS
                                                               Pri11�1c Anorncy Generals Act of                      PL,\l�W'f',' Nl�111 Cl.Al\! FOR
27      .FIRST ,\�]ENDED cmJPL.mT                              2004 (Cal. Labor Code �2698, el                       RELIEFWITII rREJUllJCE;         110:-i. VIXCf: IIIIABRIA
        FOR:                                                   seq.).                                                �ll ORDER                       JlilXiE OF TIIE DISTRICT COURT
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 1                    39 1 .        On Jan 9 , 20 1 8, deRube1tis mailed the PAGA notification letter t o Walmart via
 2   US Postal Mail. As showed below the OSHA amended complaint and the PAGA notification
 3
     letter were exactly the same.
 4

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 8    \\',!l.�lm S11�,i. In..     The content of the OSHA amended complaint and
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 9    \\'ai,�lut,Nn. Ir,:.        PAGA letter sent to Walmarl 1s the same. It was i:J<p,iru,:e:1 MLtwr                                         J     •



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 1                  392.          Additionally, in order to covernp the fact that the RICO Defendants asserted
 2   the ridiculous and frivolous PAGA claim in Huynh's amended complaint to secretly leak
 3
     Huynh's SEC submission to the Walmart Participants, the Rescue Squad asked Huynh to e­
 4
     file a joint stipulation to ask District Vince Chhabria to dismiss the PAGA claim with preju­
 5
     dice. Judge Chhabria dismissed the claim with prejudice in early April 2019. DC Dkt. 67.
 6
 7               The RICO Defendants Used GO 71 to Leak Names of Potential SEC Witnesses
 8
                    393.           On Sept 7, 2018, Huynh provided deRubertis a list of witnesses relevant to
 9
10   Huynh's SOX Retaliation employment case. However, on Sept 18, 2018, deRubertis emailed

11   Huynh that he had added more witnesses to the list because in Huynh's situation the more
12   witnesses we produced to Walmart the better.
13   From:                            Tri Huynh <lrimhuynh@outlook.com>                                  from:           OavW deRuberti1 <da1id@deruberti1law.com>
     Sent:                            Friday, September 7, 2018 1 1:19 AM
14   To:                              Tri Huynh; David deR11be1tis; Kari deRubertis                      lenl:           lueldai, lepiember Ji, 1018 9:11 AM
     Cc:                              Garen Nadir; Anlhony Nichols                                       To:             TriHuinn
15   Subject:                         list of people to interview and Meeting confirmation for next week lu�jed:         H�1nh: wilnmes
     Attachments:                     list of people with case knowledge 09.06. 18.docx
16
     Importance:                       High .
17                                                                                                       Hi Tri-ra liKe to maKe sure we iocntifr more witnesses tlmn jmt tl1c ones yo1ivc
18   Hi David,                                                                                          idcnti11co. Tl1is is a iituation wl1cre tnc more tl1c octter. I'm addini a lot m�sc11; out want 10
     Attached is the list of people you can talk to regarding my me.
                                                                                                        maKc sureyou lm11c iocntifieo all ofyour team mcmocrs wl10 may Know aooul ,our
19                                                                                                      management of tne leant Arc ll1ere otl1er team memocrs you uia not list: If so, �lmc seno me
     let me know if you have further questions.
20                                                                                                      1l1eir names/info,
     Also are wo meeting next week at your office to go over the dowments in preparation for General Order 71 data
21   exchange with Walmart?

22
23                  394.            On Sept 1 9, 2018, Kari deRubertis served the GO 71 Plaintiffs disclosure
24   memo to Eugene Scalia, Theodore Boutros, Rachel Brass, and Ryan Stewart. In the memo,
25
     deRubertis leaked the names of all the potential witness that Huynh had provided to the SEC
26
     that may have information regarding Walmart's illegal conducts. Even though, Huynh doesn't
27

28
                                                                      237
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 1   cmTently possess direct evidence to prove that the RICO Defendants used the name of the wit­
 2   nesses to obstruct the SEC investigation. Huynh believes this information is in the RICO De­
 3
     fendants' possession and could be obtained during discovery.
 4
 5          395.    Additionally, as discussed throughout this complaint the RICO Defendants en­
 6   gaged in a systematic pattern of evidence whitewashing, fabrication, destruction, mutilation,
 7
     concealment, and suppression as well as com1ptly influencing witnesses to file false declara­
 8
     tions to obstruct justice to effectuate Goal A and B of the illegal coverup scheme. Thus, it
 9
     would not be a surprise to Huynh if the RICO Defendants used the names of the witnesses
10
11   that David and Kari deRubertis leaked to the other Co-RICO Defendants to coach and cor­

12   ruptly influence these witnesses to present false testimonies and/or half-truth answers to the

13   SEC to obstruct the SEC investigation in order to obtain the 4/2/19 "Get Out of Jail Free"
14   Card from the SEC. See Defs Ex. 129 - DC Dkt. 119-21.
15
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                                              238
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1                             The Origin of the "Nuts & Sluts" Strategy
2
            The "Nuts & Sluts" Strategy Is Commonly Used by the Defendants I
3           Sexual Harassment and Gender Discrimination Claims.
4
            365.   "Nuts and Sluts" refers to the defense tactic of portraying women who bring
5
     harassment and employment discrimination claims as "too unstable to be believed or too pro­
 6
     miscuous to be harassed". These tactics were later adapted by corrupted Corporations to go
7
 8   after Whistleblowers to portray them as too "Nutty" and too "Slimy" to be Whistleblower.

 9      https://www.merriam-webster.com/dictionary/nutjob
        Informal: a mentally unbalanced person: a crazy person
10
        Weird, erratic, and alcoholic, [he] was the kind of nutjob it was easy, if not irresistible,
11
        to demonize. - Jennifer Reese
12      https://www.dictionary.com/e/slang/slut-shaming/
13      Slut-shaming is the practice of disparaging women, and occasionally men, for acting in a
14      manner that violates "norms" regarding sexually appropriate behavior. These denigra­
        tions, which are often double standards, range from criticizing women for wearing sexy
15      clothing or having multiple sexual partners to blaming sexual assault and rape survivors
16      for their attacks.
        https://definitions.uslegal.com/v/victim-blaming/
17
        Victim blaming is a devaluing act where the victim of a crime, an accident, or any type
18
        of abusive maltreatment is held as wholly or partially responsible for the wrongful con­
19      duct committed against them. Victim blaming can appear in the form of negative social
        reactions from legal, medical, and mental health professionals, as well as from the media
20
        and immediate family members and other acquaintances. Traditionally, victim-blaming
21      has emerged in racist and sexist forms. The reason for victim blaming can be attributed
        to THE misconceptions about victims, perpetrators, and the nature of violent acts.
22
23
            366.    Below are excerpts from the Harvard Journal of Law & Gender [Vol. 33] Ex­
24
     cerpts from the Article "Lily Bmi to the Boom-Boom Room (page 227-232)" which discussed
25
     the Defendants' "Nut and Slut" defense.
26
27      "In employment discrimination litigation, "nuts and sluts" refers to the defense tactic of
        po1iraying women who bring harassment and employment discrimination claims as too
28
                                              239
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 1      un-stable to be believed or too promiscuous to be harassed. See generally SUSAN ES­
        TRICH, SEX AND POWER 179, 185 (2000) (referencing the "nuts and sluts defense");
 2
        Hillary Jo Baker, No Good Deed Goes Unpunished: Protecting Gender Discrimination
 3      Named Plaintiffs from Employer Attacks, 20 HASTINGS WOMEN'S L.J. 83, 95-100
        (2009) (describing the "nuts and sluts" litigation strategy); Kent D. Streseman, Head­
 4
        shrinkers, Manmunchers, Moneygrubbers, Nuts & Sluts: Reexamining Compelled Men­
 5      tal Examination in Sexual Harassment Actions Under the Civil Rights Act of 199 1, 80
        CORNELL L. REv. 1268 (1994-1995) (describing compelled mental examinations of
 6
        women labeled "nuts and sluts").
 7
        Antilla reports that when two female employees of a major Wall Street brokerage firm
 8      complained that a male coworker had tried to force himself on them physically, the em­
        ployees had to wait three years for a hearing. "A week before the hearing, the firm...
 9
        forced the two women to undergo examinations by a psychiatrist of the brokerage firm's
10      choosing." ANTILLA, supra note 309, at 150-51. One of the women was subjected to an
        interrogation that included "questions about her sex life, the opening of her gynecologi­
11      cal records, and queries about her menstrual periods, her marital counseling, and her di­
12      vorce. The psychiatrist even had copies of her therapy records." Id. at 151.

13      The other employee also reported that she was grilled with questions relating to her sex­
        ual experiences and her childhood. Id. According to Antilla, this woman finally broke
14      down when the psychiatrist asked her to recite in reverse order the names of the U.S.
15      Presidents. Id. For a discussion of the psychology behind "nuts or sluts" tactics, see for
        example, Lynn Hecht Schafran, Sexual Harassment Cases in the Courts, or Therapy
16      Goes to War: Supporting a Sexual Harassment Victim During Litigation, in SEXUAL
17      HARASSMENT IN THE WORI<PLACE AND ACADEMIA: PSYCHIATRIC ISSUES
        133, 139 (Clinical Practice Series No. 38, Diane K. Shrier ed., 1996).
18
            The Cautionary Tale of Jenson v. Eveleth Taconite
19
20
            367.   Jenson v. Eveleth Taconite Co. was the first sexual harassment class action to
21
     be certified.73 This extraordinary and heartbreaking case inspired a nonfiction book and
22

23   served as the inspiration for North Country, an Academy Award nominated film. The eleven-

24

25   73 139 F.R.D. 657, 667 (D. Minn. 1991), rev'd, 130 F.3d 1287 (8th CiT. 1998) (remanding for
26   de novo trial on damages based on error of Special Master McNulty). See also CLARA
     BINGHAM & LAURA LEEDY GANSLER, CLASS ACTION: THE STORY OF LOIS
27
     JENSON AND THE LANDMARI( CASE THAT CHANGED SEXUAL HARASSMENT
28   LAW 243 (2002).
                                                     240
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1    year long litigation provides a cautionary tale about abusive discovery and unchecked judicial
2    discretion. Though hostile work environment cases are rare, 74 they provide vivid examples of
3
     the abuses that may arise in a gender discrimination class action. These cases also illustrate
4
     the challenges of pleading emotional distress damages, thus "opening the door" to intrusive
5
 6   questioning about mental state and past trauma.

 7
            368.    Lois Jenson initiated a hostile work environment case by filing a complaint
8
     with the Minnesota Department of Human Rights after suffering extreme sexual harassment
 9

10   that included stalking, slurs, vulgar graffiti directed towards her, and sexual attacks. Other

11   named plaintiffs in that case endured similar abuse. For example, on multiple occasions, Judy

12   Jarvela opened her locker to find semen on her clothing. Shirley Burton suffered such extreme
13   harassment that she carried a can of mace, a pocketknife, and a length of rope to tie the door
14
     to her work area shut. Kathy O'Brien carried a sharpened screwdriver in her boot after a
15
     coworker harassed and physically assaulted her during her first month of work. 75 Even when
16
17
18
     74 See Melissa Hart, Book Review, Litigation Narratives: Why Jenson v. Eveleth Didn't
19
     Change Sexual Harassment Law, But Still Has a Story Worth Telling, 18 BERKELEY
20   WOMEN'S L.J. 282, 288 (2003) (finding that between 1995 and 2002 there were only ten re­
     ported sexual harassment class actions that were certified and ten with certification denied).
21   75
        BINGHAM & GANSLER, supra note 97, at 54-55. In the lunchroom, a coworker
22   named Frank Lipka yelled out in front of many others, "Hey Kathy, do you fuck on the job?"
     Id. Subsequently, Lipka tormented O'Brien by trapping a bat in the phone call box and then
23
     announcing over the PA system that O'Brien had a phone call. Id. O'Brien was afraid of bats
24   and very startled by the incident. Id. She was sitting at a bench to calm down when Lipka
     came up and said, "I'll show you what will really scare you." Id. Then he twisted O'Brien's
25
     nose between the knuckles of his middle and index fingers until her nose bled. Id. He then
26   grabbed her feet and flipped her backwards off the table, causing her to knock her head
     against the wall. Id. Lipka was never formally disciplined but was moved to a different crew.
27
     Id. O'Brien started carrying a sharpened screwdriver in her boot and continued to do so for the
28   next nine years. Id.
                                                       241
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 1   the women complained to management or to the union, little, if anything, was done to remedy
2    the situation. Instead, they faced retaliation for making complaints.
3
            369.    In litigation as a proposed class, counsel for the mines engaged in a "nuts and
4
     sluts" strategy, attempting to paint the plaintiffs as unstable and sexually promiscuous. After
5
     the court certified the class and found the employers liable, it appointed Patrick McNulty as
 6
7    Special Master to manage discovery on damages. Despite the plaintiffs' objections, the scope

 8   of discovery against the named plaintiffs was virtually limitless. III McNulty allowed a total

 9   of 7,469 pages of testimony during a seven-week trial and issued a 416-page Report and Rec­
10
     ommendation.76 Defendants explored Jensen's past extensively and intrusively in discovery,
11
     including scrutinizing an incident in her past when she was raped, which resulted in her preg­
12
     nancy with her first child. Though Jensen's attorneys objected to the scope of discovery, their
13
14   objections were overruled. The only concession plaintiffs received from McNulty was that

15   this information was at least to remain under seal. Jenson was deeply afraid that her son
16   would learn the painful story of his conception. But Jenson was betrayed in a strikingly un­
17
     professional and unethical move by the judge, who revealed as part of his voluminous opinion
18
     that "[i]n 1967, Jenson became pregnant by reason of what she now characterizes as rape. . ..
19
     [This] characterization of the event is not particularly important, in and of itself, ... [but] has
20
21   importance as a reflection on credibility. Another plaintiff, Jan Friend, dropped out of the case

22   because she found it too painful to answer prying questions about her family, especially ques­

23   tions about her son, who had been convicted of murder. McNulty awarded staggeringly low
24
     damages, a total of $182,500 for the entire class. The plaintiffs appealed McNulty's findings,
25
     and the Eighth Circuit reversed and remanded for a new trial. The federal district court judge
26
27   76Id. at 1290. See Jenson v. Eveleth Taconite Co. (Jenson I), No. 5 -88-163, 1996
28   U.S.
     .    Dist. LEXIS 17978 (D. Mi1m. Mar. 28, 1996).
                                                    242
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 1   to whom the case was assigned on remand was much more responsive to the plaintiffs' re­
2    quests - one of his first preliminary rulings was that anything that had happened in the wom­
3
     en's lives more than one year prior to the class period was not relevant, not discoverable, and
4
     not admissible.
5
 6
            Old Wine in New Bottle - The "Nuts & Sluts" Defense Used by Cor­
            rupt Corporations to Shoot the Whistleblowers. 77
7
            "The Truth Will Set You Free." John 8:32
 8
            370.    Nothing is more powerful than the truth. But few paths are more treacherous
 9
     than the one that challenges an abuse of power. Time and time again, GAP has seen whistle­
10
11   blowers pay an enormous professional and personal price for their actions. One person

12   against a corporation is not a fair fight. In terms of raw power, the corporation holds all the
13   cards. It enjoys a presumption of legitimacy and legal authority vis-a-vis its employees. It
14
     boasts extraordinary resources and connections with politicians, the media, industry,
15
     and the larger community. It defines the workplace and its rules and regulations within the
16
     law. It bears primary responsibility for holding itself accountable. When company employees
17
18   go public with tales of malfeasance, the focus often turns quickly to whether there was a re­

19   prisal or justified corporate response. You will surely suffer some level of harassment or retri­

20   bution for blowing the whistle because bureaucracies instinctively tend to eliminate anything
21   perceived as a threat. You may not believe that your employer is your adversary, but the rec­
22
     ord shows that employers often do not want to be told what is wrong with their operations.
23
24
     77 Extracted from "The Corporate Whistleblower's Survival Guide - A Handbook for Com­
25
     mit-ting the Truth" by Tom Devine and Tarek F. Massarani.
26
     "Whistleblowers - Broken Lives and Organization Power" - By C. Fred Alford.
27   "Mental Health as a Weapon: Whistleblower Retaliation and Nonnative Violence" - Kate
28   Kenny, Marianna Fotaki, and Stacey Scriver.
                                                 243
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 1   Frequently, the antidote to bad news is secrecy enforced by repression to cover up miscon­
2    duct, avoid costly delays and litigation, and protect the short-tenn bottom line.
3
4           371.    What would a civics lesson from Michel Foucault look like? The power that

 5   disciplines the whistleblower, he might say, has less to do with the organization's ability to
 6   fire the whistleblower than one might suppose. That is merely power's most obvious expres­
 7
     sion, its last and most visible emption. Power works in more intimate and subtle ways in the
 8
     modem world, isolating the insubordinate one from his or her fellows by diagnosing him
 9
     or her as abnormal or disturbed. Foucault calls this disciplinary power, which casts the
10
11   gaze of the entire organization on the whistle blower almost as though the organization were

12   a physician, treating the whistleblower not as someone who has challenged the power of the

13   organization but as one who is sick, ill, morally suspect, criminal, or disturbed 78, and so
14
     must be isolated from those who are normal. Disciplinaiy power makes of the whistle­
15
     blower a patient, though we have to understand that tenn in its broadest sense: one whose
16
     flawed perceptions of reality are the result of a moral or emotional illness and who must be
17
18   reformed by power, lest his symptoms prove catching. Under discipline there can be no politi­

19   cal or ethical discourse. Any talking that takes place with the patient is strictly instrumental,
20
21
     7 8 The most powerful weapon in a corporation's arsenal is the exploitation of a whistleblow­
22
     ers' mental illness/psychological disorders to delegitimize their complaints. This is an ef­
23   fective strategy because it draws on the social stigma associated with people who suffered
24   from mental illness. Even the smallest hint of mental health issues (Corrigan and Watson
     2002) would destroy the whistleblowers' reputation, credibility, and livelihood. It is damaging
25   at many levels because it can lead to a self-reinforcing cycle; those who experience retaliation
26   can frequently suffer from a range of health issues, including mental health ones, and often
     seek counseling at some point in the process. Thus, reactions to whistleblowing by and within
27   organizations, including retaliation, can produce negative mental health effects, which are
28   then used by the organization to discredit the whistle-blower. It is akin to double jeopardy.
                                                       244
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1    aimed a t controlling the patient through categorization and labeling. Ideally the patient
2    accepts the label. "The psychiatrist they sent me to said I was suffering from a histrionic
3
     personality disorder, " said one whistleblower. "I think that meant I needed to show off. No
4
     one else but a show-off would have gone to talk with that environmental group about what we
5
     were doing. Well, you know what. I believed them. I really did. For years I believed them . . .
6
 7   sometimes I still do. A little bit, sometimes, when I'm feeling bad."

8           372.    "Nuts and sluts" is what many whistleblowers call this familiar strategy, by

9    which their claims are ignored by finding them to be emotionally disturbed or morally
10   suspect.79 . Anita Hill is the most famous nut and slut in recent years. David Brock ( 1 993)
11
     called her that in The Real Anita Hill: The Untold Story, a hatchet job that he has since re­
12
     canted, at least in part. Daniel Ellsberg might have been neutralized in this way had Nixon's
13
     plumbers not bungled their burglary of Ellsberg's psychiatrist's office.
14
15          3 73.   The suffering the whistleblower experiences has the quality of what Michel

16   Foucault (1979) calls discipline. 80 No matter how irrelevant, this often focuses attention on
17
18
19   79 In high-stakes comi cases it is common for the organization's lawyers to hire private detec­
20   tives to research every aspect of a whistleblower's life. Today few records are unavailable.
     Until a few years ago, the easiest way to get rid of a federal employee was to send him or her
21   to a government psychologist who would find him or her psychologically unfit for duty. The
22   whistleblower psychologist who lives down the street from me had this as his assignment un­
     til he blew the whistle on the practice and lost his job. Some whistleblowers report that Em­
23   ployee Assistance Programs, which provide a therapist paid for by the organization, have
24   taken over this disciplinary function.
     80
         An accountant for a large corporation, he'd gone to his boss about his suspicion that they
25   were overcharging the government on a contract they were working on first thing, they sent
26   me to the doctor, then they put me on medical leave, and when I tried to go back to work they
     told me I was too sick. Before I knew it they gave me early retirement, made me take it. Don't
27   get me wrong, I got great benefits, better than if I'd kept my mouth shut, but it's not what I
     wanted. I wanted to do the right thing, save the government some money. Now I'm the one
28   �ith the money and no job
                                                        245
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 1   the whistleblower's personality and work record instead of the issues that prompted the whis­
 2   tleblowing. Rather than face the problems brought to light, managers often blame the "dis­
 3
     gruntled employee," who is portrayed as vengeful, imbalanced, or self-serving.
 4
                                Strategies and Tactics to Shoot the Messenger.
 5
 6          374.    Corporate hierarchies employ intimidation and fear to convince their workers
7
     that the power of the organization is stronger than the power of the individual-even individ­
 8
     uals who have truth on their side. Often, making an example out of one troublemaker is suffi­
 9
     cient to keep the majority silent. The following section illustrates tactics your employer may
10
11   use to "shoot the messenger" of bad news. None of these techniques of retaliation is unique or

12   new. Keep in mind that the following list is not exhaustive; the forms of harassment are lim-

13
           Richard Parks a n d Wrongdoing at Th ree M i l e Island
14         When Th ree M i l e Island engineer Richard Parks c h a l lenged s loppy clea n u p
           p ra ctices that c o u l d have triggered a n uclear meltdown, his e mployer's fi rst
15         reaction was to brush aside the safety issues a n d pla ce Pa rks u n d e r inves­
           tigation for an a l l eged fi na ncial confl ict of i nterest. The com pa ny's sea rch
16         for i ncri m inating evidence took on some extreme measures. Pa rks retu rned
           home one day to fi n d that his house had been broken i nto a n d ra nsacked.
17         Parks was not vin d icated u nti l he went p u b l i c and sought help from the
           Department of La bor (DOL). Congress, and the N uclear Reg u latory Com mis­
18         sion (N RC). A l l three a cknowledged the su bsta nce of his claims, a n d after a
           six-month i nvestigation the NRC ordered h i s e m p l oyer to redo the entire
19         clea n u p with revised p rocedu res and to co n d u ct exte nsive safety tests. 3
20
     ited only by the imagination and, as in Orwell's 1984, likely will be customized to strike at a
21
     whistleblower's unique vulnerabilities. Further, they vary in intensity. There is a direct rela­
22
23   tionship between the significance of a whistleblower's threat and the severity of the re­

24   taliation.

25
                              Spotlight the Whistleblower, Not the Wrongdoing
26
            375.    This is also known as the smokescreen tactic, and it operates almost like a
27

28   knee-jerk instinct. The first imperative of retaliation is to make the whistleblower the issue:
                                                        246
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 1   obfuscate the dissent by attacking the source' s motives, credibility, professional compe­
 2   tence, or virtually anything else that will work to cloud the issue. The point is to direct the
 3
     spotlight at the whistleblower instead of the alleged misconduct. A typical initial management
 4
     response to a whistleblower's disclosures is to launch an internal investigation and retaliate
 5
     against the employee on trumped-up charges. Retaliatory travel, reimbursement, and time
 6
 7   audits are so common they could be classified as bureaucratic knee-jerk reactions against

 8   whistleblowers. Allegations of everything from sexual harassment to stealing paper clips

 9   are possible--even charges that have already been investigated and discredited. Moreover,
10
     smears of alleged misconduct similar to what the whistleblower is exposing are not unusual.
11
            376.    Chutzpah in selecting the smear charges is a common tactic to demonstrate the
12
     organization's invincibility. Soft-spoken, humble individuals have been branded loudmouth
13
     egomaniacs. There is no limit to the petty and outrageous depths to which an unscrupulous
14
15   employer may be willing to sink. An example is charging an employee with gambling at work

16   for buying a charitable raffle ticket from a colleague. Often a private security firm will be
17   hired to do the dirty work of investigating a whistleblower. Sometimes investigations and sur­
18
     veillance are conducted by "babysitters," spies assigned by management to "assist" the whis­
19
     tleblower. Increasingly, employers also seek criminal prosecution for theft or misappropria­
20
     tion of company property-materials that are frequently the very evidence of illegality being
21
22   used by the whistleblower.

23          377.    Spotlighting whistleblowers, as opposed to their claims, often involves public

24   humiliation-Psychiatric fitness-for-duty exams are one of the ugliest forms of retaliation
25
     and have long been used as a way to spotlight the whistleblower. At the same time, companies
26
27
28
                                              247
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 1   can hide behind privacy laws to hint that there is a problem with the employee that the corpo­
 2   ration is not at liberty to disclose.
 3
 4           "Crazy Like a Fox"
             When Dr. Ja mes M u rtagh, a p hys i c i a n at Atl a n ta's G rady Hosp ital, blew
 5           the w h istle on fra ud i nvolving the h o spita l's federa l m e d i ca l c a re gra nts,
             an a l e rt was issued that he was armed a n d d a ngerous. He was a l l eged to
 6           be menta l ly u nsta ble a nd o rdered to keep off the hospital gro u n d s, with
             i nstru ctions to secu rity that he cou l d be d a ngerous. Eventual ly, Dr. M u rtag h
 7
             successfu l ly settled a Federa l Fa lse C l a i m s Act lawsu it a g a i n st the hospital
 8           for $ 1 .6 m i l l i o n and org a n ized other Grady w h i stl e blowers i nto a re l e nt­
             less coa l ition that led to wides pread wh ite-co l l a r p rosecutions, i n cl u d i ng
 9           the fel o ny conviction of a notori o u s Georgia state senator for h i s i nvolve­
             ment in an exten sive co rruption sca n d a l . Dr. M u rtag h resu m ed h i s career
10           a nd h a s become a leader in the wh istleblower com m u n ity, o rg a n izing two
             nation a l confe rences.
11

12       •      The RICO Defendants used the same tactics by taking Huynh's psychiatrist records
13              out of context to portray Huynh as mentally unstable and prone to violence to sup­
                po1i their affinnative defense that they fired Huynh 14 days before the RIF due to
14              fear of physical violence.
15
                               Build a Damaging Record against the Whistleblower
16
              378.     This tactic goes hand in glove with spotlighting the whistleblower. Not infre­
17
     quently, companies spend years manufacturing an official personnel record to brand a whistle­
18
19   blower as a chronic "problem employee" who has refused to improve. The idea is to convey

20   that the employee does nothing right. In truth, many whistleblowers have a history of sterling
21   performance evaluations-until this tactic is used against them. An employer may begin by
22
     compiling memoranda about any incident, real or contrived, that projects inadequate or prob­
23
     lematic perfonnance on the job. This is often followed by a series of confrontational "counsel­
24
     ing" sessions, in which the employee is baited to lash back. Reprimands and comparatively
25

26   mild disciplinary actions are taken first, in paii because the employee has few (if any) due

27   process rights in defense and in part because company policy may require progressive disci­

28   pline. By the time something more serious such as termination is proposed, the employer is
                                                    248
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 1   anned with a long and contrived history of "unsatisfactory performance."
2       Several years ago, an individual herein pseudonymously refened to as John Doe be­
 3      gan working at a major US pharmaceuticals production facility. This facility was
        charged with manufacturing a new infant vaccine for meningitis and pneumonia.
 4      Doe's role was to ensure that the facility's employees were sufficiently trained to the
 5      level required by Food and Drug Administration (FDA) standards. He soon became
        aware of gaps and shortcuts that were being taken both with the employees' training
 6      and with the manufacturing process itself. These shortcuts in the training program
 7      were particularly ala1ming because producing biological vaccines required more­
        complex processes than regular pharmaceutical production.
 8
        Doe's concerns led him to send a written memorandum to his supervisor, explaining
 9      that the facility was not satisfying FDA regulations and the company's own code of
        conduct and that he would not be complicit in misrepresenting that fact. Doe filed
10
        complaints with both the company's Office of Compliance and its Office of Ethics
11      and revealed the depth and the breadth of manufacturing, quality assurance, and prod­
        uct release problems to one of the company's attorneys. He was told that the resulting
12
        investigation found no problems with the facility, though internal memoranda un­
13      earthed later in discovery revealed a much different picture.
14      Two months later Doe was placed on a personal improvement plan (PIP) for 90 days.
        The PIP stated that he had to stop making comments to anyone regarding the com­
15
        pany's noncompliance with training requirements. Doe was promptly suspended and
16      fired two months later, after he had a hostile encounter with the human resources di­
        rector at a holiday party. It later surfaced that this manager was brought in to "deal
17
        with" Doe after his predecessor was terminated for refusing to fire Doe and that the
18      manager himself was later dismissed for cause, including harassment, expense rep01i
        "discrepancies," and unauthorized disclosure of proprietary info1mation to a competi­
19      tor. The Wayward Whistleblower
20
21
                                       Paralyze Their Careers
22
23          379.    An effective retaliation technique-and one that also sends a signal to other

24   would-be dissenters-is to deep-freeze the careers of whistleblowers who manage to thwart
25
     te1mination and hold on to their jobs. These employees become living legends of retaliation
26
     when employers deny all requests for promotion or transfer. A related tactic is to deny whis­
27
     tleblowers the training needed for professional development. The message is clear: "She is
28
                                             249
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 1   going nowhere." Bad references for future employment openings are common, and any whis­
 2   tleblower settling a legal case should be careful to take this into account. Sometimes this tac­
 3
     tic can be subtle, using buzzwords to signal that a fonner employee should not be hired. Com­
 4
     mon examples are statements that an employee "is not always a team player" or "needs to
 5
     work on maintaining cooperative relationships."
 6
 7                                           Blacklist Them
 8          380.     Sometimes it is not enough merely to fire or make whistleblowers rot in their
 9
     jobs: the goal is to make sure they "will never work again" in their chosen fi eld or indus­
10
     try. After several oil-industry whistleblowers exposed illegal pipeline practices, for example,
11
     the company placed them on a list of workers "not to touch" in future hiring. It does not mat­
12
13   ter whether you are completely vindicated. As Professor Alford summarized the experience of

14   a Medicare fraud whistleblower, "Her boss went to jail, but she couldn't get a job in the state

15   where she worked. 'They were all afraid I might commit the truth."
16
            38 1 .   Employers in scientific professions have exercised some of the ugliest forms of
17
     blacklisting. Dr. James Murtagh has endured a steady pattern of receiving new jobs in sup­
18
     pmiive environments just to get tenninated without explanation within weeks. He subse­
19
20
     quently found that his former employer had posted the equivalent of a smear dossier

21   about him on its website.

22
        •     The RICO Defendants exploited deRubertis five frivolous ADHD FEHA
23            claims to obtain Huynh's psychiatrist and personnel records dating back to
              1987 then use them to ask leading questions to capture the answers in a 333
24
              page deposition transcript. The RICO Defendants than extracted 1 30 pages
25            from the transcript out of context to create the "Smear" Dossier on Huynh and
              filed it in the public docket. DC Dkt. 1 23.
26
27
28
                                              250
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 1          Life Is Not a Fairly Tale and Most Whistleblowers Do Not Live Happily
            Ever After. 81
2
            382.    The Movie Insider (starring Al Pacino and Russell Crowe), depicts a cigarette
3
4    company executive who became a whistleblower. "The little man who stood up against the

5    big corporation and won" is a type of folk hero. But that is just the problem. He is a type of
 6   folk hero, that is, a stereotype. Everyone wants to hear about the stereotype, but no one wants
7
     to know how vulnerable we are to power and how much it can take from us, including the
 8
     meaning of our lives. Unfortunately, this has not been the experience of most whistleblowers.
 9
     Most are in some way broken, unable to assimilate the experience, unable, that is, to come
10
11   to tem1s with what they have learned about the world. Almost all say they wouldn't do it again

12   - if they had a choice, that is. John Brown put it this way:

13      If l had to do it over again, I wouldn't blow the whistle for a million dollars. It ruined my
        life. My neighbor kept talking about all these stories he'd read about "the little man who
14
        stood up against the big corporation and won." Well, I stood up against the big corpora­
15      tion and I lost. I didn't just lose my job. I lost my house, and then I lost my family. I
        don't even see my kids anymore. My ex-father-in-law said if I'd been a real whistle­
16
        blower, I'd have been on 60 Minutes.
17      I spent $50,000 to have my day in court, only it was more like my minute in court. After
18      five years of waiting to get to court, the judge said I didn't have standing to sue. I was
        out on the street an hour after I walked in the door. I still owe my lawyer.
19
        My boss, the one who told me to lie to the FBI. He got a promotion. You know what I
20      do now? I deliver pizza. Me, a licensed professional engineer. The Engineers Associa­
        tion, they just wished me luck, said they admired someone who stood up for his beliefs.
21
        Take that to the bank. They wouldn't even help me find a new job. Nobody understands.
22      Lots of people say they admire my spunk, but nobody has any idea of the consequences.
        No one wants to know.
23
        So, I think I was crazy to blow the whistle. Only I don't think I ever had a choice. It was
24      speak up or stroke out So all I can real say is that I wouldn't do it again if I didn't have
25      to. But maybe I'd have to. I don't know.

26
     8 1 Excerpts from the book "Whistleblowers - Broken Lives and Organization Power" - By C.
27   Fred Alford. "Mental Health as a Weapon: Whistleblower Retaliation and Normative Vio­
28   lence" - Kate Kenny, Marianna Fotaki, and Stacey Scriver.
                                                    251
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1                                  ATHERTON AND THE NRC
2      Peter James Atherton is his name, one of the few actual names of whistleblowers used in
3      this book. I use it because he asked me to and because his case is well known. His is not a
       typical story, but it illustrates much that is. A nuclear engineer and inspector for the Nu­
4      clear Regulatory Commission, Atherton became convinced that the electrical cables that
5      would be needed to shut down the Maine Yankee nuclear plant in an emergency were not
       properly separated. If one failed because of fire, all would fail because they were routed
 6     through the same cable tray, as it is called. The plant should be shut down until this and
 7     other deficiencies were corrected.

8      Atherton's concerns were not based on fantasy. Just three years earlier, in 1975, some
       workers used a candle flame to check for air leaks in the containment building that housed
 9
       the reactor at the Brown's Ferry nuclear plant. The flame touched some insulation, igniting
10     a fire that burned more than two thousand cables and disabled electrical controls at the
       plant. It took more than three days to shut down the plant's two operating reactors, one of
11
       which came close to boiling off its cooling water. Had that happened, a meltdown would
12     have occurred.

13     In the keep 'em glowing climate of the 1970s, plants were rarely shut down for repairs.
       Atherton's supervisors were aware of his conclusions, and while he was preparing his
14     report, they began preparing a response. Their position was that Atherton was emo­
15     tionally ill, his report an exaggeration. The NRC would not type up his report, and
       Atherton began showing a handwritten copy to his colleagues. They refused to read it, and
16     so did his supervisors, or so they said.
17     On the day the NRC met with Maine Yankee officials, Atherton got in his car, drove to
       downtown Washington, D.C., and carried his report straight to NRC commissioner Victor
18
       Gilinsky. When Gilinsky would not shut down Maine Yankee immediately, Atherton went
19     to the top nuclear engineer in the country, President Jimmy Carter. After showing his
       NRC credentials to the Secret Service agent at the gate, he was admitted to the White
20     House grounds, handcuffed, and sent to St. Elizabeth's Hospital for three days of involun­
21     ta1y psychiatric confinement. He was released and fired.

22
       Molly Higgins may help explain this.
23
       A self-described military wife, Molly is married to Tom, a pilot who lost his career for
24
       protesting the failure of the military to live up to the law regarding the education of disa­
25     bled children of military personnel. After Tom wrote to his congressman about his son's
       poor education, the air force sent him for psychiatric observation. This is standard proce­
26
       dure, the quickest, easiest way to separate someone from the militaiy (until just recently it
27     was the quickest and easiest way to separate any federal worker). In short order, Tom was
       decertified from flying and transferred to a remote base where he was given a desk job
28
                                            252
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 1      keeping track of spare parts. A series of bad efficiency reports followed. After being sent
        for yet another psychiatric examination, Tom was confined for several days in a military
 2
        hospital. He was separated from the military when he was less than a year from retire­
 3      ment. The whole process took about three years from the day Tom wrote his congressman.
 4      One might argue that Tom Higgins was unstable, and certainly somewhere along the way
        he may have become so. But no one found him unstable until he wrote his congressman,
 5
        after trying for several years to get his child placed in special education. (His letter is tem­
 6      perate.) It was then that Tom entered the machine whose product is the elimination of the
        whistleblower in ways entirely compatible with the law.
 7
        Molly Higgins watched all this, and in some ways she understands what has happened to
 8      her husband better than he does. She has become her broken husband's less broken voice.
        Tom is still somewhere in the machine. Molly says:
 9
        •   We were a good milita1y family. We thought it was a misunderstanding. When I was a
10
            girl, I grew up near an Air Force base, and I loved to see the big birds come in. When I
11          met my husband and he told me he owned one, it was love at first sight. I was the most
            patriotic girl who ever was, born in a small town, white. I didn't know what happens to
12
            you if you end up on the other side.
13      •   They kill you; they isolate you in the desert. We weren't traitors. We were trying to get
14          the best education for our kid. I lost it there for a while. I lost something to be proud of.
            I lost faith in God. We were too far North. [Her husband's last posting had been to a
15
            base near the arctic circle.] You know, we wanted it exposed, what the militaiy was do­
16          ing to the children. But we were the ones who were exposed, and now it will never be
            the same. Now I don't believe in anything.
17
18                             Pain and Suffering of the Whistle blowers.

19
            383.     The process of character assassination resembles an annihilation of a hu-
20
     man life, as the damage sustained can last a lifetime. Many lost their families. It doesn't hap­
21
     pen all at once, but whistleblowers' cases drag on for years, putting a tremendous strain on
22
23   families.

24
        Most whistleblowers will suffer from depression and alcoholism (Clark 1997, 1065 ;
25      Miethe 1 999, 77-78). Miethe (1999, 78) found that half went bankrupt. Most whistleblow­
26      ers will be unable to retire. A typical fate is for a nuclear engineer to end up selling com­
        puters at Radio Shack.
27
        Somewhere between half and two-thirds of the whistleblowers lose their jobs, according
28      to several studies (Miethe 1 999, 77-78; Rothschild and Miethe 1996, 15-16; Glazer and
                                                     253
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 1      Glazer 1989, 206-7). At least one study, however, has found significantly less retaliation
        (Miceli and Near 1992, 226-27). As might be expected, most of the difference depends on
 2
        whom and how one counts (Miethe 1999, 73-78).
 3      Not only do most whistleblowers get fired, but they rarely get their jobs back. Most never
4       work in the field again. In some tight-knit fields there is an informal blacklist. One whis­
        tleblower was fired from her new job in the phannaceutical industry when she sued a pre­
5       vious employer for wrongful discharge. "[My new boss] said it was unconscionable that
 6      anyone working for Personal Products would sue a sister company." (Glazer and Glazer
        1989, 95) When all organizations are sisters, the whistleblower has nowhere else to go.
 7      That, presumably, is the point.
 8      •   Of the several dozen whistleblowers I have talked with, most lost their houses. Many
 9          lost their families. It doesn't happen all at once, but whistleblowers' cases drag on for
            years, putting a tremendous strain on families. Most whistleblowers will suffer from
10          depression and alcoholism (Clark 1997, 1065; Miethe 1999, 77-78). Miethe ( 1999, 78)
11          found that half went banlaupt. Most whistleblowers will be unable to retire. A typical
            fate is for a nuclear engineer to end up selling computers at Radio Shack.
12
        • One whistleblower put it this way: "I decided I needed to go back to work. I inter­
13        viewed with the state of Texas, the city of Austin, and many industries . . . . . . But nobody
          wants to hire former whistleblowers. They are all afraid of what we would do if we
14
          were asked to tell the trnth about some problem" (Glazer and Glazer 1989, 228).
15
16          3 84.    In perhaps the most comprehensive survey of whistleblowers in the academic
17   literature, authors Joyce Rothschild and Terance D. Miethe wrote as a consequence of their
18
     whistleblowing experience, the majority of the whistle-blowers in our sample suffered in­
19
     tensely. The most common fallout from their whistleblowing involved:
20
              •      severe depression or anxiety (84 percent)
21
              •      feelings of isolation or powerlessness (84 percent)
22
              •      distrust of others (78 percent)
23            •      declining physical health (69 percent)
24            •      severe financial decline (66 percent)
25            •      problems with family relations (53 percent).
26
            3 85 .   A massive study by Dr. David Welch, a pioneer SOX whistleblower whose
27
     seven-year ordeal illustrated the unreliability of those rights, summarizes what you can expect
28
                                                       254
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 1   based on 27,000 whistleblowers' fates from 1994 to 2008 who filed retaliation complaints
 2   with the Occupational Safety and Health Administration (OSHA):
 3
         •    78 percent struggled financially for the first five years after blowing the whistle;
 4       •    83 percent found it "extremely difficult to impossible" to find a new job in their field
 5       •    66 percent found it "extremely difficult to impossible" to find a new job after chang­
              ing professions
 6
 7                                         Justice for Whom?
 8
             386.   The intent of the Whistleblower Legislations such as STAA, ERA, CAA,
 9
     CERCLA, FWPCA, SDWA, SWDA, TSCA, AIR21, SOX, PSIA, FRSA, NTSSA, CPSIA,
10
     ACA, CFPA, SPA, and FSMA is often benign but the way in which the law serves those with
11
12   the time and money to use it is the point. However, the critique of liberal jurisprudence pro­

13   vides another perspective. It is the purpose of the law to enshrine existing power differences

14   in society. It is not accidental but essential to the law that its procedures are on the side of
15
     the organization. That it takes five to ten years and a hundred thousand dollars to get one's
16
     day in federal comt is riot a neutral fact applicable to both patties. Like the law that forbids
17
     princes and paupers alike to sleep out under the bridge at night, legislation to protect whistle­
18
     blowers must end up serving the organization against the unemployed and bankrupt middle­
19
20   aged whistleblower, who worries if he will ever have enough money to retire. Time is on

21   the side of the organization. Five years is not a long time for an organization to be involved
22   in the courts; ten years is not unusual. But it is a long time for a whistleblower to be without a
23
     job. It is worth reflecting, however, on what the law looks like from the wrong end of the tel­
24
     escope, from the perspective of the whistleblower. From this perspective, the law is entirely
25
     capricious, government the province of men, not laws. "The law is a crap game, and the
26
27   odds are against you. It all depends on who hears your case, and what he had for break-

28
                                              255
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 1   fast." In part, the whistleblower is refening to the fact that cases are rarely clear-cut. Wit­
 2   nesses lie, and most judges hate to get involved in what they regard as personnel matters, an
 3
     inclination that almost always favors the organization. The result is that who the judge or
 4
     hearing examiner is makes all the difference in the world, a government of men not laws.
 5
             District Judge Chhabria Exploited the Prestige and Power of His Office as a
 6           Megaphone to Disseminate Walmart's Factual Misrepresentations to Lend Cred­
 7           ibility the RICO Defendants' Purported "Get Out of Jail Free" Card.

 8          387.    On May 20, 2019, the RICO Defendants deposed Huynh for over seven hours
 9
     with manipulated and/or asked leading questions to obtain the desired responses and when
10
     they didn't like the answers, they removed it all together from the deposition transcript in the
11
     Defs' Exhibit 127 (DC Dkt. 123) to take Huynh's answer out of context.
12
13
            388.    Below are the manipulated conversations presented by the RICO Defendants
14
     regarding the SEC investigations into Walmaii's misconducts to suppo1i Walmart's motion
15

16   for summary judgement. It worth pointing out that the RICO Defendants got a "Get Out of

17   Jail Free" Card from the SEC on April 2, 2019 - DC Dkt. 119-21. However, they never pro­

18   duced this letter to Huynh's until end of June 2019. In short, based on the discussion below
19
     the RICO Defendants purportedly claimed that the SEC's investigative team (comprising with
20
     securities fraud specialists and other qualified team members) investigated Walmart and clear
21
     Walmart of any wrong doing.
22
23
        Case 3: 18-cv-01631-VC Document 123-1 Filed 08/29/19 Page 97 of 117 (page 250 of
24      323-page deposition transcript)
25       Q. Did you meet in person with the SEC?
        A. Yes.
26
         Q. For how long?
27
        A. To the best of my recollection, probably couple hours, three hours.
28
                                              256
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 1      Q. Did they ask you questions like this?
 2      A. They asked me questions in here, yes.
        Q. They gave you an opportunity to present your concerns about the issues you'd raised in
 3
        your complaint?
 4      A. They read the complaint and they have specific question about a complaint.
 5      Q. Did they ask for other infom1ation outside of that meeting as well?

 6
        Case 3:18-cv-01631-VC Document 123-1 Filed 08/29/19 Page 97 of 117 (page 252
 7      of 323-page deposition transcript)
 8      (Edited out conversations before "filled" because it was disadvantage to Walmart
        i.e., page 25 1 )
 9
        Filled with specialists who investigate claims about things like securities fraud and so
10      forth at the federal government, right?

11      A. I don't know how they shucture it. If that's what you say and do. More experience and
        that appear to be so.
12      Q. You made very similar complaints about misconduct by Walmart in your SEC com­
13      plaint as you make in this lawsuit, correct?
        A. There are some overlap between the two, yes.
14
        Q. You suggested that Doug McMillan and others did not thoroughly investigate your
15      complaints because of a self-interested cover-up, correct?

16      A. Correct.
        Q. That's the kind of allegation you would expect the Securities and Exchange Commis­
17      sion to take very seriously, correct?
18      A. I think so. Yes.
19      Q. And if they did an investigation and decided to close it without punishing
        Walmart in any way, might that suggest to you that your complaints lack merit?
20
        A. Depend on what time frame are you talking
21      (The RICO Defendants left out the specificity regarding the misleading statements
        McMillon made to investors regarding the total number of Marketplace SKUs i.e.,
22
        cut out page 253-256 of the deposition transcript as they did not want the public to
23      known).

24
            389.    It was important to note that Huynh's SEC TCR process and Huynh's Federal
25
     Comi's complaint against Walmart had a symbiotic and synergistic relationship with each
26

27   other. Walmart exploited the judicial process to file factual misrepresentations in the 3/15/18

28   complaint to whitewash McMillion's misleading statements, portrayed Huynh as mentally
                                                  257
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1    etc., to shotgun plead five frivolous FEHA ADHD claims to improperly obtain Huynh's medi­
2    cal and psychiatrist records and personnel records from Huynh's previous employers to "Nuts
3
     & Sluts" Huynh. The Rescue Squad and the Walmart Participants directed and caused David
4
     deRubertis and others to use the discovery process to leak the confidential and non-public in­
 5
     fo1mation in Huynh's SEC submissions (included name of confidential witnesses) to the
 6
 7   RICO Defendants so they could coach these witnesses to submit factual misrepresentations

 8   (like they coached some of RICO Defendants to submit false declarations and committed per­

 9   jury in the official federal judicial proceeding) and lied to the SEC to obstrnct justice and ob­
10
     tain their "Get Out of Jail Free" Card.
11
12          390.    In short, imagine what would have happened if instead of granting Walmart

13   summary judgement on Jan 14, 2020 (DC Dkt. 167 and 168), District Judge Vince Chhabria
14   ruled in Huynh's favor; It would shock Walmart's investors, analysts, the SEC, the media and
15
     politicians that Walmart got away scotch free for defrauding shareholders to the tune of $140
16
     Bil. Thus, the RICO Defendants would never let this happened because if it had the
17
     Walmart's Shareholder Fraud Coverup Enterprise's Scheme would collapse in a spectacular
18

19   fashion and put Walmart, their executives, and board of directors in both in civil and criminal

20   jeopardies.

21
            391.    To ensure that District Judge Vince Chhabria's ruling synergized with the
22
23   SEC April 2, 2019 Non-Enforcement Letter, the RICO Defendants com1ptly influenced Dis­

24   trict Judge Vince Chhabria so he not only granted Walmart summary judgment but do so in a

25   one siding way to assassinate Huynh's character, social and professional reputations, and
26   moral characters to kill and leave Huynh for dead (i.e., destroyed Huynh's credibility and
27
     good name, foreclosed any future employment prospects, and financially bankrupted Huynh
28
                                              258
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 1   and his family). District Judge Vince Chhabria's ruling was the final nail in the coffin that
2    buried Huynh's life six feet under so Huynh could no longer posed any threats to the RICO
3
     Defendants in the future.
4
5             392.   Furthermore, the RICO Defendants amplified and disseminated the factual and

6    legal misrepresentations in District Judge Chhabria's dismissal ruling (DC Dkt. 167) to the
7
     world using their Maestros of the Media and their expansive PR/Media networks. For exam­
 8
     ple, on Jan 14, 2020 a reporter from Court House News, MATTHEW RENDA, published an
 9
     aiiicle title "Judge Tosses Whistleblower Suit by Ex-Walmart Exec" which contains factual
10
11   misrepresentations and lies against Huynh. 82

12
             SAN FRANCISCO (CN), January 14, 2021 - A federal judge tossed a case involv­
13   ing a disgruntled Walmart employee who claimed he was fired for revealing a massive
     fraud by the retail company's e-commerce division. MATTHEW RENDA.
14
            U.S. District Court Judge Vince Chhabria handed down summary judgment in favor
15   of Walmart, saying Tri Huynh, a fo1mer e-commerce executive for the retail giant, failed to
     prove he was fired because he was a whistleblower.
16
             "There is little evidence in the record that Huynh raised concerns to Beal about
17   Walmart's allegedly unlawful activities," Chhabria wrote in the 6-page order. Beal is the
     surname of Huynh's supervisor. Chhabria said the record establishing such a meeting took
18
     place was rather thin "There is also no actual evidence that this meeting, assuming it took
19   place, played any causal role in Beal's decision to terminate Huynh's employment," Chha­
     bria wrote.
20
          •    As discussed above, David and Kari deRubertis, Garen Nadir, Doug Kasales,
21             Kathy Von lindem and other Doe(s) destroyed and mutilated Huynh's outlook cal­
               endar meetings with Beal on Oct 4 and Oct 18 at the direction of the GDC Squad
22             and sanctioned by Walmaii's insiders
23        •    The Rescue Squad and the Walmart Participants directed and ordered Melvenia Ha
               to fabricated the Oct 17, 2016 interview notes, the Oct 5 and Oct 18 HR investiga­
24             tion reports to purportedly prove that Huynh didn't engage in protected activities.
25        •    The Rescue Squad and the Walmart Participants directed Audrey Au Joulani to
26
     82
27      https://www.courthousenews.com/judge-tosses-whistleblower-suit-by-ex-walmart-exec/
     https://www.courthousenews.com/wp-content/uploads/2020/01/HuynhWalmart-SJ.pdf (Judge
28   Chhabria's ruling - DC Dkt. 167
                                                      259
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 1            manufacture the sexual harassment investigation repmt, the ADHD investigation
              report, and the shareholder fraud reports to justify the reasons Walmart shut down
 2            Huynh investigation after three days.
 3
 4           Huynh, who recruited businesses to Walmart's e-commerce platfo1m, filed suit in
     March 2018 claiming Walmart committed securities fraud and various other egregious ac­
 5   tions of corporate malfeasance and that he was fired when he told his supervisors. The for­
     mer executive said Walmart was willing to cut corners and engage in illegal practices in its
 6   race to catch Amazon in the cutthroat industry of online retail. Walma11 said Huynh was not
     fired because he blew the whistle on its practices, but was instead included in a 200-person
 7
     layoff at the company after performing poorly as an employee for several months.
 8          Chhabria agreed with Walmart's recounting of the events. "Walmart has produced a
     mountain of evidence that Huynh was a poor-performing employee, and that its inclusion
 9
     of Huynh in a significant round of layoffs was unconnected to any whistleblowing," the
10   judge wrote. Huynh was credibly accused of sexual harassment and almost fired months
     before his actual termination, was accused of fostering a hostile work environment, made
11   unauthorized statements to the press resulting in a media ban and received several poor per­
     fonnance evaluations related to his work. "Huynh presents virtually nothing to contra­
12   dict any of this evidence," the judge wrote
13       •    As discussed in Huynh's motion for reconsideration DC Dkt. 178 and multiple
              briefs filed with the United States Court of Appeals for the Ninth Circuit (COA
14
              Dkt. 5, 9, 13, 15, 16, and 33). Huynh proved that District Vince Chhabria sup­
15            pressed the mountain of evidence of pretext (although Huynh didn't have to prove
              pretext under SOX).
16
         •    District Judge Vince Chhabria never ruled on Huynh' s motion for leave to supple­
17            ment/submit material evidence in the records.

18       •    District Judge Chhabria canceled oral argument for smmnary judgement immedi­
              ately after being put on notice that David deRubertis and the Rescue Squad en­
19            gaged in conspiracy to obstruct justice.
20       •    District Judge Vince Chhabria made misleading statement about local rule 7 re­
              garding motion for reconsideration (i.e., Huynh needed Judge Chhabria's pe1mis­
21            sion to file a motion for reconsideration of his final entry of Judgement in
              Walmait's favor) in DC Dkt. 174 to purportedly obstruct Huynh from filing a mo­
22
              tion for reconsideration of Judge Chhabria final judgement.
23      •     District Judge Vince Chhabria attempted to recategorize Huynh's Jan 19, 2020 let­
24            ter in his ruling denying Huynh's motion for reconsideration to coverup the facts
              that he engaged in a conspiracy to deny Huynh' s motion for consideration without
25            affording due process and equal protection under law.

26      •     As discussed, COA Dkt. 33, Audrey Au Joulani, Melvenia Ha, Seth Beal, and Va­
              lerie Ricetti etc. used fabricated evidence and false declarations to falsely accuse
27            Huynh of sexual harassment (a very serious allegations in the age of the "Me Too"
              movement.
28
                                            260
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1
2           393.    In short, the RICO Defendants corruptly influenced and/or enticed District

3    Judge Vince Chhabria to use the power, prestige, and trust that the American public bestows
4    on his office as a Federal Judge as a megaphone to disseminate and amplify the RICO De­
 5
     fendants' factual misrepresentations about Huynh's moral characters, good name and reputa­
 6
     tion, and professional competency to kill Huynh once and for all to pulverize any future
 7
     threats to the Walmart's Shareholder Fraud Cover Up Enterprise as well as the Walmart's
8

 9   $140 Bil Shareholder Fraud Enterprise .

10
            394.    The RICO Defendants shotgun pleaded five nefarious and frivolous ADHD
11
     FEHA claim against Walmart in the 3/15/18 complaint then use it disseminate Huynh's
12
     ADHD condition to exploit the public's stigmatization of people who suffered from mental
13
14   illness to portray Huynh as mentally ill and unhinged, unable to regulate his emotion, antiso­

15   cial, lack of empathy, and prone to violence. The RICO Defendants used the derogatory lan­
16   guages below to spread Huynh's ADHD condition across the Internet.
17
18      •     FAC Dkt. 8 paragraph 57: In late-May of 2016, after Mr. Huynh was criticized
              for refusing to follow the direction of "staying within the boundaries" of his job -
19
              even if that meant turning a blind-eye to concerns of unlawful conduct - Mr.
20            Huynh shared with his direct supervisor and human resources that he suffered
              from a hidden mental disability - Attention Deficit Hyperactivity Disorder
21
              (ADHD). Mr. Huynh provided his supervisor and human resources with a de­
22            tailed presentation about his ADHD, his progress in trying to treat and manage it,
              and how it impacts his day-to-day behavior and functioning. Mr. Huynh di­
23
              rectly explained that his ADHD caused challenges and limitations in emo­
24            tional self-regulation, but he also explained how he is and has been committed to
              improving himself in that regard.
25
        •     FAC Dkt. 8 at paragraph 79: "Emotional intelligence" is defined as "the capac­
26
              ity to be aware of, control, and express one's emotions, and to handle inter­
27            personal relationships judiciously and empathetically." But, Mr. Huynh had

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                                              26 1
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1             specifically shared with his direct boss and human resources that emotional reg­
              ulation and impulse control were symptoms of his underlying ADHD disabil­
2
              ity - indeed, he had even presented a Powerpoint presentation about his condition
3             to them in an effort to educate them about his struggles with his disability. To the
              extent that there were any real issues involving Mr. Huynh's emotional regula­
4
              tion or impulse control, they should have been dealt with through a proper inter­
5             active process that was appropriately tailored to his specific disability. But, in­
              stead, his disability's role was being ignored and he was told he must take this
 6
              course that was inappropriate for him under the circumstances of his disability.
 7
        •     FAC Dkt. 8 at paragraph 143: At all relevant times, Plaintiff had one or more
 8            mental and/or physical disabilities; had a history of one or more disabilities;
              had a record of one or more disabilities; and/or was perceived or regarded as
 9
              having one or more disabilities that constituted protected characteristics under the
10            FERA including but not limited to because of either present or future disabling
              effects.
11
12
            395.    The Rescue Squad and the Walmart Participants directed and caused David
13
     and Kari deRubertis to improperly obtain Huynh's psychiatrist records then produce them to
14
15   Walmart's under the table without the "Confidentiality" designation with the help of Kasales

16   and Lindern to bypass Epiq Global ESI processing, extraction, and production workflow. On

17   Aug 29, 2019 the Rescue Squad filed Huynh's psychiatrist records without sealing in the
18
     court's public docket as Defs. Exhibit 116 (DC Dkt. 119-3). They manipulated and take
19
     Huynh's private and intimate conversations with his psychiatrist, Dr. Bolte out of context to
20
     support their purported legitimately reason for firing Huynh 14 days before the general RIF.
21
22
23
24

25
26
27
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                                                     262
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 1    David deRubertis Leaked Huynh's                                                  The GDC Squads, Walmart's Insider's, and David
      Confidential Information.                                                        deRubertis' Neutralization Strategies
 2
     Huynh repeatedly infonned David                                                   David deRube1iis improperly obtained Huynh's psychi-
 3
     deRubertis between early 2017 to                                                  atrist record by faking Huynh's signatures then pro-
 4   end of 2018 that Walmart's termi-                                                 duced to Walma1i without the confidentiality designa-
     nated Huynh's employment 14 days                                                  tion. The GDC Squad and Walmart's insiders filed
 5   before everyone else was evidence                                                 Huynh's psychiatrist records in public for not legal ba-
     of pretext.                                                                       sis and without sealing then took Huynh's private con-
 6                                                                                     versation with his psychiatrist, Dr. Bole out of context
                                                                                       to portray Huynh as a violence person to support their
 7
                                                                                       post hoc rationalization for firing Huynh 14 days be-
 8                                                                                     fore the general RIF. See analysis below.

 9
10
                  Huynh's Original Authorization                                                             Altered Version of Huynh's Authorization -
11                                                                                                           Made the Signed Date Fillable
            Employment Omlopmcnt Department                                                                  Employment Otvclopmcnt Department
12          P.O. Box 826860, MIC S3                                                                          P.O. 8od268S0, MIC 53
            Sammento, CA 94280-0001                                                                          Smamcnto, CA 94280·0001


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13                                                       deRubertis corrected misspelling
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23            '����jt�                                     t
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24                                                                                deRubertis erased H uynh's signed
                                                                                  date so he didn't have to ask H uynh
25                                                                                for authorization for future requests

26

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28
                                                                               263
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 1
                                     Huynh's Original Authorization                                                                             Altered and Manipulated Form - Made he
 2                                                                                                                                              signed date fillable
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                                                                                                                                                                                                         Thi Nguyen, M.D, SWEDISH MEDICALGROUP
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 5        ForinfO!ma!ion rc!ated lo lhe following diagnoslsOi ir,fJry. ______  _                                                           F0<�io<matlont1!eledlothe foiloY,ing dlagnosi,or injury:_________--!
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                                                type        of   records                                              © OperalMIReport                                                      Cl Emergency Department Report
 7        O Oi;!ra:Ne Report                                                         0 Emergi;,ncy Department Rcpo.1
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12         • On 1/26/18, deRube1tis filled in tile blanked form to request for all types of                                                                 deRubertis erased the actual signed date on the
             medical records from Swedisli Medical unbounded by time without my                                                                             original form to make the signed date tillable.
             knowledge. On 6/27/18, deRubertis sent another request to Swedish Medical                                                                      Tl1is allowed deRube1tis to submit another record
13           to ask for the latest medical records not previously obtained.                                                                                 request to Swedish Medical on June 27 without
                                                                                                                                                            asking for my authorization
14
15
                       The RICO Defendants Took Dr. Bolte's Jul 19, 2017 Note Out of Context to Por­
16                     tray Huynh as Mentally Ill and Prone to Violence to Justify Firing Him 14 Days
                       Before the General RIF.
17
18         "Beal and HR shared concerns that Huynh might cause serious workplace disturbances,
           including verbal altercations and potentially physical violence, were he to remain in the
19         office; and therefore, communicated the RIF decision to Huynh on January 10, Beal Deel.
           ,r 72; Ricetti Deel. ,r 63, Trembley Deel. ir 40, the first day Huynh was in the office follow­
20         ing the Christmas and New Year holiday, Tr. 3 15 : 12-2 1.
21
           The Rescue Squad manipulated of Dr. Bolte July, 19, 20 17 office note and quoted it out of
22         contest:
23         • The Rescue Squad's manipulation: "These concerns do not appear to have been mis­
              placed. Huynh later told his therapist that he has violent thoughts smTOunding his ter­
24            mination. Ex. 1 16 at 1440 1 (Huynh "has fantasies about hurting the people at Walmart
              who [terminated] him")." DC Dkt. 113 at 12.
25         • Dr. Bolte Actual Note for the July l 9, 20 17 office notes: "Has fantasies about hurting
26            the people at Wal-Matt who did this to him - but no intent or plan"

27
           The Rescue Squad Lied When They Equated "who did this" with "terminated".
28
                                                                                                                                     264
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 1       April 13, 2017 Visit Notes:
 2      Tri is officially unemployed. His life right now is a nightmare. Not only was he laid off,
        but now he has lost half of his designated bonus because some anonymous observer has
 3      accused him of sexual harassment because he hugged a female employee, who is his
        friend, after a meeting in front of several other employees. The person he hugged was
 4
        not the person who reported this, nor does this person feel it was at all harassment, how­
 5      ever she is now reluctant to stand up for him against the authorities because she fears los­
        ing her job. He feels that as a reward for keeping her mouth shut, she has been promoted.
 6      Tri is feeling stunned. He is feeling like he was raped, then they turned around and
        raped him again. He is not able to sleep more than a couple of hours. His thoughts are
 7      obsessive, focused on the unfairness of the situation, how betrayed he has been by
        others and how angry he is at everyone. He is having physical symptoms suggestive of
 8
        panic attacks and becomes overwhelmed with anxiety. He feels like he is going to ex­
 9      plode. His blood pressure has been high despite the guanfacine and losartan. His pulse to­
        day is in the 80's. He says he would "never never ever do this to anyone else". He
10      would never sexually harass anyone. Even his wife is upset about this charge.
11      He has spoken to attorneys who want to take his case, but now with the sexual harassment
        charge thrown in it is much more complicated. He feels they did this just to prevent him
12      from suing. He is wanting to apply for other jobs but is unable to concentrate and feels
        desperate about the situation. "This is the hardest thing I have ever had to face, even
13      being a refugee from Viet Nam this is worse. " He feels exceedingly guilty about not
14      being there for his son and for yelling at his wife this past week because he was so
        stressed. "It is not like me to be this way. "
15
         July 19, 2017 Notes:
16       He is still very ruminative in his thinking about Wal-Mart, the circumstance of his termi­
17       nation, and the unfairness of it all. He is furious that they would say he sexually har­
         assed someone, and believes they only did this to prevent him from suing them. He
18       becomes so enraged at times that he starts to shake all over. He just can't let it go. He
         is having a great deal of trouble focusing on anything else.
19
        "He denies psychosis, thoughts of self ham1, has fantasies about hurting the people at
20      Wal-Mart who did this to him - but no intent or plan, speech is as loud and pressured
        as it always is. He makes good eye contact."
21
22
            396.    The contextual analysis above showed, the word "who this did" used by Dr.
23
     Bolte was not about being terminated from Walmart. Instead, it was related to Walmart's
24

25   character assassination against Huynh by falsely charged Huynh with sexual harassment

26   (i.e., a serious charge of moral turpitude especially in the "Me Too" era). This false sexual
27   allegation charges caused Huynh and his family significant pains and suffering.
28
                                              265
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1            397.   It is important to note that as a human being we all have moments in our lives
2    when someone inflicted so much pain and suffering on us that we fantasied about hurting
 3
     them for inflicting such pain. However, the difference between sanity and insanity is that the
4
     sane person may have fantasies about hurting people who hurt him/her but never acted on it.
5
     We all have seen in so many movies where this type of fantasies played out in the minds of
6
 7   the protagonists when the antagonists inflicted mental or physical pains upon them. In Dr.

 8   Bolte' s July 19, 2017 office note she clearly stated "has fantasies about hurting the people at

 9   Wal-Mart who did this to him - but no intent or plan.
10
11           398.   A research article from Warwick Business School titled "Whistleblowers' men­

12   tal health attacked by finns" describes tactics used by Corporations to silence whistleblowers.

13   The RICO Defendants used eerily similar tactics to "Kill" the Whistleblower (Huynh) to ef­
14   fectuate the Walmart's $140 Bil Shareholder Fraud Coverup Enterprise.
15
16      https://www.wbs.ac.uk/news/whistleblowers-mental-health-attacked-by-firms/

17      Whistleblowers' mental health attacked by firms
18      10 May 2016

19       •   Far from being protected whistleblowers are attacked by firms retaliating
         •   Study found some were driven to contemplating suicide
20
         •   Research finds many forced to leave jobs after revealing wrongdoing
21       •   Bullying, harassment and isolation used against whistleblowers
22
23      Organisations demonise whistleblowers leaving some suicidal in an attempt to paint them
        as mentally ill and discredit their claims, according to new research.
24
        Whistleblowers are protected by law in the UK so they shouldn't be treated unfairly or
25      lose their job, but a study of 25 workers who revealed wrongdoing in their organisations
        such as banks, healthcare or procurement services, paints a different picture.
26
        The study found whistleblowers did lose their job either by being pressured out of the or­
27      ganisation or being dismissed. If they did stay, they suffered retaliation through bullying,
        demotion, isolation, and harassment, while some were forced by their company to take
28
                                                      266
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 1      mental health counselling, and one saw her husband, who worked at the same bank,
        sacked.
 2
        Many did crack under the pressure, suffering mental illness through depression, panic at­
 3      tacks, and anxiety or developed drinking problems.
 4      Marianna Fotaki, Professor of Business Ethics, said: "The stigma surrounding mental
        illness can be used as a weapon intended to defame and neutralise a person who dis­
 5      closes wrongdoing, with the process of whistleblowing only intensifying the likelihood of
        experiencing such negative health effects.
 6
        "The mental health of litigants can be used by organisations in defending allegations and
 7      can result in diverting attention away from the seriousness of the disclosure and discredit­
 8      ing the whistleblower. "
        Co-investigator Kate Kenny, of Queen's University Belfast, added: "As long as we as a
 9
        society play along and tum a blind eye to the whistleblower's plight, the organisations,
10      who are in reality the true transgressors, will continue to have their way."

11      In their working paper How Organizations Use Mental Health To Discipline Whistle­
        blowers and Undermine their Message, one whistleblower John (not his real name), is
12      quoted saying: "They put me on psychiatric support at the Priory Clinic. So, what they do
        here is they pacify you as somebody with mental health issues. Therefore, there's no valid­
13      ity."
14      While Greg (not his real name) said: "You may know that you are unemployed because
        you did something right, that doesn't stop you feeling isolated, it doesn't stop you feeling
15      low self-esteem, it doesn't stop you being poor, it doesn't stop your health being affected."
16      In the 25 interviews with whistleblowers from the UK, Europe and the US, the researchers
        found the initial stage of secretly obtaining information was stressful, but when they went
17      public, battling with the organisation was when many were pushed to breaking point.
18      "Many find the stresses too much to cope with and they just give up," said Professor
        Fotaki. "They are forced to settle and not take the matter any further because the stress is
19
        ove1whelming. Some even took the self-management of mental health to the extreme of
20      not wanting it mentioned during interviews with health professionals for fear of it dam­
        aging their reputation.
21
        "The loneliness and alienation that comes from being positioned outside of the social, or
22      organisational, norm leads to self-doubt, and if prolonged can cause mental stress, illness
        or even attempted suicide.
23
        "This self-management and even self-censorship only feeds into the hands of the compa­
24      nies.

25      "The more oppressive the struggle with mental health the greater the likelihood of demoti­
        vation. Thus, some whistleblowers were forced to accept the bad practice as nonnal to fit
26      in with the rest of the organisation and avoid any more stress, even though they felt guilt
        and mental anguish about the bad practice - a paradox they found difficult to cope with."
27
28
                                             267
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 1      'Whistleblower retaliation' - in which the company isolates or punishes whistleblowers,
        whether by demoting them, worsening their working conditions or terminating employ­
2       ment - was part of eve1y one of the 25 cases Professor Fotaki and Dr Kenny studied.
 3      No organisation in the research were thankful for the whistleblower highlighting wrong­
        doing and sought to rectify it. Instead, the reaction was one of denial and demonising the
 4
        whistleblower.
 5      A whistleblower named Georgia revealed the bank reacted by chasing her husband, who
        worked at the same bank, demanding he pay his mortgage immediately.
 6
        "They wouldn't give him the finance to finish the houses .... then they sacked him, so he
 7      didn't have a source of income," she says. "And they were threatening him because obvi­
 8      ously if you don't have any money, you can't pay the mortgage."
        Georgia described the frequent bullying and harassment she experienced, noting it was a
 9
        deliberate ploy to grind her down. "They wanted to see me break," she said.
10      While Liam (not his real name), who reported a case of corruption involving arms con­
11      tracts, said: "Psychologically they almost got me. I think it had been working on me for
        some time."
12
        Another whistleblower saw his company commission a report into his complaint, but
13      found it was mostly about him rather than the issue raised83 , with it describing him as
        "emotional and not reasoned, measured or coherent", which was then leaked to the press,
14      including the Financial Times.

15      He said: "It was devastating. Can you imagine being described like that...? When you set
        out to do your job to the best of your ability?"
16
        Professor Fotaki, who teaches Ethical Leadership on the suite of MSc Business courses,
17      said: "It is clear that retaliatory tactics might create vulnerability to poor mental health and
        the emergence of symptoms of mental illness: stress, anxiety and fear are a common oc­
18      currence.
19      "Furthermore, retaliation against whistleblowers can also include character assassination.
        Accusations of being disgruntled employees, spies or 'squealers ' can often undennine
20      whistleblowers' efforts to expose immoral or illegal acts.
21      "By throwing around these labels, it only compounds the stress of whistleblowing and in­
        creases the vulnerability to mental health issues. It also serves as a way to demotivate
22      other potential whistleblowers.
23      "Whistleblowers' disclosures save public money and protect the public interest. A grow­
        ing number of countries are implementing legislation that aims to protect whistleblowers
24
25
     83 See paragraph X for discussions regarding the use of monster/supersize PDFs (produced as
26
     paper documents without any system metadata fields to coverup document fabrications by
27   making misleading statements. This was how Audrey Au Joulani and the other RICO De­
     fendants exploited to manufacture the fake sexual harassment to falsely substantiate the sex-
28   1,1al harassment charge against Huynh.
                                                     268
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 1      from retaliation by their employers. This study has shown this is crucial for recognising
        the importance of candour and speaking up against wrongdoing."
2
3
        The RICO Defendants Cherry Picked Pages from Huynh's 330 Pages Deposition
4       Transcript to Create a 133 Smear Dossier Then Filed It in the Court Public Docket
5       to Kill Huynh Once and for All.

 6          399.     On February 28, 2019, the Rescue Squad served Huynh with a deposition no-

 7   tice via email for a deposition in May 2019. At this deposition, Brass asked Huynh well­

 8   crafted/leading questions (based on Huynh's psychiatrist records dated back to 1999) and
 9
     Walmart's false allegations of sexual harassment charge against Huynh to solicit the desired
10
     responses. Huynh's answers were captured in a 333-page transcript (dossier)84 • The RICO
11
12   Defendants chen-y pick 133 pages out of the 333-page deposition transcript out of context to

13   create a "Smear" Dossier against Huynh to effectuate prong #2, #3, and #6 of the WSF Cov­

14   erup Enterprise's illegal coverup scheme. The smear dossier contains most damaging infor­
15   mation which falsely portrayed Huynh as mentally ill, prong to violence, morally corrupted
16
     ( e.g., falsely accused of sexual harassment, dishonesty, and blowing the whistle for personnel
17
     gain) and lack of emotional control etc. For example, to support of Walmart' s Motion for
18
     Summary Judgement, the Rescue Squad filed Huynh's medical records without the confiden­
19
20   tiality designation in the public domain. DC Dkt. 119-8 Defs ' Ex. 8. See DC Dkt. 156 to 160

21   discussed how the RICO Defendants acted in concert to leaked Huynh' s psychiatrist records.
22   The RICO Defendants also filed the 133-page "Smear" Dossier as Defs' Ex. 127 under DC
23
     Dkt. 119 to support Walmart's motion for summary judgment. However, since Ex. 127 origi­
24
     nally filed as DC Dkt. 119 along with another 23 Exhibits it would not be visible and accessi­
25
     ble to the public. In order to make the smear dossier more visible to the public and the media
26

27
     84 Basically, by asking misleading/manipulated questions based on Huynh's psychiatrist rec-
28   ords and captured them in a 333-page transcript
                                                     269
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 1   (especially those that are under the RICO Defendants' payrolls), the Rescue Squad purport­
 2   edly refiled Ex. 127 separately under DC Dkt 123-1 under the pretext of updating and c01Tect­
 3
     ing the original Ex. 127. Basically, the RICO Defendants took Exhibit 127 which was buried
 4
     deep inside DC Dkt. 119 and exposed it to the public as a standalone Exhibit.
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                                            270
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1                                          CLAIMS FOR RELIEF
                                       FIRST CLAIM FOR RELIEF
2                                 (Violations of RICO, 18 U.S.C. § 1962(c))
 3                                     (Against All RICO Defendants)

4
                                       Legal Elements of a 1962(c) Claim
 5
 6        "To allege a RICO claim under 18 U.S.C.§ 1962(c), the plaintiff must plead four ele­
          ments: (1) conduct (2) of an enterprise (3) through a pattern of (4) racketeering activity.
7
          Stanford v. MemberWorks, Inc., 625 F.3d 550, 557 (9th Cir. 2010). It is also important to
 8
          note that in RICO civil claim Huynh only needs to prove the elements above by prepon­
 9        derance of evidence versus the beyond reasonable doubt standards under criminal case.
10
          RICO defines the term "enterprise" to "include any individual, partnership, corporation,
11
          association, or other legal entity, and any union or group of individuals associated in fact
12        although not a legal entity." *15 18 U.S.C. § 1961(4). This broad definition includes both
          legitimate and illegitimate, formal and informal organizations, see United States v. Tur­
13
          kette, 452 U.S. 576, 587 (1981), and it is immaterial whether the defendant has a stake in
14        the operation of the enterprise because individuals outside the enterprise may assist
          the enterprise in attaining its illegal goals. See, e.g., United States v. Mokol, 957 F.2d
15        1410, 1417 (7th Cir. 1992). "An enterprise is 'operated' not just by upper management
16        but also by lower-rung participants in the enterprise who are under the direction of upper
          management. "85
17
18
          •    Although attorneys "do not conduct an enterprise's affairs through run-of-the mill
               provision of professional services," courts "will not shrink from finding an attorney
19             liable when he crosses the line between traditional rendition of legal services and ac­
               tive participation in directing the enterprise." Chevron Corp. v. Danziger, 974 F.
20
               Supp. 2d 362 (S.D.N.Y. 2014) (judgment against lawyer for a RICO enterprise); G-I
21             Holdings, Inc. v. Baron & Budd, 238 F. Supp. 2d 521 (S.D.N.Y. 2002) (claims that
               attorneys operated a RICO enterprise); Liberty Mut. Life Ins. Co. v. Diamante, 138
22
               F. Supp. 2d 47 (D. Mass. 2001) (claims against attorney); Lemelson v. Wang Labs.,
23             Inc., 874 F. Supp. 430 (D. Mass. 1994) (allegations of a RICO association-in-fact
               enterprise between defendant and his attorneys).
24
          •    There is "no question" that a corporation, its lawyers, and its experts can form "an
25             'associated in fact' RICO enterprise." See Living Designs, Inc. v. E.I. DuPont de
26   85
        Reves, 37 F.3d at 185 (emphasis added); see also In re Lupron Mktg. & Sales Practices.
27   Litig., 295 F. Supp. 2d 148, 172 n.25 (D. Mass. 2003) (rejecting an interpretation of outsider
     liability that would "elevate the Reves' participation test to one of ' control' of the enterprise,
28   � significantly higher standard than Reves contemplates").
                                                       271
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1             Nemours & Co., 431 F.3d 353, 361 (9th Cir. 2005) (quoting United States v.
              Blinder, 10 F.3d 1468, 1473 (9th Cir. 1993)), DuPont - a company that offers prod­
 2
              ucts and services for markets including agriculture, nutrition, electronics, communi­
 3            cations, safety and protection, home and construction, transportation, and apparel -
              retained law firms for the purpose of defending DuPont in Plaintiffs' lawsuits. These
4
              law finns are required to confom1 to ethical rules and thus are not merely at the beck
 5            and call of their clients. As we recently observed: Membership in the bar is a privi­
              lege burdened with conditions. An attorney is received into that ancient fellowship
 6
              for something more than private gain. He �ecomes an officer of the court, and, like
 7            the court itself, an instrument or agency to advance the ends of justice. Gadda v.
              Ashcroft, 377 F.3d 934, 942-43 (9th Cir. 2004) (citations and quotations omitted).
 8
 9                           The Statute of Limitations Element Defined:

10      Even though the RICO statute does not provide for a specific statute of limitations, the
        Supreme Comi announced a unifonn four-year limitations period for civil RICO ac­
11      tions. See Agency Holding Corp. v. Malley- Duff & Assocs., Inc., 483 U.S. 143, 156-
12      57, 107 S.Ct. 2759, 97 L.Ed.2d 121 (1987). Although the Supreme Court has yet to
        specify when the RICO period of limitations begins to rm1, the Second Circuit has held
13      that it "begins to run when the plaintiff discovers or should have discovered the RICO
        injury." In re Merrill Lynch P'ship Litig., 154 F.3d 56, 58 (2d Cir.1998).
14
         •    Although, Huynh knew that the RICO Defendants conspired with District Judge
15
              Vince Chhabria with certainty around right after Huynh's file his motion for re­
16            consideration on Feb 9, 2020 (DC Dkt. 176). However, Huynh only came to
              know about the existence of the WSF Coverup Enterprise since Mid-2021 due to
17
              the wicked, insidious and nefarious nature of the scheme.
18       •    However, let assumed arguendo that Huynh knew about existence of the WSF
19            Coverup Enterprise' illegal coverup scheme in in early Feb 2020 it didn't matter
              because the four-year statute of limitation would put the deadline for Huynh to
20            file his RICO claims against the RICO Defendants until Jan 14, 2024.
21
22                      The Walmart Shareholder Fraud Coverup Enterprise
23
             400.    Huynh restates and incorporate herein by reference the preceding para­
24
     graphs as if fully set forth herein. This claim is brought against the RICO Defendants for
25
26   actual damages and treble damages under 18 U.S.C. § 1964 for violations of 18 U.S.C. §

27   1962, et seq.

28
                                              272
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 1           401.   Defendants are "person[s]" within the meaning of 18 U.S.C. § 1961(3)
 2   who conducted the affairs of an enterprise through a pattern of racketeering activity, in
 3
     violation of 18 U.S.C. § 1962(c). Huynh is a "persons," as that te1m is defined in 1 8
 4
     U.S.C. § 1961(3) who were injured i n his business or prope1ty as a result of the RJCO
 5
     Defendants wrongful conducts.
 6
 7
             402.   The Walmait Shareholder Fraud Covernp Enterprise (referred herein as the
 8
     WSF Coverup Enterprise) is an association-in-fact enterprise. It was fonned as early as 2016
 9
     and continues to Mid 2021 for the common purpose of covering up Walmart's $ 1 40 Bil fraud
10
11   against shareholders and ensuring a civil and criminal risk-free future for all of its members.

12   The WSF Covernp Enterprise is an ongoing and continuing business organization consisting

13   of "persons" within the meaning of 18 U.S.C. § 1 961(3). The named persons below partici­
14   pated in the management and/or conducted the affairs of an enterprise through a pattern of
15
     racketeering activity, in violation of 18 U.S.C. § 1962(c).
16
17   Walmart Inc., including its employees, Board of Directors, and agents; and the Walmart' s par­
     ticipants.
18
         The Walmart Board of Directors
19
         •   Greg Penner, Chairman of the Walmait Inc. Board of Directors
20       •   Robson Walton, Member of Walmart Inc. Board of Director
21       •   Timothy Flynn, Member of Walmait Inc Board of Director and Chainnan of
             Walmart's Audit Committee
22       •   Doe(s)
23      The Walmart Participants)
24       •   Doug McMillion, President and CEO, Walmart Inc.
         •   Brett Biggs, Executive Vice President and Chief Financial Officer, Walmart
25
         •   Marc Lore, forn1er President and CEO, Walmart.com US.
26       •   Rachel Brand, Executive Vice President of Global Governance, Chief Legal Officer
             and Corporate Secretary
27
         •   Doe(s)
28
                                              273
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1    The law firm of Gibson Dunn Crutcher Law Firm, including its employees and agents;
     and the GDC participants (aka the Rescue Squad).
2
        The Rescue Squad
3
        •   Theodore Boutros, Senior Partner
4       •   Eugene Scalia, Senior Partner
 5      •   Rachel Brass, Senior Partner
        •   Chris Wilson, Sr. Associate
 6      •   Ryan Stewart, Associate
 7      •   Susanna Schuemann, Associate
        •   Doe(s)
8
        The other Law Firm participants
 9
        •   The deRubertis Law Firm, including its employees and agents; and the deRubertis par­
10          ticipants i.e., David deRube1tis, Kari deRube1tis, and Garen Nadir.
        •   The Payne & Fears Law Fi1m, including its employees and agents, and the PF paitici­
11
            pants i.e., Daniel F. Fears, Terri M. Shaw, and Doe(s)
12      •   The law firm of Orrick, Herrington & Sutcliffe, including its employees and agents
            and the OHS participants i.e., Kenneth Herzinger and Doe(s)
13
        The ESI Providers
14
        •   Epiq Global, including its employees and agents, and the Epig Paiticipants i.e., Doug
15          Kasales, Kathy Vonlindem, and Doe(s).
16      •   Lighthouse Global, including its employees and agents, and the Lighthouse Global
            Pa1ticipants i.e., Renee Quezada, and Doe(s).
17
        The PR Machine (PR agencies and Journalists)
18
        •   The PR Agency participants (not !mown at this time), including its employees and
19          agents.
        •   Matthew Boyle, a Bloomberg News' Reporter.
20
        •   Doe(s)
21
        The Investment Analysts
22
        •   Bank of America, including its employees and agents, and Robert Ohmes, Investment
23          Analyst at Bank of America/Merrill Lynch.
        •   Doe(s)
24
        The Federal Officials
25
        •   Mark Marchione, OSHA's Regional Investigator
26      •   William H. Thompson, SEC Accounting Branch Chief Office of Consumer Prod­
27          ucts
        •   Doe(s)
28
                                            274
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 1      The Federal Judges86
 2      •   Vince Chhabria, District Judge for the United States District Court for the Northern
 3          District of California
        •   Sallie Kim, Magistrate Judge for the United States District Court for the Northern Dis-
 4          trict of California.
 5      The Former Walmart's Employees
 6      •   Seth Beal, former SVP Walmart's Global Marketplace
        •   Valerie Ricetti, former Director of Walmart US HR
 7      •   Audrey Au, former Sr. Manager of Walmait's US Global Ethics and Compliance
 8      •   Melvenia Ha, former Manager of US HR

 9          403.   To achieve its common purpose, the WSF Coverup Enterprise through the

10   RICO Defendants and their Co-conspirators set out to achieve three main goals, namely, A) to
11
     Purpose: Coverup Walmart's $140 Bil Fraud Against Shareholder
12
13
               -----------------------------------------------
                    "Get Out of Jail Free" Card                             Civil Penalty Free Card          ·,
                        (Non-Enforcement Actions)                           (Dismissal of Complaint)
14                                                                             "Nuts & Sluts" Defense
                        "Truth on the Market" Defense
                                                                   C
15                                            Criminal and        ·
                                                                   0
                                                                  ,.::_                             Open &
                                             Civil Liabilities
                                                                  'iii en
                                                                       C:                            Shut
                                                                   o E
16                                                                a. iii
                                                                  ni
17
18
19
                            Low
                                                Hig�ymbio ic
                                                                              Strong             Weak
20                           Huynh's Credibility                            Walmart's Factual Position
21                   Corruptions of the Judicial Process Corruptions of the OSHA Process
22                   Corruptions of the ESI Process      Obstructions of the SEC Proceeding                       J
              1----------------------------------------------J
23
24

25                                                           Catch and Kill

26
                                                     Kill the Whistleblower
27

28   � 6 Not named as Defendants in this complaint due absolute immunity protection.
                                                    275
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 1   obtain a "Get Out Jail Free" card i.e., non-enforcement action letters from the SEC and/or
 2   DOJ, B) to obtain a "Civil Penalty Free" card i.e., the dismissal of Huynh's SOX complaint to
 3
     reinforce the SEC's and/or DOJ's non-enforcement action letters, and 3) to ensure a civil and
 4
     criminal risk-free future for the RJCO Defendants. To achieve these goals, the WSF Coverup
 5
     Enterprise through the RICO Defendants and Co-conspirators developed and executed a six­
 6
 7   pronged fraudulent coverup scheme. See the chart above.

 8
             404.   The RJCO Defendants and their Co-conspirators are systematically linked
 9
     through contractual relationships, financial ties, and continuing coordination of activities, as
10
11   spearheaded by the Walmart Participants and the Rescue Squad. Specifically, each member of

12   the WSF Coverup Enterprise shared in the bounty generated by the successful execution of

13   the Enterprise's fraudulent coverup scheme e.g., up to a Billion-dollar bounty. Additionally,
14   Walmart's senior executives would be able to keep their high paying compensation package
15
     and enjoy significant appreciation in the value of their Walmart's stock portfolio.
16
17       •    As an example, when Walmart Inc. acquired Jet.com, Walmart Inc granted Marc
              Lore 3,554,093 shares of Walmart stocks in Sept 19, 2016 to be vested over five
18
              years. Walmart's stock price in Sept 2016 was about $73 (Lore's Walmart stock
19            portfolio valued at $260 Mil) and $149 at the time of Marc Lore's departure from
              Walmart in Mid-Jan 2021 (Lore's Walmart's stock portfolio valued at $530 Mil).
20
              Thus, by participating the management and/or conduct of the WSF Coverup Enter­
21            prise, Marc Lore became $270 Mil richer.
22       •    Additionally, although Marc Lore left his position as CEO of Walmart US Ecom­
23            merce eight months before his employment contract with Walmart expired,
              Walmart Board of Directors shockingly allowed Marc Lore to keep all of his un­
24            vested shares of Walmart's stock (approximately 710,819 shares). At a price of
25            $149 per share, Marc Lore exit package with Walmart valued at least $106 million.

26           405.   There were regular communications among the RJCO Defendants to share in-
27   formation, strategies, and tactics to plan, coordinate, manage and operate the conducts of the
28
                                              276
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 1   enterprise in order to successfully execute the WSF Covernp Enterprise 's six-pronged fraudu­
 2   lent covernp scheme. Typically, these communications occurred through the use of the wires
 3
     and the mail.
 4

 5          406.     At all relevant times, the WSF Covernp Enterprise: (a) had an existence sepa­
 6   rate and distinct from each Defendant; (b) was separate and distinct from the pattern of racket­
 7
     eering in which the RICO Defendants engaged; and (c) was an ongoing organization fonned
 8
     as an association in fact with its members engaged in the management and/or operations of
 9
     the WSF Coverup Enterprise to effectuate its common purpose.
10
11
            407.     While the RICO Defendants participated in, and are members of, the enter­
12
     prise, they have a separate existence from the enterprise, including distinct legal statuses, dif­
13
     ferent offices and roles, bank accounts, officers, directors, employees, individual personhood,
14
     reporting requirements, and financial statements
15
16                                 Conduct of the WSF Coverup Enterprise
17      In order to be liable under§ 1962(c), a defendant must "conduct or participate, directly or
18      indirectly, in the conduct of the enterprise's affairs through a pattern of racketeering activ­
        ity." 18 U.S.C. § 1962(c). Mere association with an enterprise does not violate§ 1962(c).
19      In order to "conduct or participate" in the conduct of an enterprise's affairs, a defendant
        must have "paiiicipated in the operation or management of the enterprise itself."
20
        Reves v. Ernst Young, 507 U.S. 1 70, 179 (1993). An enterprise is "operated" not just by
21      upper management, but also by "lower rung participants" who are under the direction of
        upper management. Id. at 184. "Outsiders" to the enterprise may meet this requirement if
22
        they exert control over the enterprise, but outsider defendants must have "conducted or
23      participated in the conduct of *26 the enterprise's affairs, not just their own affairs." Id. at
        184-85.
24
            408.     The RICO Defendants and their co-conspirators have organized their operation
25
     into a cohesive group with specific and assigned responsibilities and a top-down command
26

27   shucture, with the Heads of the enterprise based out of Bentonville, AR, Northern and South­

28   ern CA, and Washington DC, while its members scattered across various states. The Walmart
                                                 277
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 1   Paiiicipants funded the WSF Coverup Enterprise out of Walma1i Inc.'s head quarter in Ben­
 2   tonville, AR by funneling the money through the Gibson Dunn Crutcher Participants who in
 3
     tum wired the money directly and/or through third paiiies to pay fund the criminal activities
 4
     of the RICO Defendants in furtherance the WSF Coverup Enterprise's common purpose.
 5
 6            409.        Over the years they have adapted their fraudulent scheme to changing circum­
 7
     stances, recruiting new members to their operation, and expanding the scope and nature of
 8
     their activities. While the size and scope of the organization of the criminal enterprise has
 9
     changed over time, and its members may have held different roles at different times, the crim­
10
11   inal enterprise has generally been structured to operate as a unit in order to achieve their com­

12   mon purpose. Walmart and Walmart's participants controlled, exerted influence, and directed

13   the affairs of the WSF Coverup Enterprise with the aid and assistant of Walmart's trusted le­
14   gal advisors from Gibson Dunn Crutcher (referred to in this complaint as the Rescue Squad)
15
             Walmart's Shareholder Fraud Coverup Enterprise Command Structu re
16
                                                 The Walmart's Participants
17
                                                 Walm:ut's Board of Director
                                                     Greg Penner, Rob Watson,
18                                                      And Timothy Flynn

19
                                                     ,valmart's Executives
                                              Doug McMillion, Brett Biggs, Marc Lore,
20                                                       Rachel Brand)

21
                                                  Gibson Dunn's Parllcipants
22                                            Eugene Scalia.. Theodore Boutros, Rachel
                                               Brass, Chris Wilson, Ryan Stewmt., and
                                                        Susanna Schuemann
23
24
            Media
                                   I             I                    I                          I
                              The Analysts   The Agencies          The Judges             The deRubertis      The ESI Providecs
     • PR Agencies                                                                          Law Finn
25   • l\fotthew Boyle,
                              Bank of        • Mm·k            • District Judge          • David deRubertis
                                                                                                                 Eplq Global
                              America          Marchione         Vince Cllhabria                              • Doug Kasales,
       Bloomberg News'                                                                   • Kari deR11be1tis
                              • Robe11         (OSHA)
26     Repo1ter
                                Ohmes        • William
                                                               • Magistrate Judge                             • Kathy Vonlindem,
                                                                 Sallie Kim                                   Lighthouse Global
     ,valmarl's Employees       (BOA's         Thompson
27     Seth Beal                Analyst.)      (SEC)                                                          • Renee Quezada
       Valc1·le Rlcettl
28
                                                   278
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1    to coordinate and direct the activities of the other members of the WSF Covemp Enterprise as
2    instrumentalities to execute the six-pronged fraudulent covemp scheme described above.
3
 4           410.   Each person in the WSF Covernp Enterprise had specific roles and responsibil­

 5   ities in the management and/or conduct of the Enterprise to effectuate the six-pronged fraudu­

 6   lent coverup scheme in order to the achieve the common purpose of coverup up Walmart's
 7
     $140 Bil fraud against shareholders.
 8
 9                                    The Walmart Participants

10       •    Approved the strategies and tactics of the WSF Coverup Enterprise's fraudulent cov­
              ernp scheme to effectuate the Enterprise's common purpose.
11
         •    Recruited and paid the Rescue Squad to 1) advised on strategies and tactics in order
12            to develop and operationalize the WSF Coverup Enterprise' fraudulent coverup
              scheme.
13
         •    Transferred and funneled money through the Gibson Dunn Crutcher to fund the ille­
14            gal conducts of the WSF Coverup Enterprise.
15       •    Engaged in whitewashing activities to whitewash evidence of Walmart's criminal
16            conducts at various investors and analysts' conferences and events and Walma1i's
              quarterly earnings calls and annual meetings with investors to whitewashing evi­
17            dence of Walmart's illegal conducts.
18       •    Paiticipated in the reverse whitewashing campaign at the order of Walma1i's Board
              of Directors to coverup the original whitewashing activities after Huynh emailed
19            Walmart's Board of Directors to put them on notices that Walmart's senior execu­
20            tives' may have committed fraud against Walmart's shareholders.

21
                                 The GDC Participants (The Rescue Squad)
22
             411.   The Rescue Squad played a critical role in effectuating prong #1 to #6 of the
23
24   WSF Coverup Enterprise's fraudulent coverup scheme to drive the accomplishment of the En­

25   terprise's common purpose while shielding Walmart and the Walmart Participants from legal

26   jeopardies for engaging in obstruction of justice e.g., obstructed the SEC and the OSHA pro­
27
     ceeding as well the federal judicial proceeding.
28
                                              279
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1        •    Provided strategic and operational advices to Walmart's Participants to develop and
              execute the WSF Coverup Enterprise's coverup scheme in order to effectuate the
2
              Enterprise' common purpose.
3        •    Provided cover and shielded the Walmart Participants by recruiting, contracting,
              paying (funneled Walmart's money to the other member of the Enterprise) and fun­
4             neled evidence of Walmart's illegal conducts back to the Walmaii Paiiicipants under
 5            the cloak of attorney-client privilege communications and attorney work product
              privilege.
 6       •    E-filed documents that contained misrepresentations and fabricated documents with
              the US District Court of the Northern District of California and the US Court of Ap­
 7
              peals for the Ninth Circuits to effectuate prong #2, #3, and #5 of the coverup
 8            scheme.
         •    Corruptly influenced District Judge Vince Chhabria to obstruct Huynh from submit­
 9
              ting material facts into the record to support the factual assertions in his opposition
10            brief to oppose Walma1i's motion for summary judgement.
         •    Conuptly influenced District Judge Vince Chhabria to purportedly constrned
11            Huynh's 1/19/20 letter as a request to for leave to file a motion for reconsideration
12            then denied the request (even though District Judge Vince Chhabria knew that Local
              Rule 7-X is only applicable to interlocutory orders).
13       •    Corruptly influenced District Judgement to deny Huynh's motion for reconsideration
              to appeal Judge Chhabria's entry of final judgement without going through Local 7-
14
              2 and 7-3 on motion practice for no rational basis.
15       •    Corruptly influenced Magistrate Judge Sallie Kim to deny Huynh's requests to get
              Walmart's to remove the confidentiality designations of only 65 page of documents
16            that were not confidential, especially after Judge Sallie Kim conducted an in-camera
17            review of these non-confidential documents.
         •    Engaged in and/or cause other to engage in evidence destruction, mutilation, fabrica­
18            tion, and concealment as well as submitted false declaration to effectuate the RICO
              Defendants' common purpose.
19
         •    Improperly influenced the United States Court of Appeals for the Ninth Circuit's
20            merit panel to deny Huynh's amended appeal against District Judge Vince Chhabria
              order (DC Dkt. 167 and 168) granting Walmart smmnary judgement and denying
21
              Huynh's motion for reconsideration (DC Dkt. 182).
22
23                              The deRubertis Law Firm and Participants

24
             412.   The deRubertis Law Firm and the Paiiicipants i.e., Kari and David deRubertis
25
26   and Garen Nadir was instrumental in effectuating prong #1, #2, #3, #4, #5, and #6 of the WSF

27   Coverup Enterprise's fraudulent coverup scheme. Below are the critical roles played by the

28   1eRubertis Law Firm Participants to effectuate the Enterprise's coverup scheme.
                                                     280
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1       •     Secretly spied, stole, and leaked Huynh' s confidential information regarding
              Walmart's misconducts to the other RICO Defendants in order to effectuate the
 2            WSF Coverup Scheme.
3       •     Fraudulently redefined Walmart Marketplace as Walmart.com and downplayed the
              material of Huynh's allegations that Walmart inflated its Ecommerce GMV and Op
4             Profit to effectuate prong #2 of the coverup scheme.
 5      •     Engaged in intimidations, threats, and deceptions to delay the filing of Huynh's
              complaint in federal court from Mid-Dec 2017 to Mid-Mar 2018 to enable
 6            Walmart's insiders to mislead Walmaii's shareholders, investment analysts, the SEC
              and/or the DOJ, the media, politician, and the American public to cover up the facts
 7            that Walmart artificially inflated Walmart's US quarterly Ecommerce growth rate
              for FY18 and the categ01y mix of Walmart's Ecommerce sales.
 8
        •     Shotgun pleaded five frivolous ADHD FEHA claims against Walmaii to put
 9            Huynh's ADHD conditions and motive for engaging in protected conducts at the
              heart of the Huynh's lawsuit against Walmart to effectuate prong #2, #3, and #6 of
10            the coverup scheme.
11      •     Acted in concert with the rescue squad, Epiq Global, and Lighthouse Global to de­
              stroy, mutilate, fabricate, and concealment of evidence to effectuate prong #2, #3,
12            and #6 of the fraudulent coverup scheme.
13
                                     The PR Machine/Journalists
14
15          413.    PR agencies and journalists played a critical role to amplify and disseminate

16   Walmart's false factual misrepresentations to the Media, Walmart's investors, analysts, the
17   SEC and/or DOJ, politicians, and the American public to effectuate Goal A of the coverup
18
     scheme. For example, Matthew Boyle published numerous articles to cover up Walmart's il­
19
     legal conducts and "Nuts & Sluts" Huynh to purportedly support the RICO Defendants' truth
20
     on the Market Defense. Numerous reporters such as Johnathan Stempel and Nandita Bose
21
22   from Reuter also published articles effectuate prong #2 and #6 of the coverup scheme. The

23   identifies of the PR agencies are not know at this time as is pleaded as John Doe(s).

24

25
                                The Investment Analyst Participant(s)
26

27          414.    The RICO Defendants corruptly influenced and/or enticed Robert Ohmes to
28
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1    publish numerous articles to whitewash evidence of Walmart's misrepresentations regarding
2    the state of Walmaii's Marketplace and the aiiificial inflation of Walmart's Ecommerce Quar­
 3
     terly sales growth to investors during FY18.
4
                            The Pattern of Racketeering Element Defined:
 5
        To plead sufficiently a pattern of racketeering activity, the Plaintiffs must allege a pat­
 6
        tern of "two or more predicate acts of racketeering" generally within a period of ten
 7      years. Lundy, 711 F.3d at 119 (citing 18 U.S.C. § 1 96 1 (5)); see also Cmiis & Assocs. ,
        P.C. v. Law Offices of David M. Bushman, Esq., 758 F.Supp.2d 153, 167- 168
 8
        (E.D.N.Y.20 10). Section 1961(1) sets out an exhaustive list of predicate acts that qual­
 9      ify as racketeering activity for purposes of RICO. See In re U.S. Foodservice Inc. Pric­
        ing Litig. , Nos. 3:07MD1894(CFD), 3:06CV 1 657(CFD), 3:08CV4(CFD),
10
        3:08CV5(CFD), 2009 WL 5064468, at * 1 6 (D.Conn. Dec. 15, 2009) ("Section 1 961(1)
11      sets out an exhaustive list of predicate acts"); see also, N.Y. Transp., Inc. v. Naples
        Transp., Inc., 116 F.Supp.2d 382, 387 (E.D.N.Y.2000) (same).
12
13                            The Pattern of Racketeering Predicate Acts

14
            415.    To cany out, and attempt to carry out their coverup scheme to conceal
15
     Walmart's $140 Bil fraud against shareholders, the RICO Defendants, each of whom is a per­
16
     son associated in fact with the enterprise, did knowingly conduct and participate, directly and
17
18   indirectly, in the conduct of the affairs of the enterprise through a pattern of racketeering ac­

19   tivity within the meaning of 18 U.S.C.§§ 1961(1 ), 1961 (5) & 1962(c), including acts that are

20   indictable under 1 8 U.S.C.§ 134 1 , relating to mail fraud, and 1 8 U.S.C.§ 1 343, relating to
21   wire fraud, 18 U.S.C.§ 1512(c)(2) related to obstruction official proceeding i.e. , the SEC and
22
     DOL/OSHA proceedings.; 18 U.S.C. § 1512(c)( l ) relating to Destroy, Alter, OR Conceal
23
     Document or Object; 18 U.S.C.§ 1512(k) relating to engaging in a conspiracy to commit 1 8
24
     U.S.C.§ 1512(c)(2); 18 U.S.C. § 1512(c)( l ); 18 U.S.C.§ 15 1 2(b)(2)(B); 18 U.S.C. § 1503
25
26   relating to Obstruction of Justice in a judicial proceeding; 18 U.S.C.§ 371 relating to conspir­

27   acy to defraud the United States; U.S.C.§ 201(b)(l ) related to bribery of a federal official;

28
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 1   Cal. Pen. Code § 92 (California); Travel Act ( 18 U.S.C. § 1952 ) through Furtherance of un­
 2   lawful activities under Cal. Pen. Code § 92 (California) and 18 U.S.C. § 20 1 (Federal).
 3
        Pattern of Racketeering Activity: Multiple Instances of Mail Fraud and Wire Fraud in Vi­
 4      olation of 18 U.S.C. §134 1 and 1343

 5      The Elements of 18 U.S.C. § 1341 and 1343
 6          4 16.   To state a claim for mail and wire fraud, a plaintiff must allege: ( 1) the existence
 7
     of a scheme to defraud87 ; and (2) the lmowing use of interstate mails or transmission facilities
 8
 9   i.e., the wires (email, internet, text, and phone calls) in furtherance of the fraud. See United

10   States v. Gelb, 700 F.2d 875, 879 (2d Cir.), cert. denied, 464 U.S. 853 , 104 S.Ct. 167, 78

11   L.Ed.2d 152 ( 1983); United States v. Corey, 566 F.2d 429, 430 n. 2 (2d Cir. 1977); United
12   States v. Paccione, 749 F. Supp. 478, 485 (S.D.N.Y. 1990).
13
            4 17.   Under RICO, each separate use o f the mails o r wires constitutes a separate pred­
14
     icate act even if there is only one scheme to defraud. Connors v. Lexington Ins. Co., 666 F.
15
     Supp. 434, 45 1 n. 12 (E.D .N.Y. 1987). See Bridge, 553 U.S. at 648 ("In furtherance of this
16
17   scheme, petitioners used the mail on numerous occasions to send the requisite notices to prop­

18   erty owners. Each of these mailings was an 'act which is indictable' as mail fraud."); Spira, 876
19   F. Supp. at 559 ("Inasmuch as each such use of the mails is separately indictable under 18
20
     U.S.C. § 134 1, each constitutes an act ofracketeering under RJCO."); Curiale v. Capolino, 8 83
21
     F. Supp. 94 1, 948 (S.D.N.Y. 1995) (Kaplan, J.) (same); Nat'l Council of Young Isr., 963 F.
22
     Supp. at 280-8 1.
23
24          4 18.   The "gravamen" o f the mail and wire fraud offense is the " scheme to defraud,1'

25   and the use of the mails in furtherance of a scheme to defraud. The mailings need not be an

26
     87 The first element of mail fraud, the existence of a scheme to defraud, requires "fraudulent
27
     or deceptive means, such as material misrepresentation or concealment." In re Gas Reclama-
28   tion, Inc. Secur. Litigation, 659 F. Supp. 493 , 5 12 (S.D.N.Y. 1987).
                                                         283
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1    essential part of the fraudulent scheme as long as they are incidental to an essential part of the
2    scheme. Schmuck v. U.S., 489 U.S. 705, 710-11, 109 S.Ct. 1443, 1444, 103 L.Ed.2d 734, reh.
3
     denied, 490 U.S. 1076, 109 S.Ct. 2091, 104 L.Ed.2d 654 (1989).
4
         •    The mailing itself doesn't need to contain false information." See Bridge v. Phoenix
5             Bond & Indem. Co., 553 U.S. 639, 647 (2008) (quoting Schmuck v. United States,
6             489 U.S. 705, 712, 715 (1989) (alteration in original)); United States v. Maze, 414
              U.S. 395, 400 (1974) (mails need only be "for the purpose of executing" the scheme)
7             (quoting Kann v. United States, 323 U.S. 88, 94 (1944)), nor must they contribute
8             directly to the deception of the plaintiffs. Id. at 744, 109 S.Ct. at 1444; In re Gas, 659
              F. Supp. at 513.
9
         •    Even mailings which are "innocent" or routine when viewed in isolation, may still
10            satisfy the mailing element under the mail fraud statute where the mailing is part of
11            the execution of the scheme as conceived by the perpetrators at the time.88 51 This is
              because the crux of mail and wire fraud is a scheme to defraud; the mails or wires
12            need only be used to carry out the scheme.
13       •    Plaintiffs are not required to demonstrate that Defendants personally mailed the doc­
14            uments; it is enough to show that Defendants caused the mailing to occur, or that the
              use of the mails was foreseeable, even if not actu�lly intended. United States v.
15            Bminovsky, 879 F.2d 30, 36 (2d Cir. 1989); United States v. Carpenter, 791 F.2d
16            1024, 1035 (2d Cir. 1986).

17
         •    The complaint needs not specify the time, place and content of each mail communi­
              cation where the nature and mechanics of the underlying scheme is sufficiently de­
18            tailed, and it is enough to plead the general content of the misrepresentation without
              stating the exact words used. Landy v. Mitchell Petroleum Technology Corp., 734 F.
19
              Supp. 608 (S.D.N.Y. 1990); Connors v. Lexington Ins. Co., 666 F. Supp. 434
20            (E.D.N.Y. 1987); Beth Israel Medical Center v. Smith, 576 F. Supp. 1061 (S.D.N.Y.
              1983).
21
22
23
     88 Tabas v. Tabas, 47 F.3d 1280, 1294 n.18 (3d Cir. 1995); Kehr Packages, Inc. v. Fidelcor,
24   Inc., 926 F.2d 1406;1415 (3d Cir. 1991); Smith v. Our Lady of the Lake Hosp., Inc., 960 F.2d
     439, 445 (5th Cir. 1992); Dana Corp. v. Blue Cross & Blue Shield Mut. of No. Ohio, 900 F.2d
25   882, 886 (6th Cir. 1990); Jepson, Inc. v. Makita Corp., 34 F.3d 1321, 1330 (7th Cir. 1994);
26   Abels v. Farmers Commodities Corp., 259 F.3d 910, 918 (8th Cir. 2001); PlaterZyberk v.
     Abraham, No. 97-CV-3322, 1998 WL 67545 (E.D. Pa. Feb. 17, 1998), judgment affd, 203
27   F.3d 817 (3d Cir. 1999); Spira v. Nick, 876 F. Supp. 553, 558-559 (S.D.N.Y. 1995). See also
     Schmuck v. United States, 489 U.S. 705 (1989) (holding "innocent" mailings sufficient for
28   purposes of mail fraud statute).
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1           419.    As described herein, the RJCO Defendants developed and executed a six­
2    pronged fraudulent coverup scheme discussed above to achieve three key goals (once com­
3
     pleted these goals would fulfill the RICO Defendants' common purpose.
4
            420.    To achieve goal A i.e., to get the SEC and/or DOJ to issue non-enforcement
 5
     letters to Walmart Inc, the RJCO Defendants engaged in a whitewashing scheme to white­
 6
 7   wash evidence of Walmart's illegal conducts (e.g., inflation of the total # of Marketplace on

8    Walmart.com disclosed to investors in FYI 7 and the a1iificial inflation of Walmart's US

 9   Ecommerce quaiterly sales growth to investors in FY18). Walmart disseminated these fraud­
10   ulent and factual misrepresentations via mail, email, internet, and phone to the SEC and/or
11
     DOJ, Walmait's shareholders, investment analysts, the Media, State agencies, and politician
12
     in order to assert Walmart's "Truth on the Market" Defense in order to mislead them into be-
13
     lieving that Walmart was innocent of fraud against shareholders.
14

15          421.    To achieve Goal B i.e., to get the United States District Court of the Northern

16   District of California to dismiss all of Huynh's claims against Walmart. To achieve this goal,
17   the RJCO Defendants and their co-conspirators engaged in the following: 1) evidence destruc-
18
     tion, mutilation, fabrication, concealment, and suppression as well as filing false declarations,
19
     2) shotgun pleaded five nefarious ADHD FEHA claim to misrepresent the facts and the law,
20
     3) corruptly influenced judicial officers of the court to suppress evidence and cited the im­
21
22   proper legal framework with higher burden of proof for Huynh in order to grand Walmart

23   summary judgement and to obstruct Huynh from filing his motion for reconsideration. It was

24   worth mentioning that it was critical impmiant for the RICO Defendants to obtain a clear and
25   convincing victory in Federal Court in order to strengthen the non-enforcement actions from
26
     the SEC and the DOJ.
27
28
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 1          422.    To achieve Goal C i.e., to ensure a risk-free civil and criminal liabilities in the
2    future, the RICO Defendants made factual and legal misrepresentations in their court's e-fil­
3
     ings and conuptly influenced Magistrate Judge Sallie Kim and District Judge Vince Chhabria
4
     to conceal evidence of Walmart's illegal conducts (e.g., Magistrate Judge Sallie Kim allowed
5
     Walmart to keep the confidentiality designation on documents that was not confidential and
6
7    District Judge Vince Chhabria allowed Walmart's to file document under seals which he

 8   should not have) from the public, the media, Walmart's shareholders, investment analysts, the

 9   SEC and the DOJ, and politicians.
10          423.    In furtherance of their fraudulent covemp scheme, the RICO Defendants en­
11
     gaged in a pattern of racketeering activity in violation of 18 U.S.C.§ 1341 (mail fraud) and 18
12
     U.S.C.§ 1343 (wire fraud). The RICO Defendants likely used hundreds if not thousands of
13
     separate instances mails and the interstate wires in fu11herance of the unlawful WSF Covemp
14
15   Enterprise's illegal coverup scheme. Each such use of the mails and the wires is separately in-

16   dictable under 18 U.S.C. § 1341 and 18 U.S.C. § 1343 and each constitutes an act of racket­
17   eering under RICO.
18
            424.    Although Huynh cited numerous and specific pieces of evidence throughout
19
     this complaint which proved that the RICO Defendants used the mails and the wires transmis­
20
     sion facilities as an instrument to effectuate the RICO Defendants' fraudulent coverup
21
22   scheme, Huynh believes the RICO Defendants have in their possession hundreds if not thou­

23   sands of instances of mail and wire frauds (i.e., the what, who, when, and how the RICO De­

24   fendants communicated among themselves to effectuate their illegal coverup scheme. Thus,
25   Huynh strongly believes this information will be discoverable during discovery.
26
27
28
                                                       286
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 1           425.     Each of these fraudulent mailings and interstate wire transmissions constitutes
 2   "racketeering activity" within the meaning of 18 U.S.C.§ 1961(1)(B). Collectively, these vio­
 3
     lations constitute a "pattern of racketeering activity," within the meaning of 18 U.S.C.§
 4
     1961(5), through which the RICO Defendants exploited to defraud the US government i.e.,
 5
     the SEC and/or the DOJ, the DOC/OSHA, the United States District Court of the Northern
 6

 7   District of California and the United States Court of Appeals for the Ninth Circuit, Walmart' s

 8   investors, investment analysts, the media, politicians, and the American Public in order to

 9   achieve the Enterprise's common purpose. Each instance of racketeering activity alleged
10
     herein was related, had similar purposes, involved the same or similar participants and meth­
11
     ods of commission, and had similar results causing injuries to Huynh's properties. Below are
12
     examples that showed how the RICO Defendants used the US mail, and wire (internet, emails,
13
     texts, and phone calls) to effectuate the six-prongs of the WSF Coverup Enterprise's fraudu­
14

15   lent coverup scheme.

16                  Prong #1: Armies of Spies (Evidence of Walmart's Misconducts.)
17
             426.     As discussed above, prong #1 of the fraudulent coverup scheme is a founda­
18
     tional prong that fueled the execution other five prongs.
19
20      A.    David deRubertis emailed Huynh on 4/25/17 an extra ordinary generous retainer
              agreement to lure and deceive Huynh to retain David deRubertis and the deRubertis
21            Law Firm as Huynh's Lawyer so he could steal and leak Huynh's confidential infor­
22            mation to the other RICO Defendants.
        B.    David deRubertis Secretly stole and leaked the confidential and non-public infor­
23
              mation in Huynh's 4/19/17 SEC TCR submission to the other RICO Defendants so
24            they could effectuate the Enterprise's unlawful coverup scheme.
25      C.    The RICO Defendants caused Huynh to email David deRubertis his June 19, 2017
              SEC submission.
26
        D.    David deRubertis purportedly filed a 125-page amended complaint via email to
27            OSHA then used it as a legitimate reason to leak the information in Huynh's SEC
28            complaints to the other RICO Defendants.
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 1     E.   Caused Huynh's SEC Whistleblower lawyer, Rebecca Chang, to email David deRu­
            bertis a copy of the materiality memo submitted to the SEC which discussed the infla­
2
            tion of the Jet.com sales by accounting Marketplace OMV as Jet.com sales.
3
       F.   Caused Huynh to share with the RICO Defendants that Huynh had an interview with
4           the SEC attorney in San Francisco, CA in early Oct 2017.

5      G. David deRubertis purportedly file a PAGA claim with LWDA and transmitted a fee of
          $75 to pay for the cost of the filing on 1/8/18. The deRube1iis Law Firm used USPS
 6        Mail with return receipt to mail a copy of Huynh's 4/19/17 SEC submission to the
7         other RICO Defendants on 1/9/17.
       H. David deRubertis falsified and/or caused other to falsified Huynh's signatures to email
 8
          and/or sent request letters via US mails to Huynh's primary care physician and psychi­
 9        atrist at least on six different occasions to illegal obtain Huynh's medical and psychia­
          trist record then transmitted them via email, US mail, and/or server download. This
10
          helped effectuate prong #2 and #3 of the coverup scheme.
11
       I.   The RICO Defendants exploited the GO 71 production process to email the list of
12          names of witnesses that Huynh provided to the SEC for investigating into Walmart's
            misconducts so the RICO Defendants could coach and/or influence the witnesses to
13
            submit factual misrepresentation to the SEC and/or the DOJ.
14     J.   David deRubertis Caused Huynh to share his 5/15/18 SEC submission to the RICO
15          Defendants so they could effectuate prong #2 of the coverup scheme. This submission
            was material because it contained smoking gun evidence which proved that Walmart's
16          senior executives made misleading statements to investors and analysts regarding the
17          total number of SK.Us on Walmart's Marketplace.

18     K. David deRubertis Illegally mined Huynh's personal laptop hard drive to obtain
          Huynh's 2013 email to Jeff Bezos and communications between Huynh and his SEC
19        Lawyers then leaked to the other RICO Defendants vie wire transmission in order to
20        effectuate prong #2 and #3 of the coverup scheme.
       L. David and Kari deRubertis secretly leaked Huynh's psychiatrist records via email
21
          and/or server download among the RICO Defendants without the confidentiality des­
22        ignation in order to effectuate prong #2, #3, and #6 of the coverup scheme.

23     M. David deRubertis caused Huynh to share with him on 11/16/117 Beal's Oct 2, 2016
          email to Doug McMillan where he updated McMillon that Walmart Marketplace had
24        16.5 Mil. A few days later McMillan reported to investors and analysts that Walmart
25        Marketplace had 20 Mil SKUs.

26
            428.   As discussed above, the objective of prong #2 of the coverup scheme was to
27
     whitewash evidence of Walmart's illegal conducts based on deRubertis' leaked information.
28
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 1      A.   Doug McMillan switched reporting Walmart' s SKUs metric to investors from that
             of Walmart's Marketplace to Walrnart.com during the Q l FY18 earnings calls in an
2            attempt to refine Walmart Marketplace as Walmar.com.
3       B.   Robert Ohmes, BOA/Merrill Lynch's analyst, used the term "Marketplace" and
             Walmart.com/online interchangeably in his 5/18/17 report to prime the pump for
4            Walmart's executives to carry out their whitewashing campaign.
5       C.   William H. Thompson, SEC Accounting Branch Chief Office of Consumer Prod­
             ucts, purportedly issued a letter to Brett Biggs on 5/22/17 asking Walmart a series of
 6           questions which were almost verbatim to the allegations Huynh submitted to the
             SEC on 4/19/17 to allow the RICO Defendants to use it as platform to downplay the
7
             materiality of Huynh' s allegations.
8       D.   Doug McMillan used the term Marketplace and Walmart.com interchangeably dur­
             ing Walmart's annual meeting with investors on June 2, 2017 to purportedly dis­
 9
             close that Walmart Marketplace had 50 Mil SKUs on Q l FY18 to investors and ana­
10           lysts when he knew it was not true. Additionally, Doug McMillan backpedaled on
             Walrnart's previous statements that Walmart's Marketplace was highly profitable
11           and would improve the profitability mix of Walmart's £commerce business.
12      E.   Brett Biggs used the term Marketplace and Walmart.com interchangeably at an ana­
             lyst's conference on 6/13/17 to purportedly redefine Walmart Marketplace as
13           Walmart.com.

14      F.   Marc Lore purportedly disclosed to investors and analysts on 6/2/17 and 6/7/17 that
             Walrnart focused on adding quality not quantity product assortment to Walmart
15           Marketplace. Marc Lore also purportedly backpedaled on Walmart's previous state­
             ments that Walmart's Marketplace was highly profitable and fast growth.
16
        G.   Brett Biggs provided half-truth and/or misleading statements or omission of material
17           facts in his letter to the SEC on 6/16/17 to downplay the materiality of Huynh's alle­
             gations against Walmart.
18
        H.   Matthew Boyle, Bloomberg News' Reporter, published an article online on 6/16/17
19           to purportedly report that Walmart.com had 15 Mil SKUs, 23 Mil SKUs for Aug and
             Nov 2017, and 35 Mil SKUs for Feb 2017 when they were not true
20
        I.   William H. Thompson, SEC Accounting Branch Chief Office of Consumer Prod­
21           ucts, purpo1iedly replied and acknowledge Walmart's response to his 5/22/17 letter
             to purportedly show that Walmart was in compliance with GAAP and didn't inflate
22           its £commerce GMV and Operating Profit.
23      J.   The RICO Defendants caused Nandita Bose, Reuters' Reporter, to publish an online
             aiiicle on 7/27/17 where she disseminated Michael Trembley's misleading statement
24           that Walmart Marketplace had 50 million SKUs on Q l FY18 when it was not true.
25      K.   The RICO Defendants caused Francine McKenna, a Marketwatch.com's Reporter,
             to publish an online article on 9/13/17, where she purportedly used the term Market­
26           place and Walmart.com interchangeably to falsely report that Walmart Marketplace
             had 67 Mil SKUs on Q2 FY18 when it was not true. She also transmitted Walmaii's
27           misleading response letter to Mr. Thompson 5/22/17 letter to her readers.
28
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 1      L.   Doug McMillan made misleading statements to analysts and investors on Oct 10,
             2017 via the internet and internet publications that Walmart.com had 8 Mil and 20
 2           Mil SK.Us on Jan and Oct of 2016 when he knew they were not true.
 3      M.   Robert Ohmes published an investment report of Walmart on 10/10/2017 to white­
             wash Walmart's misleading statements regarding the total number of SK.Us on
 4           Walmart Marketplace disclosed to investors in FYI 7 (calendar year 2016). Addi­
 5           tionally, on the same rep01ted Ohmes forecasted that Jet.com Sales were $1.1 Bil
             and $2.8 Bil in FYl 7 and FY18 when he knew they were not true to coverup the
 6           facts that Walma1t artificially inflated Walmait's Quaiterly Ecommerce sales growth
             in FY18 based on importing accounting of Jet.com Sales.
 7
        N.   David deRube1tis communicated multiple times to Huynh via emails between Dec
 8           2017 and Mar 2018, to deceive Huynh into believing that the reasons that David
             deRubertis repeatedly delayed filling Huynh's complaint against Walmart in Federal
 9           Court were because his busy schedule and his desire to write a first rate complaint
             in order to give the RICO Defendants to cover up the facts that they made mislead­
10           ing statements to investors and analysts regarding Walmart's Quarterly Ecommerce
11           Sales growth the nature Ecommerce sales mix.
        0.   During Walmart's Q4 FY18 earnings call on Feb 20, 2018, Doug McMillan made
12           misleading statements regarding the reasons for Walmart's Ecommerce Quarterly
             growth rate to collapse from 50% in Q3 FY18 to 23% in Q4 FY18 as well as the
13
             Walmart's Ecommerce sales mix i.e. , online general merchandise sales versus online
14           groce1y.
        P.   Matthew Boyle, Bloomberg News' Reporter, published an article online on 2/23/18
15
             to purportedly mislead Walmart's investors, analysts, the media, and the SEC about
16           the real driver behind Walmart's Ecommerce growth.
        Q.   David deRube1tis made misleading and fraudulent statements in his court filing on
17
             3/15/18 (DC Dkt. 1) to mislead the Court, SEC, the Media, Walmart's investors, and
18           the public to whitewash Walmart's misleading statements regarding the total number
             of SK.Us on Walmart's Marketplace on January, August, and October 2016. Addi­
19           tionally, David deRubertis made misleading statement that the impact to Walmart's
             GMV growth due Walmart not processing customer returns was $7 Mil when he
20           knew that Huynh alleged it to be in the hundreds of millions of dollars.
21      R.   The RICO Defendants (PR agencies and Journalists) carefully controlled and selec­
             tively disseminated the content of Huynh's 3/15/18 complaint across the internet to
22           dimmish Huynh's credibility as a whistleblower and to downplay the materiality of
             Huynh's allegations to falsely assert the RICO Defendants purported zero loss cau­
23
             sation claim when Huynh's disclosures became public.
24      S.   Matthew Boyle, Bloomberg News' Rep01ter, published two articles online on
             3/15/18 and 3/16/18 to purportedly mislead Walmart's investors, analysts, the me­
25
             dia, and the SEC and/or the DOJ into believing that there was zero loss causation
26           when Huynh's disclosures became public.
        T.   Matthew Boyle, Bloomberg News' Reporter, published an online aiticle on 4/10/18
27           to help the RICO Defendants coverup the facts that Walmart improperly inflated
28
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1              Jet.com FY l 7 and FY18 Sales to aiiificially inflate Walmaii's Qua1ierly Ecommerce
               Sales growth in FYl 8.
2
        U.     Matthew Boyle, Bloomberg News' Reporter, published an online article on 4/13/18
3              to purportedly downplay Jet.com growth potential to conceal the fact that Walmart
               improperly inflated Jet.com FY I 7 and FY18 sales to inflate Walmart's Ecommerce
4              Quarterly sales growth in FY18.
 5      V.     Doug McMillon made misleading statements to analysts and investors in early Oct
               2018 that Walmart.com had 8 Mil and 20 Mil SK.Us on Jan and Oct of 2016 when
6              he knew they were not hue.
 7       W.    Robert Ohmes published an investment report in early Oct 2018 to whitewash the
               misleading statements Walmart made to investors and analysts Walmart regarding
8              the total number of SK.Us on Walmart Marketplace.
 9
              429.   As discussed above prong #3 of the coverup scheme is to collect information
10
11   and manipulate them to purportedly assert Walmart's "Nuts & Sluts" strategy to diminish

12   Huynh's credibility as a whistleblower in order to accomplish both Goal A and Goal B.

13
         A.    On 3/15/18 David deRubertis e-filing Huynh's complaint with US District Court of
14             the Northern District of California. He shotgun pleaded five nefarious FEHA
15             ADHD claims (Discrimination, Retaliation, and Failure to accommodate etc.) to im­
               properly obtain evidence then manipulated them to purportedly argue that Huynh did
16             not engage in protected activities and Walmart terminated Huynh's employment 14
17             days before the general RIF due to Huynh's mental illness and violence tendency.
         B.    The RICO Defendants caused Doug Kasales and Kathy Vonlindern to destroy evi­
18
               dence of Huynh's meetings with Beal on Oct 4 and Oct 18, 2016 to obstructed
19             Huynh from proving that he engaged in protected activity.

20       C.    The RICO Defendants caused Doug Kasales and Kathy Vonlindern to mutilate and
               alter Huynh's email and documents David deRubertis produced to the Rescue Squad
21             so the RICO Defendants could use it to effectuate prong #2, #3, and #6 of the cov­
22             erup scheme.

23       D.    Doug Kasales emailed Kari deRubertis emailed the last bate number on the official
               document productions to enable David and Kari deRubertis to produce Huynh's psy­
24             chiatrist records and other SEC submission without the confidentiality designation
25             so the RICO Defendants so they could use it to effectuate prong #2, #3,and #6 of the
               coverup scheme.
26
        E.     The RICO Defendants caused Lighthouse Global and Renee to process and produce
27             Beal's fabricated 11/30/16 email and Marketplace RIF list, Beal's fabricated
28
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 1             1 2/13/ 1 6 email and Marketplace RIF, Beal's fabricated 12/14/1 6 email and Market­
               place RIF list in Sept 1 9, 2 1 08, Feb 12, 2018, and Feb 1 4, 20 1 8. Additionally, Light­
 2
               house Global through the act of its employees (Renee Quezada and other doe(s))
 3             help the RICO Defendants produced fabricated documents to Huynh in Feb, Apr,
               and June of 20 1 9 so they could filed this fabricated documents to support Walmart's
 4
               motion for summary judgement.
 5
         F.    In late Sept 2018, David deRubertis emailed Huynh on multiple occasions to intimi­
 6             date and threaten Huynh to sign an employment release form so he could obtain
               Huynh's Amazon personnel files (specifically, the 20 1 3 email to Jeff Bezos to effec­
 7             tuate prong #3 of the cover up scheme.
 8      G.     Between Nov 20 1 7 and Sept 2018 David deRubertis used and/or caused other to sue
 9             US mail and wire's transmissions on at least 1 0 instances to fraudulently obtain
               Huynh's medical records and psychiatrist records then secretly leaked them to the
10             other RICO Defendants to they could effectuate prong #2, #3, and #6 of the coverup
11             scheme.
        H.     The Rescue Squad used and/or caused other to US Mails and wire transmissions on
12
               least 1 0 instances to illegal obtain Huynh's personnel files from Huynh's previous
13             employers dating back to 1 996 to effectuate prong # 2, #3, and #4 of the coverup
               scheme.
14
         I.    Between late 20 1 8 and late 20 1 9, the Rescue Squad used and/or caused other to use
15
               US mail and wire transmission on at least 29 instances to improperly obtain Huynh's
16             medical records to purportedly show that Huynh was a fake whistleblower and
               Huynh was mentally ill and prone to violence to suppo1t Walmart's purport legiti­
17
               mate reason for Huynh's termination.
18
19            430.   Prong #4 is the coverup the coverup prong of the coverup scheme deployed to

20   conceal the facts that the RICO Defendants engaged in a conspiracy to accomplish their com­
21
     mon purpose. Between 2018 and late 20 1 9, the RICO Defendants and their conspirators used
22
     US mails and wire transmissions on multiple occasions in an attempt to coverup the WSF
23
     Coverup Enterprise's illegal coverup scheme.
24
25
26
27
28
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 1             431.   Prong #5 is the catch and kill scheme. Its objective is to pulverize any evidence
 2   and traces of Walmart's criminal conducts to ensure a risk-free civil and criminal liabilities fu-
3
     ture for the RICO Defendants. The RICO Defendants used US mails and wire transmission on
4
     numerous occasions to effectuate prong #5 of the coverup scheme.
5
               432.   To carry out, and attempt to cany out, the scheme to defraud, the RICO De­
 6
7    fendants, each of whom is a person associated in fact with the enterprise, did knowingly con­

 8   duct and participate, directly and indirectly, in the conduct of the affairs of the enterprise

 9   through a pattern of racketeering activity within the meaning of 18 U.S.C.§§ 1961(1), 1961(5)
10
     & 1962(c), and which employed the use of the mail and wire facilities, in violation of 18
11
     U.S.C.§§ 1341 (mail fraud) & 1343 (wire fraud). 310.
12
               433.   Specifically, the RICO Defendants have committed, conspired to commit,
13
     and/or aided and abetted in the commission of, at least two predicate acts of racketeering ac­
14
15   tivity (i.e., violations of 18 U.S.C.§§ 1341 & 1343), within the past ten years. The multiple

16   acts of racketeering activity which the RICO Defendants committed, or aided or abetted in the
17   commission of, were related to each other and had a common purpose of effectuate the WSF
18
     Coverup Enterprise coverup scheme. Each instance of racketeering activity alleged herein was
19
     related, had similar purposes, involved the same or similar participants and methods of com­
20
     mission, and had similar results affecting Huynh.
21
22          Pattern of Racketeering Activity: Obstruction SEC and DOL/OSHA Proceedings89 in Vi­
            olation of 18 U.S.C. § 1512(c)(2)
23

24
       89
          Official Proceeding Defined:
25    Section 1515(a)(l ) provides that, as used in section 1512 the term "official proceeding"
     means: (A) a proceeding before a judge or court of the United States, a United States magis­
26
     trate judge, a bankruptcy judge, a judge of the United States Tax Court, a special trial judge of
27   the Tax Court, a judge of the United States Court of Federal Claims, or a Federal grand jury;
     (B) a proceeding before the Congress; (C) a proceeding before a Federal Government agency
28   which is authorized by law
                                                       293
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1       18 U.S.C.§ 1512(c)(2) provides that:
2         (c) Whoever corruptly -
3         (2) otherwise obstructs, influences, or impedes any official proceeding90 , or attempts to
4         do so, shall be fined under this title or imprisoned not more than 20 years, or both.

5      The RICO Defendants Engaged in Predicate Acts to Obstruct the SEC Investigation

6           434.    As discussed above, David deRube1iis was visibly excited when Huynh in-
7
     formed him that Huynh was working with Sean McKessy to raise Huynh's concerns about
8
     Walmart's misconducts to the SEC because he knew he was sitting on top of a gold mine. He
9
     could sell the confidential and non-public information in Huynh's 4/19/17 SEC submission to
10
     at his desired price because the alternative for the Walmart Participants not pay would cost
11
12   them and Walmart at least $3 Billion or possible long jail time. So, sometime between late

13   Apr and early May 2017, David deRubertis sold Huynh's confidential information to Walmart
14
15
16   90 An SEC investigation is accepted as an Official Proceeding as a matter of law:

17   One of the first cases to examine the meaning of "proceeding" was United States v. Batten,
     226 F.Supp. 492 (D.D.C.1964). There, the defendant challenged a Section 1505 charge for
18   obstructing a Securities and Exchange Commission ("SEC") investigation, on the basis that it
     "was not in reality a proceeding contemplated by" Section 1505. 226 F.Supp. at 492-93. But
19   the district court noted that Congress "specifically empowers [SEC] investigations to be con­
     ducted and witnesses to be sworn at such investigations," making the proceeding at issue
20
     "more than a mere police investigation." Id. at 494. The court therefore found that "proceed­
21   ing... should be construed broadly enough to include any investigation directed by a formal
     order of the [SEC], at which a designated officer takes testimony under oath." Id. The court
22   recognized that there is a "distinction between adjudicative and investigative proceedings of
     the [SEC]," but reasoned that "[i]t would seem to follow that both types of proceedings
23   are...covered by the statute involved here." Id.
24   The Ninth Circuit has also held that "proceeding" is broad enough to include investigative ac­
     tions, but like the district comi in Batten, has so held only in cases involving agencies that
25   also had adjudicative or rulemaking authority. See, e.g. , United States v. Technic Servs. , 314
     F.3d 1031, 1044 (9th Cir.2002) (holding that an Environmental Protection Agency "investiga­
26   tion into a possible violation of the Clean Air Act or Clean Water Act, which could lead to a
27   civil or criminal proceeding is a kind of [Section 1505 ] proceeding") (citations omitted);
     United States v. Vixie , 532 F.2d 1277, 1278 (9th Cir.1976) (holding that an Internal Revenue
28   Service
      .       "administrative investigation is a proceeding within the meaning of [Section] 1505 ").
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 1   which set in motions the perpetration of series of criminal acts by the RICO Defendants. Spe­
2    cifically, David deRubertis' leak infonnation (Prong #1 of the coverup scheme) was the fuel
 3
     and ignition source that drove the other five prongs of the WSF Coverup Enterprise's fraudu­
 4
     lent coverup scheme. Without such information, there would be no WSF Coverup Enterprise.
 5
     Specifically, to support prong #2 as the information allowed the RICO Defendants to white­
 6
 7   wash evidence of Walmart's illegal conducts to obstruct the foreseeable SEC investigation

 8   into Huynh's complaints. The RICO Defendants obstructed and/or attempted to obstruct the

 9   SEC investigation into Huynh's complaint in five ways.
10          435.    First, the RICO Defendants caused David deRubertis to steal and disseminate
11
     the confidential and non-public information contains in Huynh's SEC submissions between
12
     Apr 20 1 7 and late 20 1 8 to the other RICO Defendants. The RICO Defendants used this
13
     leaked information as a foundation to plan and commit numerous predicate acts to effectuate
14
15   Goal A (Prong #2 and #3) of the coverup scheme.

16          436.   Second, the RICO Defendants (specifically Walmart's senior executives) went
17   on a road show to whitewashing evidence which proved that Walmart made misleading state­
18
     ments to its shareholders regarding the future outlook of Walmaii's Marketplace e.g., the total
19
     number of Marketplace SKUs on Walmart Marketplace.
20
            437.    Third, the RICO Defendants delayed the filing of Huynh's civil complaint by
21
22   three months in order to plan and coverup evidence that proved Walmart reported inflated

23   Walmart's Quarterly Ecornmerce Sales growth in FY18 by improperly accounting for Jet.com

24   FYl 7 and FY18 sales.
25          438.    Fourth, the RICO Defendants exploited Huynh's 3/15/18 complaint as a plat­
26
     form to whitewash the misleading statements made by Walmart's senior executives to its
27
     shareholders in FYl 7 regarding the total number of Walmart Marketplace SKUs on
28
                                             295
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 1   Walmart.com in Jan, Aug, and Oct 201 6. The RICO Defendants knew or should have known
 2   that Sean McKessy would forward this complaint to the SEC to dimmish Huynh's credibility
 3
     in the eyes of the SEC because the allegations in Huynh's SEC submissions contradicted with
 4
     the allegations in Huynh's complaint e.g., the definition of Walmart's Marketplace in
 5
     Huynh's complaint contradicted with that in Huynh's SEC submissions.
 6
 7           439.    Fifth, the RICO Defendants and their co-conspirator planned and executed a

 8   perfect "Truth on the Market" defense to purportedly prove to Walmart's investors, invest­

 9   ment analysts, the SEC and/or the DOJ, the Media, politicians, and the American Public that
10   Huynh's allegations was not credible because there was zero loss causation when Huynh's
11
     disclosures came out public.
12
             440.    Sixth, the RICO Defendants leveraged the GO 7 1 initial disclosure to legiti­
13
     mately leak the names of witnesses that Huynh proposed to the SEC that may have infor­
14

15   mation regarding Walma1t's illegal conducts. By having this information (and specific allega­

16   tions in Huynh's SEC submissions) the RICO Defendants coached and/or influenced wit­
17   nesses to made misleading and/or half-true statements to the SEC in order to influence the
18
     outcome of the SEC investigation which led to the SEC to issue a non-enforcement action let­
19
     ter to Walma11 on 4/2/ 1 9.
20
             441.    Seven, the RICO Defendants at the directions of Walmart's Board of Directors
21
22   engaged in a reverse whitewashing campaign to coverup the fact between May 20 1 7 to end of

23   201 8, the RICO Defendants whitewashed evidence of Walmart's misrepresentations to inves­
24   tors in F Y l 7 regarding the outlook of Walmart's Marketplace and Walmart's Ecommerce.
25   with the SEC investigators with the truth definition of Walmart Marketplace in Huynh's SEC
26
     submissions.
27
28
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 1          442.    In closing, the confidential infonnation in Huynh's SEC submissions that Da­
 2   vid deRube1tis leaked to his Co-RICO Defendants between Mid-20 1 7 to late 20 18 was the
 3
     fuel and ignition source that started a massive wild fire to burn and eviscerate evidence of
 4
     Walmart's illegal conducts in order to obstruct and influence the outcome of the SEC investi­
 5
     gation into Huynh's complaints against Walmait. Ultimately, the SEC and/or the DOJ de­
 6
 7   cided to prosecute Walmart's $ 1 40 Bil fraud against shareholders based on the RICO Defend­

 8   ants' factual misrepresentations and lies.

 9
10
      The RICO Defendants Engaged in Predicate Acts to Obstruct the OSHA Investigation
11
            443.    As discussed above, the RICO Defendants conspired with OSHA's investiga­
12
     tors to obstruct the DOL/OSHA from perfo1ming their legally mandated duties to investigate
13
     and adjudicate Huynh's OSHA SOX whistleblower complaints against Walmait. The main
14
15   reason the RICO Defendants didn't want Huynh's case to be adjudicated at the OSHA ex­

16   haustive remedy stage because the RICO Defendants wanted to take Huynh's case to Federal
17   Comt in order to effectuate the WSF Coverup Enterprise's fraudulent coverup scheme to
18
     achieve the RICO Defendants' common purpose. The RICO Defendants obstructed OSHA
19
     from investigating Huynh's SOX complaint in several ways.
20
            444.    First, although David deRubertis and the deRubertis Law Firm purportedly
21
22   filed Huynh's OSHA complaint and OSHA amended complaints on May 1 1 and July 10,

23   20 1 7, OSHA never opened Huynh's case in IMIS for months after it was filed and OSHA

24   never investigated Huynh's complaints. This was because the RICO Defendants acted in con­
25   cert with Mark Marchione, OSHA's Regional Supervisory Investigator, and Jonelle Dunn,
26
     OSHA's investigator, and other Doe(s) to obstruct OSHA from investigating Huynh's OSHA
27
     complaints.
28
                                              297
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1           445.    Second, to cover up the fact that the RICO Defendants obstrncted OSHA from
2    investigating Huynh's complaint. Davide deRubertis, Payne & Fear, and the Rescue Squad,
 3
     conspired with Mark Marchione and Jonelle Dunn to purp01tedly issue a complainant and re­
 4
     spondent notification letters dated Aug 8, 2017 to Walmart and the deRube1tis Law Firm to
 5
     purportedly show that OSHA had opened Huynh's case in IMIS. However, upon Huynh's in­
 6
 7   depth analysis, he concluded these letters were fabricate to covernp the RICO Defendants' ob­

 8   strnction of the OSHA investigation and adjudicating process.

 9          446.    Third, to purportedly show that David deRube1tis had exhausted OSHA admin-
10
     istrative remedies before taking Huynh's case to Federal Comt and to cover up the RICO De­
11
     fendants' obstruction of the OSHA investigation process, the RICO Defendants fabricated the
12
     OSHA 3/16/18 dismissal letter (filed as Defendants' Exhibit 128 in DC Dkt. 119-20). See �
13
     X for fabrication analysis.
14
15          447.    In sh01t, the RICO Defendants obstrncted OSHA from investigated Huynh's

16   5/11/17 and 7/10/17 complaints because they wanted to take Huynh's case to Federal Court so
17   they could effectuate the WSF Covernp Enterprise's fraudulent covernp scheme.
18
19      Pattern of Racketeering Activity: - Destroy, Alter, OR Conceal Document or Object
        in Violation of 18 U.S.C. § 1512(c)(l)
20
        The Elements of 18 U.S.C. § 1512(c)(l )
21
        18 U.S.C. § 1512(c)(l ), provides that:
22
           (c) Whoever corrnptly -
23

24
25

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27
28
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 1         ( 1) alters 9 1 , destroys, mutilates92 , or conceals a record, document, or other object, or
           attempts to do so, with the intent to impair the object's integrity or availability for use
2
           in an official proceeding . . . shall be fined under this title or imprisoned not more than
3          20 years, or both.

4                                    The SEC Investigation Process

5           448.    As previously discussed, Goal A of the WSF Coverup Enterprise was to obtain
 6   a "Get Out of Jail Free" Card from the SEC and/or DOJ i.e., non-enforcement action letters
7
     issued to Walmart. To achieve this goal, the RICO Defendants must successful completed
 8
     prong #2 of the coverup scheme i.e., by engaging in a whitewashing campaign to alter, muti­
 9
     late, destroy evidence or conceals a record to coverup Walmaii's $ 140 Bil fraud against share­
10
11   holders. Within this context, the RICO Defendants in engage in at least five predicate acts to

12   prevent the SEC to investigate Walmart's illegal conducts.

13          449.    First, the RICO Defendants (specifically, Walmart's senior executives with as­
14   sistance of the Rescue Squad and Robert Ohmes) attempted to alter the meaning of the tenn
15
     Walmart's Marketplace to make the misleading statements made by Doug McMillan to inves­
16
     tors in FY 17 no longer misleading.
17
            450.    Second, the RICO Defendants (Specifically, David deRubertis altered the
18
l9   meaning of Walmart's Marketplace at the direction of the Rescue Squad and sanctioned by

20
21   91 Alter is defined as "to cause to become different in some particular characteristic . . .
22   without changing into something else." United States v. Kilbride, 2009 U.S. App. LEXIS
     23722 (9th Cir. Ariz. Oct. 28, 2009).
23   See MCI Telecommunications Corp. v. American Telephone & Telegraph Co. 5 12 U.S. 241
     ( 1994)- See Black's Law Dictionary 1 198 (3d ed. 1933) (defining "modification" as "A
24   change; an alteration which introduces new elements into the details, or cancels some of them,
25   but leaves the general purpose and effect of the subject matter intact").
     92
        https://thelawdictionary.org/mutilation/
26   As applied to written documents, such as wills, court records, and the like, this term means
27   rendering the. document imperfect by the subtraction from it of some essential pati, as, by
     cutting, tear ing, burning, or erasure, but without totally destroying it. See Woodfill v. Patton,
28   76 Ind. 5 83, 40 Am. Rep. 269.
                                                       299
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